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17
                                 UNITED STATES DISTRICT COURT
18
                              NORTHERN DISTRICT OF CALIFORNIA
19
                                       SAN FRANCISCO DIVISION
20

21   IN RE: CATHODE RAY TUBE (CRT)              Master File No. 3:07-cv-5944-JST
     ANTITRUST LITIGATION
22                                              MDL No. 1917
23                                              INDIRECT PURCHASER PLAINTIFFS’
     This Document Relates to:                  FIFTH CONSOLIDATED AMENDED
24                                              COMPLAINT
     All Indirect-Purchaser Actions.
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1

2            Plaintiffs Brian Luscher, Jeffrey Figone, Carmen Gonzalez, Dana Ross, Steven Ganz,

3    Lawyer’s Choice Suites, Inc., David Rooks, Daniel Riebow, Travis Burau, Southern Office

4    Supply, Inc., Kerry Lee Hall, Lisa Reynolds, Barry Kushner, Misti Walker, Steven Fink, David

5    Norby, Ryan Rizzo, Charles Jenkins, Gloria Comeaux, Conrad Carty, Janet Ackerman, Craig

6    Stephenson, Patricia Andrews, Gary Hanson, Frank Warner, Albert Sidney Crigler, Margaret

7    Slagle, John Larch, Louise Wood, Jeff Speaect and Brigid Terry, individually and on behalf of a

8    Class of all those similarly situated in the United States; Other Repealer State Plaintiffs Mina

9    Ashkannejhad, Tyler Ayres, Felecia Blackwood, Mike Bratcher, Jeff Craig, Nikki Crawley,

10   Warren Cutlip, Jay Erickson, Harry Garavanian, Anthony Gianasca, Steven Harrelson, John

11   Heenan, Hope Hitchcock, D. Bruce Johnson, Jeff Johnson, Susan LaPage, George Maglaras,

12   Donna Muccino, Kerry Murphy, Donald Oelze, Chris Seufert, Jeff Schapira, Robert Stephenson,

13   Gary Talewsky, William J. Trentham, Walker, Warren and Watkins, LLC, and Mark Wissinger,

14   individually and on behalf of a Class of all those similarly situated in the United States; and Non-

15   Repealer State Plaintiff Eleanor Lewis individually and on behalf of a Class of all those similarly

16   situated in the United States, (collectively, “Plaintiffs”).

17           The ORS Subclass is defined as the Omitted or Other Repealer States, and the NRS

18   Subclass is defined as the Non-Repealer States. Plaintiffs bring this action for damages and

19   injunctive relief under state and federal antitrust, unfair competition, and consumer protection

20   laws against the Defendants named herein, demanding trial by jury, and complaining and

21   alleging as follows:

22                                          I. INTRODUCTION

23           1.     Plaintiffs bring this antitrust class action on behalf of individuals and entities that
24   indirectly purchased Cathode Ray Tube Products (“CRT Products”) (as further defined below),
25   in the United States from Defendants, their predecessors, their successors, any subsidiaries or
26   affiliates thereof, or any of their named and unnamed co-conspirators, during the period
27   beginning at least as early as March 1, 1995 until at least November 25, 2007 (the “Class
28   Period”). Plaintiffs allege that during the Class Period the Defendants conspired to fix, raise,
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1    maintain and/or stabilize prices of CRT Products sold in the United States. Because of

2    Defendants’ unlawful conduct, Plaintiffs and other Class Members paid artificially inflated

3    prices for CRT Products and have suffered antitrust injury to their business or property.

4           2.     As further detailed below, beginning in at least 1995, Defendants Samsung,

5    Philips, Daewoo, LG and Chunghwa met or talked with at least one other Defendant in order to

6    discuss and agree upon CRT Product prices and the amount of CRT Products each would

7    produce. Over time, these Defendants reached out to the other Defendant and co-conspirator

8    CRT Product manufacturers, including Toshiba, Panasonic, Hitachi, BMCC, IRICO, Thomson,

9    Mitsubishi, Thai CRT and Samtel, who then also met or talked with their competitors for the

10   purpose of fixing the prices of CRT Products. By 1997, a formal system of multilateral and 28

11   bilateral meetings was in place, involving the highest levels of the Defendant corporations, all

12   with the sole purpose of fixing the prices of CRT Products at supracompetitive levels.

13          3.     Throughout the Class Period, Defendants’ conspiracy was effective in moderating

14   the normal downward pressure on prices for CRT Products caused by periods of oversupply and

15   competition from new technologies, such as TFT-LCD and Plasma. Defendants’ conspiracy

16   resulted in unusually stable pricing and even rising prices in a very mature, declining market. As

17   a result of Defendants’ unlawful conduct, Plaintiffs and Class members paid higher prices for

18   CRT Products than they would have paid in a competitive market.

19          4.     This global conspiracy is being investigated by the Antitrust Division of the United

20   States Department of Justice (“DOJ”), and by several other international competition authorities.

21   On February 10, 2009, a federal grand jury in San Francisco issued a two-count indictment

22   against C.Y. Lin, the former Chairman and CEO of Defendant Chunghwa Picture Tubes, Ltd.,

23   for his participation in a global conspiracy to fix the prices of CRTs used in computer monitors

24   and televisions. This is the first indictment to be issued in the DOJ’s ongoing investigation into

25   the CRT industry.

26                                 II. JURISDICTION AND VENUE

27          5.     This action is instituted under Section 16 of the Clayton Act, 15 U.S.C. § 26, to
28   obtain injunctive relief for violations of Section 1 of the Sherman Act, 15 U.S.C. § 1, to recover
                                                      5
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1    damages under state antitrust, unfair competition, and consumer protection laws, and to recover

2    costs of suit, including reasonable attorneys’ fees, for the injuries that Plaintiffs and all others

3    similarly situated sustained as a result of the Defendants’ violations of those laws.

4            6.     The Court has subject matter jurisdiction over the federal claim under 28 U.S.C. §§

5    1331 and 1337. The Court has subject matter jurisdiction over the state law claims under 28

6    U.S.C. § 1367 because those claims are so related to the federal claim that they form part of the

7    same case or controversy.

8            7.     This court also has subject matter jurisdiction over the state law claims pursuant to

9    the Class Action Fairness Act of 2005, which amended 28 U.S.C. § 1332 to add a new subsection

10   (d) conferring federal jurisdiction over class actions where, as here, “any member of a class of

11   Plaintiffs is a citizen of a state different from any Defendant and the aggregated amount in

12   controversy exceeds $5,000,000, exclusive of interest and costs.” This Court also has

13   jurisdiction under 28 U.S.C. § 1332(d) because “one or more members of the class is a citizen of

14   a state within the United States and one or more of the Defendants is a citizen or subject of a

15   foreign state.”

16           8.     Venue is proper in this Judicial District pursuant to Section 12 of the Clayton Act

17   (15 U.S.C. § 22) and 28 U.S.C. § 1391 (b), (c) and (d), because during the Class Period one or

18   more of the Defendants resided, transacted business, was found, or had agents in, this district,

19   and because a substantial part of the events giving rise to Plaintiffs’ claims occurred in this

20   district, and a substantial portion of the affected portion of the interstate trade and commerce

21   described below has been carried out in this district.

22           9.     Defendants conduct business throughout the United States, including this

23   jurisdiction, and they have purposefully availed themselves of the laws of the United States,

24   including specifically the laws of the state of California and the individual states listed herein.

25   Defendants’ products are sold in the flow of interstate commerce, and Defendants’ activities had

26   a direct, substantial and reasonably foreseeable effect on such commerce.

27           10.    Defendants’ conspiracy to fix the prices of CRT Products substantially affected

28   commerce throughout the United States and in each of the states identified herein, because
                                                        6
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1    Defendants directly or through their agents, engaged in activities affecting each such state.

2    Defendants have purposefully availed themselves of the laws of each of the states identified

3    herein in connection with their activities relating to the production, marketing, and sale and/or

4    distribution of CRT Products. Defendants produced, promoted, sold, marketed, and/or distributed

5    CRT Products, thereby purposefully profiting from access to indirect purchaser consumers in

6    each such state. As a result of the activities described herein, Defendants:

7                   a. Caused damage to the residents of the states identified herein;

8                   b. Caused damage in each of the states identified herein by acts or omissions

9                       committed outside each such state and by regularly doing or soliciting

10                      business in each such state;

11                  c. Engaged in a persistent course of conduct within each state and/or derived

12                      substantial revenue from the marketing and sale of CRT Products in each such

13                      state; and

14                  d. Committed acts or omissions that they knew or should have known would

15                      cause damage (and, in fact, did cause damage) in each such state while

16                      regularly doing or soliciting business in each such state, engaging in other

17                      persistent courses of conduct in each such state, and/or deriving substantial

18                      revenue from the marketing and sale of CRT Products in each such state.

19          11.    The conspiracy described herein adversely affected every person nationwide, and

20   more particularly, consumers in each of the states identified in this Complaint, who indirectly

21   purchased Defendants’ and their co-conspirators’ CRT Products. Defendants’ conspiracy has

22   resulted in an adverse monetary effect on indirect purchasers in each state identified herein.

23          12.    Prices of CRT Products in each state identified in this Complaint were raised to

24   supracompetitive levels by the Defendants and their co-conspirators. Defendants knew that

25   commerce in CRT Products in each of the states identified herein would be adversely affecting

26   by implementing their conspiracy.

27                                          III. DEFINITIONS

28          13.    As used herein, the term “CRT” or “CRTs” stands for “cathode ray tube(s).” A
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1    CRT is a display technology used in televisions, computer monitors and other specialized

2    applications. The CRT is a vacuum tube that is coated on its inside face with light sensitive

3    phosphors. An electron gun at the back of the vacuum tube emits electron beams. When the

4    electron beams strike the phosphors, the phosphors produce either red, green, or blue light. A

5    system of magnetic fields inside the CRT, as well as varying voltages, directs the beams to

6    produce the desired colors. This process is rapidly repeated several times per second to produce

7    the desired images.

8           14.    There are two types of CRTs: color display tubes (“CDTs”) which are used in

9    computer monitors and other specialized applications; and color picture tubes (“CPTs”) which

10   are used in televisions. CDTs and CPTs are collectively referred to herein as “cathode ray tubes”

11   or “CRTs.”

12          15.    As used herein “CRT Products” includes (a) CRTs; and (b) products containing

13   CRTs, such as television sets and computer monitors.

14          16.    The “Class Period” or “relevant period” means the period beginning at least March

15   1, 1995 through at least November 25, 2007.

16          17.    “Person” means any individual, partnership, corporation, association, or other

17   business or legal entity.

18          18.    “OEM” means any Original Equipment Manufacturer of CRT Products.

19                                          IV. PLAINTIFFS

20          19.    Plaintiff Brian Luscher is an Arizona resident. During the relevant period, Mr.
21   Luscher indirectly purchased CRT Products from one or more of the Defendants or their co-
22   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.
23          20.    Plaintiff Jeffrey Figone is a California resident. During the relevant period, Mr.
24   Figone indirectly purchased CRT Products from one or more of the Defendants or their co-
25   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.
26          21.    Plaintiff Carmen Gonzalez is a California resident. During the relevant period, Ms.
27   Gonzalez indirectly purchased CRT Products from one or more of the Defendants or their co-
28   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.
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1           22.    Plaintiff Dana Ross is a California resident. During the relevant period, Mr. Ross

2    indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

3    and has been injured by reason of the antitrust violations alleged in this Complaint.

4           23.    Plaintiff Steven Ganz is a California resident. During the relevant period, Mr. Ganz

5    indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

6    and has been injured by reason of the antitrust violations alleged in this Complaint.

7           24.    Plaintiff Lawyers’ Choice Suites, Inc. (“Law Suites”) is a corporation doing

8    business in the District of Columbia. During the relevant period, Law Suites indirectly purchased

9    CRT Products from one or more of the Defendants or their co-conspirators and has been injured

10   by reason of the antitrust violations alleged in this Complaint.

11          25.    Plaintiff David Rooks is a Florida resident. During the relevant period, Mr. Rooks

12   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

13   and has been injured by reason of the antitrust violations alleged in this Complaint.

14          26.    Plaintiff Daniel Riebow is a Hawaii resident. During the relevant period, Mr.

15   Riebow indirectly purchased CRT Products from one or more of the Defendants or their co-

16   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint

17          27.    Plaintiff Travis Burau is an Iowa resident. During the relevant period, Mr. Burau

18   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

19   and has been injured by reason of the antitrust violations alleged in this Complaint.

20          28.    Plaintiff Southern Office Supply, Inc. is a Kansas corporation. During the relevant

21   period, Southern Office Supply, Inc. indirectly purchased CRT Products from one or more of the

22   Defendants or their co-conspirators and has been injured by reason of the antitrust violations

23   alleged in this Complaint.

24          29.    Plaintiff Kerry Lee Hall is a Maine resident. During the relevant period, Ms. Hall

25   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

26   and has been injured by reason of the antitrust violations alleged in this Complaint.

27          30.    Plaintiff Lisa Reynolds is a Michigan resident. During the relevant period, Ms.

28   Reynolds indirectly purchased CRT Products from one or more of the Defendants or their co-
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1    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

2           31.    Plaintiff David Norby is a Minnesota resident. During the relevant period, Mr.

3    Norby indirectly purchased CRT Products from one or more of the Defendants or their co-

4    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

5           32.    Plaintiff Ryan Rizzo is a Minnesota resident. During the relevant period, Mr.

6    Rizzo indirectly purchased CRT Products from one or more of the Defendants or their co-

7    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

8           33.    Plaintiff Barry Kushner is a Minnesota resident. During the relevant period, Mr.

9    Kushner indirectly purchased CRT Products from one or more of the Defendants or their co-

10   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

11          34.    Plaintiff Charles Jenkins is a Mississippi resident. During the relevant period, Mr.

12   Jenkins indirectly purchased CRT Products from one or more of the Defendants or their co-

13   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

14          35.    Plaintiff Misti Walker is a Nebraska resident. During the relevant period, Ms.

15   Walker indirectly purchased CRT Products from one or more of the Defendants or their co-

16   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

17          36.    Plaintiff Steven Fink is a Nebraska resident. During the relevant period, Mr. Fink

18   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

19   and has been injured by reason of the antitrust violations alleged in this Complaint.

20          37.    Plaintiff Gloria Comeaux is a Nevada resident. During the relevant period, Ms.

21   Comeaux indirectly purchased CRT Products from one or more of the Defendants or their co-

22   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

23          38.    Plaintiff Craig Stephenson is a New Mexico resident. During the relevant period,

24   Mr. Stephenson indirectly purchased CRT Products from one or more of the Defendants or their

25   co-conspirators and has been injured by reason of the antitrust violations alleged in this

26   Complaint.

27          39.    Plaintiff Conrad Carty is a New York resident. During the relevant period, Mr.

28   Carty indirectly purchased CRT Products from one or more of the Defendants or their co-
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1    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

2           40.    Plaintiff Janet Ackerman is a New York resident. During the relevant period, Ms.

3    Ackerman indirectly purchased CRT Products from one or more of the Defendants or their co-

4    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

5           41.    Plaintiff Louise Wood is a New York resident. During the relevant period, Ms.

6    Wood indirectly purchased CRT Products from one or more of the Defendants or their co-

7    conspirators and had been injured by reason of the antitrust violations alleged in this Complaint.

8           42.    Plaintiff Patricia Andrews is a North Carolina resident. During the relevant period,

9    Ms. Andrews indirectly purchased CRT Products from one or more of the Defendants or their

10   co-conspirators and has been injured by reason of the antitrust violations alleged in this

11   Complaint.

12          43.    Plaintiff Gary Hanson is a North Dakota resident. During the relevant period, Mr.

13   Hanson indirectly purchased CRT Products from one or more of the Defendants or their co-

14   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

15          44.    Plaintiff Jeff Speaect is a South Dakota resident. During the relevant period, Mr.

16   Speaect indirectly purchased CRT products from one or more of the Defendants or their co-

17   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

18          45.    Plaintiff Frank Warner is a Tennessee resident. During the relevant period, Mr.

19   Warner indirectly purchased CRT Products from one or more of the Defendants or their co-

20   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

21          46.    Plaintiff Albert Sidney Crigler is a Tennessee resident. During the relevant period,

22   Mr. Crigler indirectly purchased CRT Products from one or more of the Defendants or their co-

23   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

24          47.    Plaintiff Margaret Slagle is a Vermont resident. During the relevant period, Ms.

25   Slagle indirectly purchased CRT Products from one or more of the Defendants or their co-

26   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

27          48.    Plaintiff John Larch is a West Virginia resident. During the relevant period, Mr.

28   Larch indirectly purchased CRT Products from one or more of the Defendants or their co-
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1    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

2           49.    Plaintiff Brigid Terry is a Wisconsin resident. During the relevant period, Ms.

3    Terry indirectly purchased CRT Products from one or more of the Defendants or their co-

4    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

5           50.    Plaintiff Nikki Crawley is an Arkansas resident. During the relevant period, Ms.

6    Crawley indirectly purchased CRT Products from one or more of the Defendants or their co-

7    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

8           51.    Plaintiff Steven Harrelson is an Arkansas resident. During the relevant period, Mr.

9    Harrelson indirectly purchased CRT Products from one or more of the Defendants or their co-

10   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

11          52.    Plaintiff William J. Trentham is an Arkansas resident. During the relevant period,

12   Mr. Trentham indirectly purchased CRT Products from one or more of the Defendants or their

13   co-conspirators and has been injured by reason of the antitrust violations alleged in this

14   Complaint.

15          53.    Plaintiff Warren Cutlip is a Massachusetts resident. During the relevant period, Mr.

16   Cutlip indirectly purchased CRT Products from one or more of the Defendants or their co-

17   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

18          54.    Plaintiff Harry Garavanian is a Massachusetts resident. During the relevant period,

19   Mr. Garavanian indirectly purchased CRT Products from one or more of the Defendants or their

20   co-conspirators and has been injured by reason of the antitrust violations alleged in this

21   Complaint.

22          55.    Plaintiff Anthony Gianasca is a Massachusetts resident. During the relevant period,

23   Mr. Gianasca indirectly purchased CRT Products from one or more of the Defendants or their

24   co-conspirators and has been injured by reason of the antitrust violations alleged in this

25   Complaint.

26          56.    Plaintiff Hope Hitchcock is a Massachusetts resident. During the relevant period,

27   Ms. Hitchcock indirectly purchased CRT Products from one or more of the Defendants or their

28   co-conspirators and has been injured by reason of the antitrust violations alleged in this
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2           57.    Plaintiff Gary Talewsky is a Massachusetts resident. During the relevant period,

3    Mr. Talewsky indirectly purchased CRT Products from one or more of the Defendants or their

4    co-conspirators and has been injured by reason of the antitrust violations alleged in this

5    Complaint.

6           58.    Plaintiff Mina Ashkannejhad is a Missouri resident. During the relevant period,

7    Ms. Ashkannejhad indirectly purchased CRT Products from one or more of the Defendants or

8    their co-conspirators and has been injured by reason of the antitrust violations alleged in this

9    Complaint.

10          59.    Plaintiff Mike Bratcher is a Missouri resident. During the relevant period, Mr.

11   Bratcher indirectly purchased CRT Products from one or more of the Defendants or their co-

12   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

13          60.    Plaintiff Robert Stephenson is a Missouri resident. During the relevant period, Mr.

14   Stephenson indirectly purchased CRT Products from one or more of the Defendants or their co-

15   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

16          61.    Plaintiff Jay Erickson is a Montana resident. During the relevant period, Mr.

17   Erickson indirectly purchased CRT Products from one or more of the Defendants or their co-

18   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

19          62.    Plaintiff John Heenan is a Montana resident. During the relevant period, Mr.

20   Heenan indirectly purchased CRT Products from one or more of the Defendants or their co-

21   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

22          63.    Plaintiff Donald Oelze is a Montana resident. During the relevant period, Mr.

23   Oelze indirectly purchased CRT Products from one or more of the Defendants or their co-

24   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

25          64.    Plaintiff Mark Wissinger is a Montana resident. During the relevant period, Mr.

26   Wissinger indirectly purchased CRT Products from one or more of the Defendants or their co-

27   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

28          65.    Plaintiff Jeff Craig is a New Hampshire resident. During the relevant period, Mr.
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1    Craig indirectly purchased CRT Products from one or more of the Defendants or their co-

2    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

3           66.    Plaintiff George Maglaras is a New Hampshire resident. During the relevant

4    period, Mr. Maglaras indirectly purchased CRT Products from one or more of the Defendants or

5    their co-conspirators and has been injured by reason of the antitrust violations alleged in this

6    Complaint.

7           67.    Plaintiff Jeff Schapira is a New Hampshire resident. During the relevant period,

8    Mr. Schapira indirectly purchased CRT Products from one or more of the Defendants or their co-

9    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

10          68.    Plaintiff Chris Seufert is a New Hampshire resident. During the relevant period,

11   Mr. Seufert indirectly purchased CRT Products from one or more of the Defendants or their co-

12   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

13          69.    Plaintiff Eleanor Lewis is an Ohio resident. During the relevant period, Ms. Lewis

14   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

15   and has been injured by reason of the antitrust violations alleged in this Complaint.

16          70.    Plaintiff D. Bruce Johnson is an Oregon resident. During the relevant period, Mr.

17   Johnson indirectly purchased CRT Products from one or more of the Defendants or their co-

18   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

19          71.    Plaintiff Walker, Warren and Watkins, LLC is a duly formed corporation that at all

20   times operated in Oregon. During the relevant period, Walker, Warren and Watkins, LLC

21   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

22   and has been injured by reason of the antitrust violations alleged in this Complaint.

23          72.    Plaintiff Susan LaPage is a Rhode Island resident. During the relevant period, Ms.

24   LaPage indirectly purchased CRT Products from one or more of the Defendants or their co-

25   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

26          73.    Plaintiff Donna Muccino is a Rhode Island resident. During the relevant period,

27   Ms. Murphy indirectly purchased CRT Products from one or more of the Defendants or their co-

28   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.
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1           74.    Plaintiff Kerry Murphy is a Rhode Island resident. During the relevant period, Ms.

2    Murphy indirectly purchased CRT Products from one or more of the Defendants or their co-

3    conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

4           75.    Plaintiff Felecia Blackwood is a South Carolina resident. During the relevant

5    period, Ms. Blackwood indirectly purchased CRT Products from one or more of the Defendants

6    or their co-conspirators and has been injured by reason of the antitrust violations alleged in this

7    Complaint.

8           76.    Plaintiff Jeff Johnson is a South Carolina resident. During the relevant period, Mr.

9    Johnson indirectly purchased CRT Products from one or more of the Defendants or their co-

10   conspirators and has been injured by reason of the antitrust violations alleged in this Complaint.

11          77.    Plaintiff Tyler Ayres is a Utah resident. During the relevant period, Mr. Ayres

12   indirectly purchased CRT Products from one or more of the Defendants or their co-conspirators

13   and has been injured by reason of the antitrust violations alleged in this Complaint.

14                                          V. DEFENDANTS

15   LG Electronics Entities
16          78.    Defendant LG Electronics, Inc. is a corporation organized under the laws of Korea
17   with its principal place of business located at LG Twin Towers, 20 Yeouido-dong,
18   Yeoungdeungpo-gu, Seoul 150-721, South Korea. LG Electronics, Inc. is a $48.5 billion global
19   force in consumer electronics, home appliances and mobile communications, which established
20   its first overseas branch office in New York in 1968. The company’s name was changed from
21   GoldStar Communications to LG Electronics, Inc. in 1995, the year in which it also acquired
22   Zenith in the United States. In 2001, LG Electronics, Inc. transferred its CRT business to a 50/50
23   CRT joint venture with Defendant Koninklijke Philips Electronics N.V. a/k/a Royal Philips
24   Electronics N.V. forming Defendant LG.Philips Displays (n/k/a LP Displays International, Ltd.).
25   During the Class Period, LG Electronics, Inc. manufactured, marketed, sold and/or distributed
26   CRT Products, either directly or indirectly through its subsidiaries or affiliates, to customers
27   throughout the United States.
28          79.    Defendant LG Electronics U.S.A., Inc. (“LGEUSA”) is a Delaware corporation
                                                      15
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1    with its principal place of business located at 1000 Sylvan Avenue, Englewood Cliffs, NJ 07632.

2    LG Electronics USA, Inc. is a wholly-owned and controlled subsidiary of Defendant LG

3    Electronics, Inc. During the class period, LG Electronics U.S.A., Inc. manufactured, marketed,

4    sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or

5    affiliates, to customers throughout the United States. Defendant LG Electronics, Inc. dominated

6    and controlled the finances, policies, and affairs of LGEUSA relating to the antitrust violations

7    alleged in this Complaint.

8           80.    Defendant LG Electronics Taiwan Taipei Co., Ltd. (“LGETT”) is a Taiwanese

9    entity with its principal place of business located at 7F, No.47, Lane3, Jihu Road, NeiHu District,

10   Taipei City, Taiwan. LGETT is a wholly-owned and controlled subsidiary of Defendant LG

11   Electronics, Inc. During the class period, LGETT manufactured, marketed, sold and/or

12   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

13   customers throughout the United States. Defendant LG Electronics, Inc. dominated and

14   controlled the finances, policies, and affairs of LGETT relating to the antitrust violations alleged

15   in this Complaint.

16          81.    Defendants LG Electronics, Inc., LGEUSA, and LGETT are collectively referred

17   to herein as “LG.”

18   Philips Entities

19          82.    Defendant Koninklijke Philips Electronics N.V. a/k/a Royal Philips Electronics

20   N.V. (“Royal Philips”) is a Dutch company with its principal place of business located at

21   Amstelplein 2, Breitner Center, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded

22   in 1891, is one of the world’s largest electronics companies, with 160,900 employees located in

23   over 60 countries. Royal Philips had sole ownership of its CRT business until 2001. In 2001,

24   Royal Philips transferred its CRT business to a 50/50 CRT joint venture with defendant LG

25   Electronics, Inc. forming Defendant LG.Philips Displays (n/k/a LP Displays International, Ltd.).

26   In December 2005, as a result of increased pressure on demand and prices for CRT Products,

27   Royal Philips wrote off the remaining book value of 126 million Euros of its investment and said

28   it would not inject further capital into the joint venture. During the Class Period, Royal Philips
                                                       16
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1    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

2    through its subsidiaries or affiliates, to customers throughout the United States.

3           83.    Defendant Philips Electronics North America Corporation (“PENAC”) is a

4    Delaware corporation with its principal place of business located at 1251 Avenue of the

5    Americas, New York, NY 10020-1104. Philips Electronics NA is a wholly owned and controlled

6    subsidiary of Defendant Royal Philips. During the Class Period, Philips Electronics NA

7    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

8    through its subsidiaries or affiliates, to customers throughout the United States. Defendant Royal

9    Philips dominated and controlled the finances, policies, and affairs of PENAC relating to the

10   antitrust violations alleged in this Complaint.

11          84.    Defendant Philips Electronics Industries (Taiwan), Ltd. (“Philips Electronics

12   Taiwan”) is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu

13   Street, Nangang District, Taipei, Taiwan. Philips Electronics Taiwan is a subsidiary of Defendant

14   Royal Philips. During the Class Period, Philips Electronics Taiwan manufactured, marketed, sold

15   and/or distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates,

16   to customers throughout the United States. Defendant Royal Philips dominated and controlled

17   the finances, policies, and affairs of Philips Electronics Taiwan relating to the antitrust violations

18   alleged in this Complaint.

19          85.    Defendant Philips da Amazonia Industria Electronica Ltda. (“Philips Brazil”) is a

20   Brazilian company with its principal place of business located at Av Torquato Tapajos 2236, 1

21   andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a wholly-owned and

22   controlled subsidiary of Defendant Royal Philips. During the Class Period, Philips Brazil

23   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

24   through its subsidiaries or affiliates, to customers throughout the United States. Defendant Royal

25   Philips dominated and controlled the finances, policies, and affairs of Philips Brazil relating to

26   the antitrust violations alleged in this Complaint.

27          86.    Defendants Royal Philips, PENAC, Philips Electronics Taiwan, and Philips Brazil

28   are collectively referred to herein as “Philips.”
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1    LP Displays

2           87.    Defendant LP Displays International, Ltd. f/k/a LG Philips Displays (“LP

3    Displays”) was created in 2001 as a 50/50 joint venture between Defendants LG Electronics, Inc.

4    and Royal Philips Electronics of The Netherlands. In March 2007, LP Displays became an

5    independent company organized under the laws of Hong Kong with its principal place of

6    business located at Corporate Communications, 6th Floor, ING Tower, 308 Des Voeux Road

7    Central, Sheung Wan, Hong Kong. LP Displays is a leading supplier of CRTs for use in

8    television sets and computer monitors with annual sales for 2006 of over $2 billion, and a market

9    share of 27%. LP Displays announced in March 2007 that Royal Philips and LG Electronics

10   would cede control over the company and the shares would be owned by financial institutions

11   and private equity firms. During the Class Period, LP Displays manufactured, marketed, sold and

12   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

13   customers throughout the United States.

14   Samsung Entities

15          88.    Defendant Samsung SDI Co., Ltd. f/k/a Samsung Display Device Co., Ltd.

16   (“Samsung SDI”), is a South Korean company with its principal place of business located at 15th

17   – 18th Floor, Samsung Life Insurance Building, 150, 2-ga, Taepyong-ro, Jung-gu, Seoul, 100-

18   716, South Korea. Samsung SDI is a public company. Founded in 1970, Samsung SDI claims to

19   be the world’s leading company in the display and energy businesses, with 28,000 employees

20   and facilities in 18 countries. In 2002, Samsung SDI held a 34.3% worldwide market share in the

21   market for CRTs; more than another other producer. Samsung SDI has offices in Chicago and

22   San Diego. During the Class Period, Samsung SDI manufactured, marketed, sold and/or

23   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

24   customers throughout the United States.

25          89.    Defendant Samsung SDI America, Inc. (“Samsung SDI America”) is a California

26   corporation with its principal place of business located at 3333 Michelson Drive, Suite 700,

27   Irvine, California. Samsung SDI America is a wholly-owned and controlled subsidiary of

28   Samsung SDI. During the Class Period, Samsung SDI America manufactured, marketed, sold
                                                       18
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1    and/or distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates,

2    to customers throughout the United States. Defendant Samsung SDI dominated and controlled

3    the finances, policies, and affairs of Samsung SDI America relating to the antitrust violations

4    alleged in this Complaint.

5           90.    Defendant Samsung SDI Mexico S.A. de C.V. (“Samsung SDI Mexico”) is a

6    Mexican company with its principal place of business located at Blvd. Los Olivos, No.21014,

7    Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned

8    and controlled subsidiary of Defendant Samsung SDI. During the Class Period, Samsung SDI

9    Mexico manufactured, marketed, sold and/or distributed CRT Products to customers, either

10   directly or indirectly through its subsidiaries or affiliates, throughout the United States.

11   Defendant Samsung SDI dominated and controlled the finances, policies, and affairs of Samsung

12   SDI Mexico relating to the antitrust violations alleged in this Complaint.

13          91.    Defendant Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a Brazilian

14   company with its principal place of business located at Av. Eixo Norte Sul, S/N, Distrito

15   Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-owned and

16   controlled subsidiary of Defendant Samsung SDI. During the Class Period, Samsung SDI Brazil

17   manufactured, marketed, sold and/or distributed CRT Products to customers, either directly or

18   indirectly through its subsidiaries or affiliates, throughout the United States. Defendant Samsung

19   SDI dominated and controlled the finances, policies, and affairs of Samsung SDI Brazil relating

20   to the antitrust violations alleged in this Complaint.

21          92.    66. Defendant Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI Shenzhen”) is a

22   Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,

23   Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of

24   Defendant Samsung SDI. During the Class Period, Samsung SDI Shenzhen manufactured,

25   marketed, sold and/or distributed CRT Products, either directly or indirectly through its

26   subsidiaries or affiliates, to customers throughout the United States. Defendant Samsung SDI

27   dominated and controlled the finances, policies, and affairs of Samsung SDI Shenzhen relating to

28   the antitrust violations alleged in this Complaint.
                                                       19
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1           93.    Defendant Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”) is a Chinese

2    company with its principal place of business located at Developing Zone of Yi-Xian Park,

3    Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled

4    subsidiary of Defendant Samsung SDI. During the Class Period, Samsung SDI Tianjin

5    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

6    through its subsidiaries or affiliates, to customers throughout the United States. Defendant

7    Samsung SDI dominated and controlled the finances, policies, and affairs of Samsung SDI

8    Tianjin relating to the antitrust violations alleged in this Complaint.

9           94.    Defendant Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI Malaysia”) is a

10   Malaysian company with its principal place of business located at Lot 635 & 660, Kawasan

11   Perindustrian, Tuanku, Jaafar, 71450 Sungai Gadut, Negeri Semblian Darul Khusus, Malaysia.

12   Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of Defendant Samsung SDI

13   Co., Ltd. During the Class Period, Samsung SDI Malaysia manufactured, marketed, sold and/or

14   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

15   customers throughout the United States. Defendant Samsung SDI dominated and controlled the

16   finances, policies, and affairs of Samsung SDI Malaysia relating to the antitrust violations

17   alleged in this Complaint.

18          95.    Defendants Samsung SDI, Samsung SDI America, Samsung SDI Mexico,

19   Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin, and Samsung SDI

20   Malaysia are referred to collectively herein as “Samsung.”

21   Toshiba Entities

22          96.    Defendant Toshiba Corporation is a Japanese corporation with its principal place

23   of business at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001, Japan. In 2001, Toshiba

24   Corporation held a 5-10 % worldwide market share for CRTs used in televisions and computer

25   monitors. In December 1995, Toshiba Corporation partnered with Orion Electric Company

26   (n/k/a Daewoo Electronics Corporation) and two other non-defendant entities to form P.T.

27   Tosummit Electronic Devices Indonesia (“TEDI”) in Indonesia. TEDI was projected to have an

28   annual production capacity of 2.3 million CRTs by 1999. In 2002, Toshiba Corporation entered
                                                       20
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1    into a joint venture with Defendant Panasonic Corporation called MT Picture Display Co., Ltd.

2    in which the entities consolidated their CRT businesses. During the Class Period, Toshiba

3    Corporation manufactured, marketed, sold and/or distributed CRT Products, either directly or

4    indirectly through its subsidiaries or affiliates, to customers throughout the United States.

5           97.    Defendant Toshiba America, Inc. (“Toshiba America”) is a Delaware corporation

6    with its principal place of business located at 1251 Avenue of the Americas, Suite 4110, New

7    York, NY 10020. Toshiba America is a wholly owned and controlled subsidiary of defendant

8    Toshiba Corporation. During the Class Period, Toshiba America sold and/or distributed CRT

9    Products, either directly or indirectly through its subsidiaries or affiliates, to customers

10   throughout the United States. Defendant Toshiba Corporation dominated and controlled the

11   finances, policies, and affairs of Toshiba America relating to the antitrust violations alleged in

12   this Complaint.

13          98.    Defendant Toshiba America Consumer Products, LLC (“TACP”) is headquartered

14   in 82 Totawa Rd., Wayne, New Jersey 07470-3114. TACP is a wholly owned and controlled

15   subsidiary of Defendant Toshiba Corporation through Toshiba America. During the Class

16   Period, TACP sold and/or distributed CRT Products, either directly or indirectly through its

17   subsidiaries or affiliates, to customers throughout the United States. Defendant Toshiba

18   Corporation dominated and controlled the finances, policies, and affairs of TACP relating to the

19   antitrust violations alleged in this Complaint.

20          99.    Defendant Toshiba America Information Systems, Inc. (“TAIP”) is a California

21   corporation with its principal place of business located at 9740 Irvine Blvd., Irvine, California

22   92718. TAIP is a wholly owned and controlled subsidiary of Toshiba Corporation through

23   Toshiba America, Inc. During the Class Period, TAIP manufactured, marketed, sold and/or

24   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

25   customers throughout the United States. Defendant Toshiba Corporation dominated and

26   controlled the finances, policies, and affairs of TAIP relating to the antitrust violations alleged in

27   this Complaint.

28          100. Defendant Toshiba America Electronics Components, Inc. (“TAEC”) is a
                                                       21
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1    California corporation with its principal place of business located at 9775 Toledo Way, Irvine,

2    California 92618, and 19000 MacArthur Boulevard, Suite 400, Irvine, California 92612. TAEC

3    is a wholly owned and controlled subsidiary of Toshiba America, Inc., which is a holding

4    company for defendant Toshiba Corporation. TAEC acted as the North American sales and

5    marketing representative for MTPD. Before MTPD’s formation in 2003, TAEC was the North

6    American engineering, manufacturing, marketing and sales arm of defendant Toshiba

7    Corporation. During the Class Period, TAEC manufactured, marketed, sold and/or distributed

8    CRT Products, either directly or indirectly through its subsidiaries or affiliates, to customers

9    throughout the United States. Defendant Toshiba Corporation dominated and controlled the

10   finances, policies, and affairs of TAEC relating to the antitrust violations alleged in this

11   Complaint.

12          101. Toshiba Display Devices (Thailand) Company, Ltd. (“TDDT”) was a Thai

13   company with its principal place of business located at 142 Moo 5 Bangkadi Industrial Estate,

14   Tivanon Road, Pathum Thani, Thailand 12000. TDDT was a wholly-owned and controlled

15   subsidiary of defendant Toshiba Corporation. Toshiba Corporation transferred Toshiba Thailand

16   to its CRT joint venture with Panasonic Corporation, MT Picture Display Co., Ltd., in 2003. It

17   was re-named as MT Picture Display (Thailand) Co., Ltd. and operated as a wholly-owned

18   subsidiary of MT Picture Display until its closure in 2007. During the Class Period, TDDT

19   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

20   through its subsidiaries or affiliates, to customers throughout the United States. Defendant

21   Toshiba Corporation dominated and controlled the finances, policies, and affairs of TDDT

22   relating to the antitrust violations alleged in this Complaint.

23          102. P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was a CRT joint venture

24   formed by Toshiba Corporation, Orion Electric Company and two other non-defendant entities in

25   December 1995. TEDI’s principal place of business was located in Indonesia. TEDI was

26   projected to have an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI

27   was transferred to MT Picture Display Co., Ltd. and its name was changed to PT.MT Picture

28   Display Indonesia. During the Class Period, TEDI manufactured, marketed, sold and/or
                                                       22
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1    distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to

2    customers throughout the United States. Defendant Toshiba Corporation dominated and

3    controlled the finances, policies, and affairs of TEDI relating to the antitrust violations alleged in

4    this Complaint.

5           103. Defendants Toshiba Corporation, Toshiba America, Inc., TACP, TAIP, TAEC,

6    TDDT and TEDI are referred to collectively herein as “Toshiba.”

7    Panasonic Entities

8           104. Defendant Panasonic Corporation, which was at all times during the Class Period

9    known as Matsushita Electric Industrial Co., Ltd. and only became Panasonic Corporation on

10   October 1, 2008, is a Japanese entity with its principal place of business located at 1006 Oaza

11   Kadoma, Kadoma-shi, Osaka 571-8501, Japan. In 2002, Panasonic Corporation entered into a

12   CRT joint venture with defendant Toshiba forming MT Picture Display Co., Ltd. (“MTPD”).

13   Panasonic Corporation was the majority owner with 64.5 percent. On April 3, 2007, Panasonic

14   Corporation purchased the remaining 35.5 percent stake in the joint venture, making MTPD a

15   wholly-owned subsidiary of Panasonic Corporation. In 2005, the Panasonic brand had the

16   highest CRT Product revenue in Japan. During the Class Period, Panasonic Corporation

17   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

18   through its subsidiaries or affiliates, to customers throughout the United States.

19          105. Matsushita Electronic Corporation (Malaysia) Sdn Bhd. (“Matsushita Malaysia”)

20   was a Malaysian company with its principal place of business located at Lot 1, Persiaran Tengku

21   Ampuan Section 21, Shah Alam Industrial Site, Shah Alam, Malaysia 40000. Matsushita

22   Malaysia was a wholly-owned and controlled subsidiary of Defendant Panasonic Corporation.

23   Panasonic Corporation transferred Matsushita Malaysia to its CRT joint venture with Toshiba

24   Corporation, MT Picture Display Co., Ltd., in 2003. It was re-named as MT Picture Display

25   (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary of MT Picture Display until its

26   closure in 2006. During the Class Period, Matsushita Malaysia manufactured, marketed, sold

27   and/or distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates,

28   to customers throughout the United States. Defendant Panasonic Corporation dominated and
                                                       23
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1    controlled the finances, policies, and affairs of Matsushita Malaysia relating to the antitrust

2    violations alleged in this Complaint.

3              106. Defendants Panasonic Corporation and Matsushita Malaysia are collectively

4    referred to herein as “Panasonic.”

5              107. Defendant Beijing-Matsushita Color CRT Company, Ltd. (“BMCC”) is a Chinese

6    company with its principal place of business located at No. 9, Jiuxianqiao N. Rd., Dashanzi

7    Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which was held

8    by MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co., Ltd., China

9    National Electronics Import & Export Beijing Company (a China state-owned enterprise), and

10   Beijing Yayunchun Branch of the Industrial and Commercial Bank of China, Ltd. (a China state-

11   owned enterprise). Formed in 1987, BMCC was Matsushita’s (n/k/a Panasonic) first CRT

12   manufacturing facility in China. BMCC is the second largest producer of CRTs in China. During

13   the Class Period, BMCC manufactured, marketed, sold and/or distributed CRT Products, either

14   directly or indirectly through its subsidiaries or affiliates, to customers throughout the United

15   States.

16   Hitachi Entities

17             108. Defendant Hitachi, Ltd. is a Japanese company with its principal place of business

18   located at 6-1 Marunouchi Center Building 13F, Chiyoda-ku, Tokyo 100-8280, Japan. Hitachi

19   Ltd. is the parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s

20   worldwide market share for color CRTs was 20 percent. During the Class Period, Hitachi Ltd.

21   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

22   through its subsidiaries or affiliates, to customers throughout the United States.

23             109. Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese company with its

24   principal place of business located at AKS Building, 3 Kandaneribeicho 3, Chiyoda-ku, Tokyo,

25   101-0022, Japan. Hitachi Displays, Ltd. was originally established as Mobara Works of Hitachi,

26   Ltd. in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development,

27   design, manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun

28   off to create a separate company called Hitachi Displays, Ltd. During the Class Period, Hitachi
                                                      24
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1    Displays, Ltd. manufactured, marketed, sold and/or distributed CRT Products, either directly or

2    indirectly through its subsidiaries or affiliates, to customers throughout the United States.

3    Defendant Hitachi, Ltd. dominated and controlled the finances, policies, and affairs of Hitachi

4    Displays relating to the antitrust violations alleged in this Complaint.

5           110. Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a Delaware corporation

6    with its principal place of business located as 1000 Hurricane Shoals Road, Ste. D-100,

7    Lawrenceville, GA 30043. HEDUS is a subsidiary of defendants Hitachi Displays, Ltd. and

8    Hitachi, Ltd. During the Class Period, HEDUS manufactured, marketed, sold and/or distributed

9    CRT Products to customers, either directly or indirectly through its subsidiaries or affiliates, to

10   customers throughout the United States. Defendant Hitachi, Ltd. and Hitachi Displays, Ltd.

11   dominated and controlled the finances, policies, and affairs of HEDUS relating to the antitrust

12   violations alleged in this Complaint.

13          111. Defendant Hitachi America, Ltd. (“Hitachi America”) is a New York company

14   with its principal place of business located at 2000 Sierra Point Parkway, Brisbane, California

15   94005. Hitachi America is a wholly-owned and controlled subsidiary of defendant Hitachi, Ltd.

16   During the Class Period, Hitachi America sold and/or distributed CRT Products, either directly

17   or indirectly through its subsidiaries or affiliates, to customers throughout the United States.

18   Defendant Hitachi, Ltd. dominated and controlled the finances, policies, and affairs of Hitachi

19   America relating to the antitrust violations alleged in this Complaint.

20          112. Defendant Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singapore company with its

21   principal place of business located at 16 Collyer Quay, #20-00 Hitachi Tower, Singapore,

22   049318. Hitachi Asia is a wholly owned and controlled subsidiary of defendant Hitachi, Ltd.

23   During the Class Period, Hitachi Asia manufactured, marketed, sold and/or distributed CRT

24   Products, either directly or indirectly through its subsidiaries or affiliates, to customers

25   throughout the United States. Defendant Hitachi, Ltd. dominated and controlled the finances,

26   policies, and affairs of Hitachi Asia relating to the antitrust violations alleged in this Complaint.

27          113. Shenzhen SEG Hitachi Color Display Devices, Ltd. (“Hitachi Shenzhen”) was a

28   Chinese company with its principal place of business located at 5001 Huanggang Road, Futian
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1    District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at least a 25% interest in

2    Hitachi Shenzhen until November 8, 2007 (which was coincidentally around the time that the

3    government investigations into the CRT industry began). Thus, Hitachi Shenzhen was a member

4    of the Hitachi corporate group for all but the last two weeks of the Class Period. During the Class

5    Period, Hitachi Shenzhen manufactured, sold and distributed CRT Products, either directly or

6    indirectly through its subsidiaries or affiliates, to customers throughout the United States.

7    Defendants Hitachi, Ltd. and Hitachi Displays dominated and controlled the finances, policies,

8    and affairs of Hitachi Shenzhen relating to the antitrust violations alleged in this Complaint.

9           114. Defendants Hitachi Ltd., Hitachi Displays, Hitachi America, HEDUS, Hitachi

10   Asia, and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”

11   Tatung

12          115. Defendant Tatung Company of America, Inc. (“Tatung America”) is a California

13   corporation with its principal place of business located at 2850 El Presidio Street, Long Beach,

14   California. Tatung America is a subsidiary of Tatung Company. Currently, Tatung Company

15   owns approximately half of Tatung America. The other half used to be owned by Lun Kuan Lin,

16   the daughter of Tatung Company’s former Chairman, T.S. Lin. Following Lun Kuan Lin’s recent

17   death, her share recently passed to her two children. During the Class Period, Tatung America

18   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

19   through its subsidiaries or affiliates, to customers throughout the United States.

20   Chunghwa Entities

21          116. Defendant Chunghwa Picture Tubes Ltd. (“CPT”) is a Taiwanese company with its

22   principal place of business located at 1127 Heping Road, Bade City, Taoyuan, Taiwan. CPT was

23   founded in 1971 by Tatung Company. Throughout the majority of the Class Period, Tatung

24   Company owned a substantial share in CPT. Although Tatung Company’s holdings in CPT have

25   fallen over time, it retains substantial control over CPT’s operations. Tatung Company lists

26   Chunghwa on its website as one of its “global subsidiaries.” And the Chairman of CPT, Weishan

27   Lin, is also the Chairman and General Manager of Tatung Company. CPT is a leading

28   manufacturer of CRTs. During the Class Period, CPT manufactured, marketed, sold and/or
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1    distributed CRT Products, both directly and through its wholly-owned and controlled

2    subsidiaries in Malaysia, China, and Scotland, to customers throughout the United States.

3           117. Defendant Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“Chunghwa Malaysia”)

4    is a Malaysian company with its principal place of business located at Lot 1, Subang Hi-Tech

5    Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. Chunghwa

6    Malaysia a wholly-owned and controlled subsidiary of defendant Chunghwa Picture Tubes.

7    Chunghwa Malaysia is a leading worldwide supplier of CRTs. During the Class Period,

8    Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products, either

9    directly or indirectly through its subsidiaries or affiliates, to customers throughout the United

10   States. Defendant CPT dominated and controlled the finances, policies, and affairs of Chunghwa

11   Malaysia relating to the antitrust violations alleged in this Complaint.

12          118. Defendants CPT and Chunghwa Malaysia are collectively referred to herein as

13   “Chunghwa.”

14   IRICO Entities

15          119. Defendant IRICO Group Corporation (“IGC”) is a Chinese corporation with its

16   principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.

17   IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing, sale

18   and/or distribution of CRT Products. During the Class Period, IGC manufactured, marketed, sold

19   and/or distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates,

20   to customers throughout the United States.

21          120. Defendant IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese company with

22   its principal place of business located at No. 16, Fenghui South Road West, District High-tech

23   Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary of defendant IGC.

24   In 2006, IDDC was China’s top CRT maker. During the Class Period, IDDC manufactured,

25   marketed, sold and/or distributed CRT Products, either directly or indirectly through its

26   subsidiaries or affiliates, to customers throughout the United States. Defendant IGC dominated

27   and controlled the finances, policies and affairs of IDDC relating to the antitrust violations

28   alleged in this Complaint.
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1             121. Defendant IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese company with

2    its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province

3    712021. IGE is owned by Defendant IGC. According to its website, IGE was the first CRT

4    manufacturer in China and one of the leading global manufacturers of CRTs. Their website also

5    claims that in 2003, they were the largest CRT manufacturer in China in terms of production and

6    sales volume, sales revenue and aggregated profit and taxation. During the Class Period, IGE

7    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

8    through its subsidiaries or affiliates, to customers throughout the United States. Defendant IGC

9    dominated and controlled the finances, policies and affairs of IGE relating to the antitrust

10   violations alleged in this Complaint.

11            122. Defendants IGC, IDDC, and IGE are collectively referred to herein as “IRICO.”

12   Thai CRT

13            123. Defendant Thai CRT Company, Ltd. (“Thai CRT”) is a Thai company with its

14   principal place of business located at 1/F Siam Cement Road, Bangsue Dusit, Bangkok,

15   Thailand. Thai CRT is a subsidiary of Siam Cement Group. It was established in 1986 as

16   Thailand’s first manufacturer of CRTs for color televisions. During the Class Period, Thai CRT

17   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

18   through its subsidiaries or affiliates, to customers throughout the United States.

19   Samtel

20            124. Defendant Samtel Color, Ltd. (“Samtel”) is an Indian company with its principal

21   place of business located at 52, Community Centre, New Friends Colony, New Delhi-110065.

22   Samtel’s market share for CRTs sold in India is approximately 40%. Samtel is India’s largest

23   exporter of CRTs. Samtel has gained safety approvals from the United States, Canada, Germany

24   and Great Britain for its CRT Products. During the Class Period, Samtel manufactured,

25   marketed, sold and/or distributed CRT Products, either directly or indirectly through its

26   subsidiaries or affiliates, to customers throughout the United States.

27   Daewoo/Orion Entities

28            125. During the Class Period, Orion Electric Company (“Orion”) was a major
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1    manufacturer of CRTs. Orion was a Korean corporation which filed for bankruptcy in 2004. In

2    1995, approximately 85% of Orion’s $1 billion in sales was attributed to CRTs. Orion was

3    involved in CRT Product sales and manufacturing joint ventures and had subsidiaries all over the

4    world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiffs are

5    informed and believe that Orion was wholly owned by the “Daewoo Group.” The Daewoo

6    Group included Daewoo Electronics Company, Ltd., Daewoo Telecom Company, Daewoo

7    Corporation, and Orion Electric Components Company. The Daewoo Group was dismantled in

8    or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners in an entity

9    called Daewoo-Orion Société Anonyme (“DOSA”) in France. As of approximately 1996, DOSA

10   produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or around 2004. In

11   December 1995, Orion partnered with defendant Toshiba Corporation and two other non-

12   defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in Indonesia.

13   TEDI was projected to have an annual production capacity of 2.3 million CRTs by 1999. During

14   the Class Period, Orion, Daewoo Electronics, TEDI and DOSA manufactured, marketed, sold

15   and/or distributed CRT Products, either directly or indirectly through their subsidiaries or

16   affiliates, to customers throughout the United States.

17          126. Daewoo Electronics, Orion, and DOSA are collectively referred to herein as

18   “Daewoo.”

19   Thomson Entities

20          127. Defendant Thomson SA (n/k/a Technicolor SA) (“Thomson SA”) is a French

21   corporation with its principal place of business located at 5 Rue Jeanne d’Arc 92130 Issy-les-

22   Moulineaux, France. Thomson SA, through its wholly-owned subsidiary Thomson Consumer

23   Electronics Corporation, was a major manufacturer of CRTs for the United States market, with

24   plants located in the United States, Mexico, China and Europe. Thomson SA sold its CRTs

25   internally to its television-manufacturing division, which had plants in the United States and

26   Mexico, and to other television manufacturers in the United States and elsewhere. Thomson

27   SA’s television division also purchased CRTs from other CRT manufacturers. Thomson SA’s

28   CRT televisions were sold in the United States to consumers under the RCA brand. In November
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1    2003, Thomson SA sold its television division to a joint venture it formed with Chinese

2    company, TCL Corporation. The joint venture was called TCL-Thomson Electronics

3    Corporation (“TCL-Thomson”). TCL took a 67 percent stake in the joint venture, with Thomson

4    SA holding the rest of the shares. As part of the joint venture agreement, the parties agreed that

5    televisions made by TCL-Thomson would be marketed under the TCL brand in Asia and the

6    Thomson and RCA brands in Europe and North America, respectively. In July 2005, Thomson

7    SA sold its CRT business to Videocon. During the Class Period, Thomson SA manufactured,

8    marketed, sold and/or distributed CRT Products, either directly or indirectly through its

9    subsidiaries or affiliates, to customers throughout the United States.

10          128. Defendant Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA, Inc.)

11   (“Thomson Consumer Electronics”) is a U.S. corporation with its principal place of business

12   located at 10330 N Meridian St., Indianapolis, IN 46290-1024. Thomson Consumer Electronics

13   is a wholly-owned subsidiary of Thomson SA. Thomson Consumer Electronics was a major

14   manufacturer of CRTs for the United States market, with plants located in Scranton, PA, Marion,

15   IN and Mexicali, Mexico. The United States-based plants were closed in 2004. Thomson

16   Consumer Electronics sold its CRTs internally to its own television-manufacturing division,

17   which had plants in the United States and Mexico, and to other television manufacturers in the

18   United States and elsewhere. Thomson’s CRT televisions were sold in the United States to

19   United States consumers under the RCA brand. Thomson Consumer Electronic’s television

20   business was sold to TCL-Thomson in 2003, and its CRT business was sold to Videocon

21   Industries, Ltd. in 2005. During the Class Period, Thomson Consumer Electronics manufactured,

22   marketed, sold and/or distributed CRT Products, either directly or indirectly through its

23   subsidiaries or affiliates, to customers throughout the United States.

24          129. Thomson SA and Thomson Consumer Electronics are collectively referred to

25   herein as “Thomson.”

26   Videocon

27          130. Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation with its

28   principal place of business located at 14 Kms Stone, Aurangabad-Paithan Road, Chitegaon, Tq.
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1    Paithan, Dist. Aurangabad - 431 105, India. In July 2005, Videocon acquired Thomson’s CRT

2    businesses, which included manufacturing facilities in Poland, Italy, Mexico, and China.

3    Videocon manufactured its CRTs for the United States market in Thomson’s former CRT plants

4    in Mexicali, Mexico and China. Videocon sold these CRTs primarily to the joint venture, TCL-

5    Thomson, which manufactured CRT televisions for the U.S. market in Juarez, Mexico, and

6    which it sold under the RCA brand. During the Class Period, Videocon manufactured, marketed,

7    sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or

8    affiliates, to customers throughout the United States.

9           131. All of the above-listed defendants are collectively referred to herein as

10   “Defendants.”

11                             VI. AGENTS AND CO-CONSPIRATORS

12          132. Various other persons, firms and corporations, some of whom are unknown to the
13   Plaintiffs at this time and therefore are not named as Defendants herein, but including the known
14   entities described below, have participated as co-conspirators with Defendants and have
15   performed acts and made statements in furtherance of the conspiracy and/or in furtherance of the
16   anticompetitive, unfair or deceptive conduct. Plaintiffs reserve the right to name some or all of
17   these Persons as Defendants at a later date.
18   Mitsubishi Entities
19          133. Co-conspirator Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”) is a
20   Japanese corporation located at Building, 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
21   Japan. Mitsubishi Electric Japan and its subsidiaries manufactured CRTs in factories located in
22   Japan, Taiwan, Mexico and Canada for sale in the United States. These CRTs were sold
23   internally to Mitsubishi’s television and monitor manufacturing division and to other television
24   and monitor manufacturers in the U.S. and elsewhere. Mitsubishi’s television and monitor
25   division also purchased CRTs from other CRT manufacturers. During the Class Period,
26   Mitsubishi Electric Japan manufactured, marketed, sold and distributed CRT Products in the
27   United States.
28          134. Co-conspirator Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi Electric
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1    USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, CA 90630.

2    Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan. Mitsubishi

3    Electric USA manufactured CRTs for the United States market in plants located in Mexicali,

4    Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its television

5    and monitor manufacturing division and to other television and monitor manufacturers in the

6    U.S. and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from

7    other CRT manufacturers. During the Class Period, Mitsubishi Electric USA manufactured,

8    marketed, sold and distributed CRT Products in the United States.

9           135. Co-conspirator Mitsubishi Digital Electronics Americas, Inc. (“Mitsubishi

10   Digital”) is a United States corporation located at 9351 Jeronimo Road, Irvine, CA 92618.

11   Mitsubishi Digital is a wholly-owned subsidiary of Mitsubishi Electric USA. During the Class

12   Period, Mitsubishi Digital manufactured, marketed, sold and distributed CRTs and CRT

13   televisions and monitors in the United States.

14          136. Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital are

15   collectively referred to herein as “Mitsubishi.”

16          137. Whenever in this Complaint reference is made to any act, deed or transaction of

17   any corporation, the allegation means that the corporation engaged in the act, deed or transaction

18   by or through its officers, directors, agents, employees or representatives while they were

19   actively engaged in the management, direction, control or transaction of the corporation’s

20   business or affairs.

21          138. Defendants are also liable to acts done in furtherance of the alleged conspiracy by

22   companies they acquired through mergers or acquisitions.

23          139. Each of the Defendants named herein acted as the agent or joint venturer of or for

24   the other Defendants with respect to the acts, violations and common course of conduct alleged

25   herein. Each Defendant which is a subsidiary of a foreign parent acts as the sole United States

26   agent for CRT Products made by its parent company.

27                          VII.   INTERSTATE TRADE AND COMMERCE

28          140. Throughout the Class Period, each Defendant, or one or more of its subsidiaries,
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1    sold CRT Products in the United States in a continuous and uninterrupted flow of interstate and

2    international commerce, including through and into this judicial district.

3           141. During the Class Period, Defendants collectively controlled the vast majority of the

4    market for CRT Products, both globally and in the United States.

5           142. Defendants’ unlawful activities, as described herein, took place within the flow of

6    interstate commerce to purchasers of CRT Products located in states other than the states in

7    which Defendants are located, as well as throughout the world, and had a direct, substantial and

8    reasonably foreseeable effect upon interstate and international commerce, including the United

9    States markets for CRT Products.

10                                 VIII. FACTUAL ALLEGATIONS

11          A.      CRT Technology
12          143. CRT technology was first developed more than a century ago. The first
13   commercially practical CRT television was made in 1931. It was not until the RCA Corporation
14   introduced the product at the 1939 World’s Fair, however, that it became widely available to
15   consumers. Since then, CRTs have become the heart of most display products, including
16   televisions, computer monitors, oscilloscopes, air traffic control monitors, and ATMs. Even large
17   public displays, including many scoreboards at sports arenas, are comprised of thousands of
18   single color CRTs.
19          144. As noted above, the CRT is a vacuum tube that is coated on its inside face with
20   light sensitive phosphors. An electron gun at the back of the vacuum tube emits electron beams.
21   When the electron beams strike the phosphors, the phosphors produce either red, green, or blue
22   light. A system of magnetic fields inside the CRT, as well as varying voltages, directs the beams
23   to produce the desired colors. This process is rapidly repeated several times per second to
24   produce the desired images.
25          145. The quality of a CRT display is dictated by the quality of the CRT itself. No
26   external control or feature can make up for a poor quality tube. In this regard, the CRT defines
27   the whole product such that the product is often simply referred to as “the CRT.”
28          146. Until the last few years, CRTs were the dominant technology used in displays,
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1    including television and computer monitors. During the Class Period, this translated into the sale

2    of millions of CRT Products, generating billions of dollars in annual profits.

3           B.      Structural Characteristics Of The CRT Market

4           147. The structural characteristics of the CRT Product market are conducive to the type
5    of collusive activity alleged in this Complaint. These characteristics include market
6    concentration, ease of information sharing, the consolidation of manufacturers, multiple
7    interrelated business relationships, significant barriers to entry, maturity of the CRT Product
8    market, and homogeneity of products.
9                   a.      Market Concentration
10          148. During the Class Period, the CRT industry was dominated by relatively few
11   companies. In 2004, defendants Samsung SDI, LG.Philips Displays (n/k/a LP Displays) and
12   Chunghwa, and MT Picture Display together held a collective 78% share of the global CRT
13   market. The high concentration of market share facilitates coordination since there are fewer
14   cartel members among which to coordinate pricing or allocate markets, and it is easier to monitor
15   the pricing and production of other cartel members.
16                  b.      Information Sharing
17          149. Because of common membership in trade associations for the CRT Product market
18   and related markets (for e.g., TFT-LCD), interrelated business arrangements such as joint
19   ventures, allegiances between companies in certain countries, and relationships between the
20   executives of certain companies, there were many opportunities for Defendants to discuss and
21   exchange competitive information. The ease of communication was facilitated by the use of
22   meetings, telephone calls, e-mails, and instant messages. Defendants took advantage of these
23   opportunities to discuss and agree upon their pricing for CRT Products.
24          150. Defendants Chunghwa, Hitachi and Samsung are all members of the Society for
25   Information Display. Defendants Samsung and LG Electronics, Inc. are two of the co-founders
26   of the Korea Display Industry Association. Similarly, Daewoo, LG Electronics, LP Displays, and
27   Samsung are members of the Electronic Display Industrial Research Association. Upon
28   information and belief, Defendants used these trade associations as vehicles for discussing and
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1    agreeing upon their pricing for CRT Products. At the meetings of these trade associations,

2    Defendants exchanged proprietary and competitively sensitive information which they used to

3    implement and monitor the conspiracy.

4                     c.     Consolidation

5              151. The CRT Product industry also had significant consolidation during the Class
6    Period, including but not limited to: (a) the creation of LG.Philips Displays (n/k/a LP Displays)
7    in 2001 as a joint venture between Royal Philips and LG Electronics, Inc.; and (b) the 2002
8    merger of Toshiba and Matsushita/Panasonic’s CRT business into MTPD.
9              152. Defendants also consolidated their manufacturing facilities in lower cost venues
10   such as China and reduced manufacturing capacity to prop up prices.
11                    d.     Multiple Interrelated Business Relationships
12             153. The CRT Product industry has a close-knit nature whereby multiple business
13   relationships between supposed competitors blur the lines of competition and provided ample
14   opportunity to collude. These business relationships also created a unity of interest among
15   competitors so that the conspiracy was easier to implement and enforce than if such
16   interrelationships did not exist.
17             154. Examples of the high degree of cooperation among Defendants in both the CRT
18   Product market and other closely related markets include the following:
19                    a.     The formation of the CRT joint venture LG.Philips Displays in 2001 by
20   Defendants LG Electronics, Inc. and Royal Philips.
21                    b.     Defendants LG Electronics, Inc. and Royal Philips also formed LG.Philips
22   LCD Co., Ltd., n/k/a LG Display Co., Ltd. in 1999 as a joint venture for the purpose of
23   manufacturing TFT-LCD panels.
24                    c.     The formation of the CRT joint venture MTPD in 2003 by Defendants
25   Toshiba and Panasonic.
26                    d.     Defendants Toshiba and Panasonic also formed Toshiba-Matsushita
27   Display Technology Co., Ltd. as a joint venture for the purpose of manufacturing TFT-LCD
28   panels.
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1                   e.      In December 1995, Defendants Daewoo and Toshiba partnered with two

2    other non-Defendant entities to form TEDI which manufactured CRTs in Indonesia.

3                   f.      Defendants Daewoo and Toshiba also signed a cooperative agreement

4    relating to LCDs in 1995. Pursuant to the agreement, Daewoo produced STN LCDs, and

5    Toshiba, which had substituted its STN LCD production with TFT LCD production, marketed

6    Daewoo’s STN LCDs globally through its network.

7                   g.      Also in 1995, Defendant Chunghwa entered into a technology transfer

8    agreement with Defendant Toshiba for large CPTs.

9                   h.      Defendant Chunghwa has a joint venture with Defendant Samsung

10   Electronics Co., Ltd. for the production of liquid crystal display panels. Chunghwa now licenses

11   the technology from Defendant Royal Philips, a recent development that helped resolve a patent

12   infringement suit filed in 2002.

13                  i.      Defendants LG Electronics, Inc. and Hitachi Ltd. entered into a joint

14   venture in 2000 for the manufacture, sale and distribution of optical storage products such as

15   DVD drives.

16                  j.      Defendant Samtel participates in a joint venture, Samcor Glass Limited,

17   with Defendant Samsung Electronics Co., Ltd. and non-Defendant Corning Inc., USA for the

18   production and supply of picture tube glass.

19                  k.      Defendant Samtel claims to have supplied CRTs to Defendants LG

20   Electronics, Inc., Samsung, Royal Philips, and Panasonic.

21                  e.      High Costs Of Entry Into The Industry

22          155. There are substantial barriers to entry in the CRT Products industry. It would
23   require substantial time, resources and industry knowledge to even potentially overcome the
24   barriers to entry. It is also extremely unlikely that a new producer would enter the market in light
25   of the declining demand for CRT Products.
26                  f.      The Maturity Of The CRT Product Market
27          156. Newer industries are typically characterized by rapid growth, innovation and high
28   profits. The CRT Product market is a mature one, and like many mature industries, is
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1    characterized by slim profit margins, creating a motivation to collude.

2           157. Demand for CRT Products was declining throughout the Class Period. Static or

3    declining demand is another factor which makes the formation of a collusive arrangement more

4    likely because it provides a greater incentive to firms to avoid price competition.

5           158. In addition, conventional CRT televisions and computer monitors were being

6    rapidly replaced by TFT-LCD and Plasma displays. This was one of the factors which led

7    Defendants to engage in this alleged price fixing scheme in order to slow down declining CRT

8    Product prices. Between 2000 and 2006, revenues from the sale of CRT televisions in the United

9    States declined by 50.7 percent and are predicted to decline by an additional 84.5 percent

10   between 2006 and 2010.

11          159. Although demand was declining as a result of the popularity of flat-panel

12   LCD/plasma televisions and LCD monitors, CRT televisions and monitors were still the

13   dominant display technology during the Class Period, making Defendants’ collusion and the

14   international price fixing conspiracy worthwhile. Due to the high costs of LCD panels and

15   plasma displays during the Class Period, a substantial market for CRT Products existed as a

16   cheaper alternative to these new technologies.

17          160. In 1999, CRT monitors accounted for 94.5 percent of the retail market for

18   computer monitors in North America. By 2002, that figure had dropped to 73 percent; still a

19   substantial share of the market.

20          161. As for CRT televisions, they accounted for 73 percent of the North American

21   television market in 2004, and by the end of 2006, still held a 46 percent market share. CRT

22   televisions continue to dominate the global television market, accounting for 75 percent of

23   worldwide TV units in 2006.

24                  g.      Homogeneity Of CRT Products

25          162. CRT Products are commodity-like products which are manufactured in
26   standardized sizes. One Defendant’s CRT Products for a particular application, such as a
27   particular size television set or computer monitor, is substitutable for another’s. Defendants sell
28   and Plaintiffs (and Class members) purchase CRT Products primarily on the basis of price.
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1           163. It is easier to form and sustain a cartel when the product in question is commodity-

2    like because it is easier to agree on prices to charge and to monitor those prices once an

3    agreement is formed.

4           C.      Pre-Conspiracy Market

5           164. The genesis of the CRT conspiracy was in the late 1980s as the CRT Products
6    business became more international and the Defendants began serving customers that were also
7    being served by other international companies. During this period, the employees of Defendants
8    would encounter employees from their competitors when visiting their customers. A culture of
9    cooperation developed over the years and these Defendant employees would exchange market
10   information on production, capacity, and customers.
11          165. In the early 1990s, representatives from Samsung, Daewoo, Chunghwa and Orion
12   visited each other’s factories in S.E. Asia. During this period, these producers began to include
13   discussions about price in their meetings. The pricing discussions were usually limited, however,
14   to exchanges of the range of prices that each competitor had quoted to specific customers.
15          D.      Defendants’ And Co-Conspirators’ Illegal Agreements
16          166. Plaintiffs are informed and believe, and thereon allege, that in order to control and
17   maintain profitability during declining demand for CRT Products, Defendants and their co-
18   conspirators have engaged in a contract, combination, trust or conspiracy, the effect of which has
19   been to raise, fix, maintain and/or stabilize the prices at which they sold CRT Products to
20   artificially inflated levels from at least March 1, 1995 through at least November 25, 2007.
21          167. The CRT conspiracy was effectuated through a combination of group and bilateral
22   meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions were the
23   primary method of communication and took place on an informal, ad hoc basis. During this
24   period, representatives from Defendants LG, Samsung and Daewoo visited the other Defendant
25   and co-conspirator manufacturers including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba,
26   Mitsubishi and Panasonic to discuss increasing prices for CRT Products in general and to
27   specific customers. These meetings took place in Taiwan, South Korea, Thailand, Japan,
28   Malaysia, Indonesia, and Singapore.
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1           168. Defendants Samsung, Chunghwa, LG, Mitsubishi and Daewoo also attended

2    several ad hoc group meetings during this period. The participants at these group meetings also

3    discussed increasing prices for CRT Products.

4           169. As more manufacturers formally entered the conspiracy, group meetings became

5    more prevalent. Beginning in 1997, the Defendants began to meet in a more organized,

6    systematic fashion, and a formal system of multilateral and bilateral meetings was put in place.

7    Defendants’ representatives attended hundreds of these meetings during the Class Period.

8           170. The overall CRT conspiracy raised and stabilized worldwide prices (including

9    United States prices) that Defendants charged for CRT Products.

10                  a.     “Glass Meetings”

11          171. The group meetings among the participants in the CRT price-fixing conspiracy
12   were referred to by the participants as “Glass Meetings” or “GSM.” Glass Meetings were
13   attended by employees at three general levels of the Defendants’ corporations.
14          172. The first level of these meetings were attended by high level company executives
15   including CEOs, Presidents, and Vice Presidents, and were known as “Top Meetings.” Top
16   Meetings occurred less frequently, typically quarterly, and were focused on longer term
17   agreements and forcing compliance with price fixing agreements. Because attendees at Top
18   Meetings had authority as well as more reliable information, these meetings resulted in
19   agreements. Attendees at Top Meetings were also able to resolve disputes because they were
20   decision makers who could make agreements.
21          173. The second level of meetings were attended by the Defendants’ high level sales
22   managers and were known as “Management Meetings.” These meetings occurred more
23   frequently, typically monthly, and handled implementation of the agreements made at Top
24   Meetings.
25          174. Finally, the third level of meetings were known as “Working Level Meetings” and
26   were attended by lower level sales and marketing employees. These meetings generally occurred
27   on a weekly or monthly basis and were mostly limited to the exchange of information and
28   discussing pricing since the lower level employees did not have the authority to enter into
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1    agreements. These lower level employees would then transmit the competitive information up

2    the corporate reporting chain to those individuals with pricing authority. The Working Level

3    Meetings also tended to be more regional and often took place near Defendants’ factories. In

4    other words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean

5    manufacturers’ employees met in Korea, the Chinese in China, and so on.

6                  a.      The Chinese Glass Meetings began in 1998 and generally occurred on a

7    monthly basis following a top or management level meeting. The China meetings had the

8    principal purpose of reporting what had been decided at the most recent Glass Meeting to the

9    Chinese manufacturers. Participants at the Chinese meetings included the manufacturers located

10   in China, such as IRICO and BMCC, as well as the China-based branches of the other

11   Defendants, including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung

12   SDI Tianjin, and Chunghwa.

13                 b.      Glass Meetings also occurred occasionally in various European countries.

14   Attendees at these meetings included those Defendants which had subsidiaries and/or

15   manufacturing facilities located in Europe, including Philips, LG, LP Displays, Chunghwa,

16   Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo), IRICO,

17   Thomson and, from 2005, Videocon.

18          175. Representatives of the Defendants also attended what were known amongst

19   members of the conspiracy as “Green Meetings.” These were meetings held on golf courses. The

20   Green Meetings were generally attended by top and management level employees of the

21   Defendants.

22          176. During the Class Period, Glass Meetings took place in Taiwan, South Korea,

23   Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia and the United States.

24          177. Participants would often exchange competitively sensitive information prior to a

25   Glass Meeting. This included information on inventories, production, sales and exports. For

26   some such meetings, where information could not be gathered in advance of the meeting, it was

27   brought to the meeting and shared.

28          178. The Glass Meetings at all levels followed a fairly typical agenda. First, the
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1    participants exchanged competitive information such as proposed future CRT pricing, sales

2    volume, inventory levels, production capacity, exports, customer orders, price trends, and

3    forecasts of sales volumes for coming months. The participants also updated the information they

4    had provided in the previous meeting. Each meeting had a rotating, designated “Chairman” who

5    would write the information on a white board. The meeting participants then used this

6    information to discuss and agree upon what price each would charge for CRTs to be sold in the

7    following month or quarter. They discussed and agreed upon target prices, price increases, so-

8    called “bottom” prices, and price ranges for CRTs. They also discussed and agreed upon prices

9    of CRTs that were sold to specific customers, and agreed upon target prices to be used in

10   negotiations with large customers. Having analyzed the supply and demand, the participants

11   would also discuss and agree upon production cutbacks.

12             179. During periods of oversupply, the focus of the meeting participants turned to

13   making controlled and coordinated price reductions. This was referred to as setting a “bottom

14   price.”

15             180. Defendants’ conspiracy included agreements on the prices at which certain

16   Defendants would sell CRTs to their own corporate subsidiaries and affiliates that manufactured

17   end products, such as televisions and computer monitors. Defendants realized the importance of

18   keeping the internal pricing to their affiliated OEMs at a high enough level to support the CRT

19   pricing in the market to other OEMs. In this way, Defendants ensured that all direct purchaser

20   OEMs paid supracompetitive prices for CRTs.

21             181. Each of the participants in these meetings knew, and in fact discussed, the

22   significant impact that the price of CRTs had on the cost of the finished products into which they

23   were placed. Like CRTs themselves, the market for CRT Products was a mature one, and there

24   were slim profit margins. The Defendants therefore concluded that in order to make their CRT

25   price increases stick, they needed to make the increase high enough that their direct customers

26   (CRT TV and monitor makers) would be able to justify a corresponding price increase to their

27   customers. In this way, Defendants ensured that price increases for CRTs were passed on to

28   indirect purchasers of CRT Products.
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1           182. The agreements reached at the Glass Meetings included:

2                   a. agreements on CRT Product prices, including establishing target prices,

3                        “bottom” prices, price ranges, and price guidelines;

4                   b. placing agreed-upon price differentials on various attributes of CRT Products,

5                        such as quality or certain technical specifications;

6                   c. agreements on pricing for intra-company CRT Product sales to vertically

7                        integrated customers;

8                   d. agreements as to what to tell customers about the reason for a price increase;

9                   e. agreements to coordinate with competitors that did not attend the group

10                       meetings and agreements with them to abide by the agreed-upon pricing;

11                  f. agreements to coordinate pricing with CRT manufacturers in other geographic

12                       markets such as Brazil, Europe and India;

13                  g. agreements to exchange pertinent information regarding shipments, capacity,

14                       production, prices and customer demands;

15                  h. agreements to coordinate uniform public statements regarding available

16                       capacity and supply;

17                  i.   agreements to allocate both overall market shares and share of a particular

18                       customer’s purchases;

19                  j.   agreements to allocate customers;

20                  k. agreements regarding capacity, including agreements to restrict output and to

21                       audit compliance with such agreements; and

22                  l.   agreements to keep their meetings secret.

23          183. Efforts were made to monitor each Defendant’s adherence to these agreements in a

24   number of ways, including seeking confirmation of pricing both from customers and from

25   employees of the Defendants themselves. When cheating did occur, it was addressed in at least

26   four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if they did not

27   live up to an agreement; 3) threats to undermine a competitor at one of its principal customers;

28   and 4) a recognition in a mutual interest in living up to the target price and living up to the
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1    agreements that had been made.

2           184. As market conditions worsened in 2005-2007, and the rate of replacement of CRT

3    Products by TFT-LCDs increased, the group Glass Meetings became less frequent and bilateral

4    meetings again became more prevalent. In addition, in December 2006 the DOJ issued

5    subpoenas to manufacturers of TFT-LCDs and so the CRT co-conspirators began to have

6    concerns about antitrust issues.

7                   b.      Bilateral Discussions

8           185. Throughout the Class Period, the Glass Meetings were supplemented by bilateral
9    discussions between various Defendants. The bilateral discussions were more informal than the
10   group meetings and occurred on a frequent, ad hoc basis, often between the group meetings.
11   These discussions, usually between sales and marketing employees, took the form of in-person
12   meetings, telephone contacts and emails.
13          186. During the Class Period, in-person bilateral meetings took place in Malaysia,
14   Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
15   Mexico and the United States.
16          187. The purpose of the bilateral discussions was to exchange information about past
17   and future pricing, confirm production levels, share sales order information, confirm pricing
18   rumors, and coordinate pricing with manufacturers in other geographic locations, including
19   Brazil, Mexico, Europe and the United States.
20          188. In order to ensure the efficacy of their global conspiracy, the Defendants also used
21   bilateral meetings to coordinate pricing with CRT Product manufacturers in Brazil, Mexico and
22   the United States, such as Philips, Samsung SDI, Thomson, Mitsubishi and later, LPD (from
23   2001) and Videocon (from 2005). These CRT manufacturers were particularly important because
24   they served the North American market for CRT Products. As further alleged herein, North
25   America was the largest market for CRT televisions and computer monitors during the Class
26   Period. Because these manufacturers were all wholly-owned and controlled subsidiaries of
27   Defendants or co-conspirators Philips, Samsung SDI, Thomson, Mitsubishi and LPD, they
28   adhered to the unlawful price-fixing agreements. In this way, the Defendants ensured that prices
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1    of all CRT Products sold in the United States were fixed, raised, maintained and/or stabilized at

2    supracompetitive levels.

3           189. Defendants also used bilateral discussions with each other during price

4    negotiations with customers to avoid being persuaded by customers to cut prices. The

5    information gained in these communications was then shared with supervisors and taken into

6    account in determining the price to be offered.

7           190. Bilateral discussions were also used to coordinate prices with CRT Product

8    manufacturers that did not ordinarily attend the group meetings, such as Defendants and co-

9    conspirators Hitachi, Toshiba, Panasonic, Thai CRT, Samtel, Thomson, Mitsubishi and later

10   Videocon. It was often the case that in the few days following a Top or Management Meeting,

11   the attendees at these group meetings would meet bilaterally with the other Defendant and co-

12   conspirator manufacturers for the purpose of communicating whatever CRT Product pricing

13   and/or output agreements had been reached during the meeting. For example, Samsung had a

14   relationship with Hitachi and was responsible for communicating CRT Product pricing

15   agreements to Hitachi. LG had a relationship with Toshiba and was responsible for

16   communicating CRT Product pricing agreements to Toshiba. And Thai CRT had a relationship

17   with Samtel and was responsible for communicating CRT Product pricing agreements to Samtel.

18   Hitachi, Toshiba and Samtel implemented the agreed-upon pricing as conveyed by Samsung,

19   LG, and Thai CRT. Sometimes Hitachi and Toshiba also attended the Glass Meetings. Similarly,

20   Philips had regular bilateral communications with Thomson in Europe and the United States, and

21   Samsung SDI had regular communications with Mitsubishi. In this way, Hitachi, Toshiba,

22   Samtel, Thomson and Mitsubishi participated in the conspiracy to fix prices of CRT Products.

23                  c.     Defendants’ And Co-Conspirators’ Participation In Group And
                           Bilateral Discussions
24
            191. Between at least 1995 and 2007, Defendant Samsung, through Samsung SDI,
25
     Samsung SDI Malaysia, Samsung SDI Shenzhen, and Samsung SDI Tianjin, participated in at
26
     least 200 Glass Meetings at all levels. A substantial number of these meetings were attended by
27
     the highest ranking executives from Samsung. Samsung also engaged in bilateral discussions
28
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1    with each of the other Defendants on a regular basis. Through these discussions, Samsung agreed

2    on prices and supply levels for CRT Products.

3           192. Defendants Samsung SDI America, Samsung SDI Brazil, and Samsung SDI

4    Mexico were represented at those meetings and were a party to the agreements entered at them.

5    Thus, Samsung SDI America, Samsung SDI Brazil, and Samsung SDI Mexico were active,

6    knowing participants in the alleged conspiracy.

7           193. Between at least 1995 and 2001, Defendant LG, through LG Electronics, Inc. and

8    LGETT, participated at least 100 Glass Meetings at all levels. After 2001, LG participated in the

9    CRT Product conspiracy through its joint venture with Philips, LG.Philips Displays (n/k/a LP

10   Displays). A substantial number of these meetings were attended by the highest ranking

11   executives from LG. LG also engaged in bilateral discussions with each of the other Defendants

12   on a regular basis. Through these discussions, LG agreed on prices and supply levels for CRT

13   Products. LG never effectively withdrew from this conspiracy.

14          194. Defendant LGEUSA was represented at those meetings and was a party to the

15   agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, they

16   played a significant role in the conspiracy because Defendants wished to ensure that the prices

17   for CRT Products paid by direct purchasers would not undercut the pricing agreements reached

18   at the Glass Meetings. Thus, LGEUSA was an active, knowing participant in the alleged

19   conspiracy.

20          195. Between at least 1996 and 2001, Defendant Philips, through Royal Philips and

21   Philips Taiwan, participated at least 100 Glass Meetings at all levels. After 2001, Philips

22   participated in the CRT Product conspiracy through its joint venture with LG, LG.Philips

23   Displays (n/k/a LP Displays). A substantial number of these meetings were attended by high

24   level executives from Philips. Philips also engaged in numerous bilateral discussions with other

25   Defendants. Through these discussions, Philips agreed on prices and supply levels for CRT

26   Products. Philips never effectively withdrew from this conspiracy.

27          196. Defendants PENAC and Philips Brazil were represented at those meetings and

28   were a party to the agreements entered at them. To the extent PENAC and Philips Brazil sold
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1    and/or distributed CRT Products to direct purchasers, they played a significant role in the

2    conspiracy because Defendants wished to ensure that the prices for CRT Products paid by direct

3    purchasers would not undercut the pricing agreements reached at the Glass Meetings. Thus,

4    PENAC and Philips Brazil were active, knowing participants in the alleged conspiracy.

5           197. Between at least 2001 and 2006, Defendant LP Displays (f/k/a LG.Philips

6    Displays) participated at least 100 Glass Meetings at all levels. A substantial number of these

7    meetings were attended by the highest ranking executives from LP Displays. Certain of these

8    high level executives from LP Displays had previously attended meetings on behalf of

9    defendants LG and Philips. LP Displays also engaged in bilateral discussions with other

10   Defendants. Through these discussions, LP Displays agreed on prices and supply levels for CRT

11   Products.

12          198. Between at least 1995 and 2006, Defendant Chunghwa, through CPT, Chunghwa

13   Malaysia, and representatives from their factories in Fuzhuo (China) and Scotland, participated

14   in at least 100 Glass Meetings at all levels. A substantial number of these meetings were attended

15   by the highest ranking executives from Chunghwa, including the former Chairman and CEO of

16   CPT, C.Y. Lin. Chunghwa also engaged in bilateral discussions with each of the other

17   Defendants on a regular basis. Through these discussions, Chunghwa agreed on prices and

18   supply levels for CRT Products.

19          199. Defendant Tatung America was represented at those meetings and was a party to

20   the agreements entered at them. To the extent Tatung America sold and/or distributed CRT

21   Products to direct purchasers, it played a significant role in the conspiracy because Defendants

22   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut

23   the pricing agreements reached at the Glass Meetings. Thus, Tatung America was an active,

24   knowing participant in the alleged conspiracy.

25          200. Between at least 1995 and 2004, Daewoo, through Daewoo Electronics, Orion and

26   DOSA, participated in at least 100 Glass Meetings at all levels. A substantial number of these

27   meetings were attended by the highest ranking executives from Daewoo. Daewoo also engaged

28   in bilateral discussions with other Defendants on a regular basis. Through these discussions,
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1    Daewoo agreed on prices and supply levels for CRT Products. Bilateral discussions with

2    Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy in 2004.

3    Daewoo never effectively withdrew from this conspiracy.

4           201.   Between at least 1995 and 2003, Defendant Toshiba, through Toshiba

5    Corporation, TDDT and TEDI, participated in several Glass Meetings. After 2003, Toshiba

6    participated in the CRT conspiracy through its joint venture with Panasonic, MTPD. These

7    meetings were attended by high level sales managers from Toshiba and MTPD. Toshiba also

8    engaged in multiple bilateral discussions with other Defendants, particularly with LG. Through

9    these discussions, Toshiba agreed on prices and supply levels for CRT Products. Toshiba never

10   effectively withdrew from this conspiracy.

11          202. Defendants Toshiba America, Inc., TACP, TAIP and TAEC were represented at

12   those meetings and were a party to the agreements entered at them. To the extent Toshiba

13   America, Inc., TACP, TAIP and TAEC sold and/or distributed CRT Products to direct

14   purchasers, they played a significant role in the conspiracy because Defendants wished to ensure

15   that the prices for CRT Products paid by direct purchasers would not undercut the pricing

16   agreements reached at the Glass Meetings. Thus, Toshiba America, TACP, TAIP, and TAEC

17   were active, knowing participants in the alleged conspiracy.

18          203. Between at least 1996 and 2001, Defendant Hitachi, through Hitachi, Ltd., Hitachi

19   Displays, Hitachi Shenzhen, and Hitachi Asia, participated in several Glass Meetings. These

20   meetings were attended by high level sales managers from Hitachi. Hitachi also engaged in

21   multiple bilateral discussions with other Defendants, particularly with Samsung. Through these

22   discussions, Hitachi agreed on prices and supply levels for CRT Products. Hitachi never

23   effectively withdrew from this conspiracy.

24          204. Defendants Hitachi America and HEDUS were represented at those meetings and

25   were a party to the agreements entered at them. To the extent Hitachi America and HEDUS sold

26   and/or distributed CRT Products to direct purchasers, they played a significant role in the

27   conspiracy because Defendants wished to ensure that the prices for CRT Products paid by direct

28   purchasers would not undercut the pricing agreements reached at the Glass Meetings. Thus,
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1    Hitachi America and HEDUS were active, knowing participants in the alleged conspiracy.

2           205. Between at least 1996 and 2003, Defendant Panasonic (known throughout the class

3    period as Matsushita Electric Industrial Co., Ltd.), through Panasonic Corporation and

4    Matsushita Malaysia, participated in several Glass Meetings. After 2003, Panasonic participated

5    in the CRT conspiracy through its joint venture with Toshiba, MTPD. These meetings were

6    attended by high level sales managers from Panasonic and MTPD. Panasonic also engaged in

7    multiple bilateral discussions with other Defendants. Through these discussions, Panasonic

8    agreed on prices and supply levels for CRT Products. Panasonic never effectively withdrew from

9    this conspiracy.

10          206. Between at least 2003 and 2006, MTPD participated in multiple Glass Meetings

11   and in fact led many of these meetings during the latter years of the conspiracy. These meetings

12   were attended by high level sales managers from MTPD. MTPD also engaged in bilateral

13   discussions with other Defendants. Through these discussions, MTPD agreed on prices and

14   supply levels for CRT Products.

15          207. Between at least 1998 and 2007, Defendant BMCC participated in multiple Glass

16   Meetings. These meetings were attended by high level sales managers from BMCC. BMCC also

17   engaged in multiple bilateral discussions with other Defendants, particularly the other Chinese

18   CRT manufacturers. Through these discussions, BMCC agreed on prices and supply levels for

19   CRT Products. None of BMCC’s conspiratorial conduct in connection with CRT Products was

20   mandated by the Chinese government. BMCC was acting to further its own independent private

21   interests in participating in the alleged conspiracy.

22          208. Between at least 1998 and 2007, Defendant IRICO, through IGC, IGE, and IDDC,

23   participated in multiple Glass Meetings. These meetings were attended by the highest ranking

24   executives from IRICO. IRICO also engaged in multiple bilateral discussions with other

25   Defendants, particularly with other Chinese manufacturers. Through these discussions, IRICO

26   agreed on prices and supply levels for CRT Products. None of IRICO’s conspiratorial conduct in

27   connection with CRT Products was mandated by the Chinese government. IRICO was acting to

28   further its own independent private interests in participating in the alleged conspiracy.
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1           209. Between at least 1997 and 2006, Defendant Thai CRT participated in multiple

2    Glass Meetings. These meetings were attended by the highest ranking executives from Thai

3    CRT. Thai CRT also engaged in multiple bilateral discussions with other Defendants,

4    particularly with Samtel. Through these discussions, Thai CRT agreed on prices and supply

5    levels for CRT Products. Thai CRT never effectively withdrew from this conspiracy.

6           210. Between at least 1998 and 2006, Defendant Samtel participated in multiple

7    bilateral discussions with other Defendants, particularly with Thai CRT. These meetings were

8    attended by high level executives from Samtel. Through these discussions, Samtel agreed on

9    prices and supply levels for CRT Products. Samtel never effectively withdrew from this

10   conspiracy.

11          211. Between at least 1996 and 2005, co-conspirator Thomson participated in at least 61

12   meetings with its competitors, including several Glass Meetings and multiple bilateral meetings.

13   These meetings were attended by high level sales managers from Thomson. At these meetings,

14   Thomson discussed such things as CRT prices, production, revenues, volumes, demand,

15   inventories, estimated sales, plant shutdowns, customer allocation, and new product development

16   and agreed on prices and supply levels for CRT Products. Thomson never effectively withdrew

17   from this conspiracy.

18          212. Between 2005 and 2007, co-conspirator Videocon participated in several Glass

19   Meetings and multiple bilateral meetings with its competitors. These meetings were attended by

20   high level sales managers from Videocon. At these meetings, Videocon discussed such things as

21   CRT prices, production, revenues, volumes, demand, inventories, estimated sales, plant

22   shutdowns, customer allocation, and new product development, and agreed on prices and supply

23   levels for CRT Products. Videocon never effectively withdrew from this conspiracy.

24          213. Between at least 1995 and 2005, co-conspirator Mitsubishi participated in multiple

25   bilateral and some multilateral meetings with its competitors. These meetings were attended by

26   high level sales managers from Mitsubishi. At these meetings, Mitsubishi discussed such things

27   as CRT prices, production, revenues, volumes, demand, inventories, estimated sales, plant

28   shutdowns, customer allocation, and new product development, and agreed on prices and supply
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1    levels for CRT Products. Mitsubishi never effectively withdrew from this conspiracy.

2           214. When Plaintiffs refer to a corporate family or companies by a single name in their

3    allegations of participation in the conspiracy, Plaintiffs are alleging that one or more employees

4    or agents of entities within the corporate family engaged in conspiratorial meetings on behalf of

5    every company in that family. In fact, the individual participants in the conspiratorial meetings

6    and discussions did not always know the corporate affiliation of their counterparts, nor did they

7    distinguish between the entities within a corporate family. The individual participants entered

8    into agreements on behalf of, and reported these meetings and discussions to, their respective

9    corporate families. As a result, the entire corporate family was represented in meetings and

10   discussions by their agents and were parties to the agreements reached in them.

11          E.      The CRT Market During the Conspiracy

12          215. Until the last few years, CRTs were the dominant technology used in displays,
13   including television and computer monitors. During the Class Period, this translated into the sale
14   of millions of CRT Products, generating billions of dollars in annual profits.
15          216. The following data was reported by Stanford Resources, Inc., a market research
16   firm focused on the global electronic display industry:
17                Year              Units Sold              Revenue            Average Selling
                                    (millions)        (billion US dollars)     Price Per Unit
18                1998                90.5                    $18.9                 $208
19                1999                106.3                   $19.2                 $181
                  2000                119.0                   $28.0                 $235
20

21          217. During the Class Period, North America was the largest market for CRT TVs and
22   computer monitors. According to a report published by Fuji Chimera Research, the 1995
23   worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent)
24   were consumed in North America. By 2002, North America still consumed around 35 percent of
25   the world’s CRT monitor supply. See, The Future of Liquid Crystal and Related Display
26   Materials, Fuji Chimera Research, 1997, p.12.
27          218. Defendants’ collusion is evidenced by unusual price movements in the CRT
28   Product market during the Class Period. In the 1990s, industry analysts repeatedly predicted
                                                     50
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1    declines in consumer prices for CRT Products that did not fully materialize. For example, in

2    1992, an analyst for Market Intelligent Research Corporation predicted that “[e]conomies of

3    scale, in conjunction with technological improvements and advances in manufacturing

4    techniques, will produce a drop in the price of the average electronic display to about $50 in

5    1997.” Information Display 9/92 p.19. Despite such predictions, and the existence of economic

6    conditions warranting a drop in prices, CRT Product prices nonetheless remained stable.

7           219. In 1996, another industry source noted that “the price of the 14" tube is at a

8    sustainable USD50 and has been for some years….”

9           220. In early 1999, despite declining production costs and the rapid entry of flat panel

10   display products, the price of large sized color CRTs actually rose. The price increase was

11   allegedly based on increasing global demand. In fact, this price increase was a result of the

12   collusive conduct as herein alleged.

13          221. After experiencing oversupply of 17" CRTs in the second half of 1999, the average

14   selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech Weekly

15   quoted an industry analyst as saying that this price increase was “unlike most other PC-related

16   products.”

17          222. A BNET Business Network news article from August 1998 reported that “key

18   components (cathode ray tubes) in computer monitors have risen in price. ‘Although several

19   manufacturers raised their CRT prices in the beginning of August, additional CRT price

20   increases are expected for the beginning of October….While computer monitor price increases

21   may be a necessary course of action, we [CyberVision, a computer monitor manufacturer] do not

22   foresee a drop in demand if we have to raise our prices relative to CRT price increases.’”

23          223. A 2004 article from Techtree.com reports that various computer monitor

24   manufacturers, including LG Electronics, Philips, and Samsung, were raising the price of their

25   monitors in response to increases in CRT prices caused by an alleged shortage of glass shells

26   used to manufacture the tubes. Philips is quoted as saying that, “It is expected that by the end of

27   September this year [2004] there will be 20% hike in the price of our CRT monitors.”

28          224. Defendants also conspired to limit production of CRTs by shutting down
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1    production lines for days at a time, and closing or consolidating their manufacturing facilities.

2           225. For example, the Defendants’ CRT factory utilization percentage fell from 90

3    percent in the third quarter of 2000 to 62 percent in the first quarter of 2001. This is the most

4    dramatic example of a drop in factory utilization. There were sudden drops throughout the Class

5    Period but to a lesser degree. Plaintiffs are informed and believe that these sudden, coordinated

6    drops in factory utilization by the Defendants were the result of Defendants’ agreements to

7    decrease output in order to stabilize the prices of CRT Products.

8           226. During the Class Period, while demand in the United States for CRT Products

9    continued to decline, Defendants’ conspiracy was effective in moderating the normal downward

10   pressures on prices for CRT Products caused by the entry and popularity of the new generation

11   LCD panels and plasma display products. As Finsen Yu, President of Skyworth Macao

12   Commerical Offshore Co., Ltd., a television maker, was quoted in January of 2007: “[t]he CRT

13   technology is very mature; prices and technology have become stable.”

14          227. During the Class Period, there were not only periods of unnatural and sustained

15   price stability, but there were also increases in prices of CRT Products. These price increases

16   were despite the declining demand due to the approaching obsolescence of CRT Products caused

17   by the emergence of a new, potentially superior and clearly more popular, substitutable

18   technology.

19          228. These price increases and price stability in the market for CRT Products during the

20   Class Period are inconsistent with a competitive market for a product facing rapidly decreasing

21   demand caused by a new, substitutable technology.

22          F.      International Government Antitrust Investigations

23          229. Defendants’ conspiracy to fix, raise, maintain and stabilize the prices of, and
24   restrict output for, CRT Products sold in the United States during the Class Period, is
25   demonstrated by a multinational investigation commenced by the Antitrust Division of the
26   United States Department of Justice (“DOJ”) and others in November 2007.
27          230. On November 8, 2007, antitrust authorities in Europe, Japan and South Korea
28   raided the offices of manufacturers of CRTs as part of an international investigation of alleged
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1    price fixing.

2            231. On February 10, 2009, the DOJ issued a press release announcing that a federal

3    grand jury in San Francisco had that same day returned a two-count indictment against the

4    former Chairman and Chief Executive Officer of Defendant Chunghwa Picture Tubes, Ltd.,

5    Cheng Yuan Lin, aka C.Y. Lin, for his participation in global conspiracies to fix the prices of

6    two types of CRTs used in computer monitors and televisions. The press release notes that “[t]his

7    is the first charge as a result of the Antitrust Division’s ongoing investigation into the cathode

8    ray tubes industry.” The press release further notes that Lin had previously been indicted for his

9    participation in a conspiracy to fix the prices of TFT-LCDs. Mr. Lin’s indictment states that the

10   combination and conspiracy to fix the prices of CRTs was carried out, in part, in the Northern

11   District of California.

12           232. On May 12, 2011, the DOJ and Defendant Samsung SDI signed an Amended Plea

13   Agreement in which Samsung SDI agreed to, and subsequently did in fact, plead guilty to

14   participating in a conspiracy among major cathode display tube (“CDT”) producers. CDTs are a

15   type of CRT. Samsung acknowledged that the primary purpose of the conspiracy was to fix

16   prices, reduce output, and allocate market shares of CDTs sold in the United States and

17   elsewhere. In furtherance of the conspiracy, Samsung SDI acknowledged that, through its

18   officers and employees, it engaged in discussions and attended meetings with representatives of

19   other major CDT producers and, during these discussions and meetings, agreements were

20   reached to fix prices, reduce output, and allocate market shares of CDTs sold in the United States

21   and elsewhere. Samsung SDI acknowledged that acts in furtherance of this conspiracy were

22   carried out within the Northern District of California. Samsung SDI paid a criminal fine of $32

23   million. Due to the pending related civil cases Samsung SDI paid no restitution. It informed the

24   sentencing court that issues bearing on restitution were more properly addressed in this pending

25   civil action. Civil restitution was part of the recommended sentence.

26           233. MT Picture Display Co., Ltd., then the CRT unit of Defendant Panasonic, has

27   confirmed that it was raided by Japan’s Fair Trade Commission.

28           234. Kyodo News reported on November 8, 2007, upon information and belief, that MT
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1    Picture Display fixed prices for CRTs with manufacturers in three Asian countries, including

2    South Korea’s Samsung SDI Co.

3           235. Kyodo News further reported that:

4                    Officials of these three companies are believed to have had at least
                     10 meetings since 2005 in major Asian cities to coordinate target
5                    prices when delivering their products to TV manufacturers in
                     Japan and South Korea, the sources said.
6

7           236. Defendant Samsung SDI Co., Ltd. was raided by South Korea’s Fair Trade

8    Commission, which has started an investigation into Samsung’s CRT business.

9           237. The Asian Shimbun further reported on November 10, 2007 that “[t]he

10   representatives held meetings in Southeast Asia where the companies operate CRT factories, the

11   sources said. The European Commission, the European Union’s executive branch, and the U.S.

12   Justice Department have been investigating four companies’ [referring to the four Asian-based

13   manufacturers—MT Picture Display, Samsung SDI Co., Chunghwa Picture Tubes, LP Displays]

14   overseas units and are closely consulting with the Fair Trade Commission by sharing

15   information.”

16          238. On November 21, 2007, Defendant Royal Philips publicly disclosed that it too is

17   subject to one or more investigations into anticompetitive conduct in the CRT industry. Royal

18   Philips spokesman Joon Knapen declined to comment on which jurisdictions have started

19   investigations. Royal Philips stated that it intended to assist the regulators.

20          239. In its 2008 Annual Report, Defendant Toshiba reports that “[t]he Group is also

21   being investigated by the [European] Commission and/or the U.S. Department of Justice for

22   potential violations of competition laws with respect to semiconductors, LCD products, cathode

23   ray tubes (CRT) and heavy electrical equipment.”

24          240. On December 5, 2012, the European Commission adopted a decision relating to

25   infringements of Article 101 of the Treaty on the Functioning of the European Union and Article

26   53 of the EEA Agreement in the sector of CRTs, in which it found collusion on prices, market

27   shares, customers and output as well as the exchange of confidential information and monitoring

28   implementation of the collusive agreements. The infringements involved two types of CRTs:

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1    CDTs used in computer monitors, during the period at least from October 1996 until March

2    2006, and color picture tubes (“CPTs”) used in color televisions during the period at least from

3    December 1997 until November 2006. The European Commission imposed fines in the

4    following total amounts against Defendants and co-conspirators responsible for the

5    infringements: Chunghwa Entities (€ 0 due to leniency for being the first to reveal the existence

6    of the conspiracy); Samsung SDI (€ 150,842,000); Philips Entities (€ 313, 356,000); LG

7    Electronics (€ 295,597,000); Philips and LG Electronics, jointly and severally liable (€

8    391,940,000); Technicolor (€ 38,631,000); Panasonic (€ 157,478,000); Toshiba (€ 28,048,000);

9    Panasonic, Toshiba, and MT Picture Dispute Co., jointly and severally liable (€ 86,738,000); and

10   Panasonic and MT Picture Display Co., jointly and severally liable (€ 7,885,000).

11          241. On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its

12   own investigation into the CRT cartel. The HCA described the cartel as follows:

13                  The Hungarian Competition Authority (Gazdasági Versenyhivatal
                    – GVH) initiated a competition supervision proceeding against the
14                  following undertakings: Samsung SDI Co., Ltd., Samsung SDI
                    Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
15
                    sp. Z.o.o., LG Philips Displays Czech Republic s.r.o., LP Displays,
16                  Chunghwa Picture Tubes (UK), Ltd., Chunghwa Picture Tubes,
                    Ltd., Daewoo Orion S.A., Daewoo Electronics Global HQ,
17                  Daewoo Electronics European HQ, MT Picture Display Germany
                    Gmbh, Matsushita Global HQ, Matsushita European HQ.
18
                    Based on the data available, the undertakings mentioned above
19
                    concerted their practice regarding the manufacturing and
20                  distribution of cathode-ray tubes (including coloured picture tubes
                    and coloured screen tubes) on the European market between 1995
21                  and 2007. The anti-competitive behaviour may have concerned the
                    exchange of sensitive market information (about prices, volumes
22                  sold, demand and the extent to which capacities were exploited),
                    price-fixing, the allocation of market shares, consumers and
23
                    volumes to be sold, the limitation of output and coordination
24                  concerning the production. The undertakings evolved a structural
                    system and functional mechanism of cooperation.
25
                    According to the available evidences it is presumable that the
26                  coordination of European and Asian undertakings regarding to the
27                  European market also included Hungary from 1995 to 2007. The
                    coordination concerning the Hungarian market allegedly formed
28                  part of the European coordination. Samsung SDI Magyarország

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1                   was called into the proceeding since it manufactured and sold
                    cathode-ray tubes in Hungary in the examined period, and it
2                   allegedly participated in the coordination between its parent
                    companies.
3

4           242. As outlined above, Defendants have a history of competitor contacts resulting from

5    joint ventures, numerous cross-licensing agreements, and other alliances in related businesses in

6    the electronics industry.

7           243. Several Defendants also have a history of “cooperation” and anticompetitive

8    conduct. For example, Defendant Samsung was fined $300 million by the U.S. Department of

9    Justice in October 2005 for participating in a conspiracy to fix the prices of Dynamic Random

10   Access Memory (DRAM).

11          244. Defendants Samsung and Toshiba have acknowledged being contacted by the U.S.

12   Department of Justice as part of an ongoing investigation for fixing prices of Static Random

13   Access Memory and NAND Flash Memory.

14          245. In December 2006, government authorities in Japan, Korea, the European Union

15   and the United States revealed a comprehensive investigation into anticompetitive conduct in the

16   closely-related TFT-LCD market.

17          246. On December 12, 2006, news reports indicated that Defendants Samsung and

18   Chunghwa, as well as an LCD joint venture between Defendants Philips and LG Electronics, Inc,

19   LG Display Co., Ltd., were all under investigation for price fixing of TFT-LCDs.

20          247. On November 12, 2008, the DOJ announced that it had reached agreements with

21   three TFT-LCD manufacturers—LG Display Co., Ltd. (and its U.S. subsidiary, LG Display

22   America, Inc.), Sharp Corporation, and Defendant Chunghwa Picture Tubes, Ltd.—to plead

23   guilty to violations of Section 1 of the Sherman Act, 15 U.S.C. § 1, and pay a total of $585

24   million in criminal fines for their roles in a conspiracy to fix prices of TFT-LCD panels.

25          248. On March 10, 2009, the DOJ announced that it had reached an agreement with

26   Defendant Hitachi Displays, Ltd., a subsidiary of Defendant Hitachi, Ltd., to plead guilty to

27   violations of Section 1 of the Sherman Act, 15 U.S.C. § 1, and pay a $31 million fine for its role

28   in a conspiracy to fix the prices of TFT-LCD panels.

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1           249. The indictments of LG Display Co., Ltd., Sharp Corporation, Chunghwa Picture

2    Tubes, Ltd. and Hitachi Displays, Ltd., all state that the combination and conspiracy to fix the

3    prices of TFT-LCDs was carried out, in part, in the Northern District of California.

4               IX. THE PASS-THROUGH OF OVERCHARGES TO CONSUMERS

5           250. Defendants’ conspiracy to fix, raise, maintain and stabilize the price of CRT
6    Products at artificial levels resulted in harm to Plaintiffs and the indirect purchaser consumer
7    classes alleged herein because it resulted in their paying higher prices for CRT Products than
8    they would have paid in the absence of Defendants’ conspiracy. The entire overcharge at issue
9    was passed on to Plaintiffs and members of the indirect purchaser classes. As the DOJ
10   acknowledged in announcing the indictment of defendant Chunghwa’s former Chairman and
11   CEO, “This conspiracy harmed countless Americans who purchased computers and televisions
12   using cathode ray tubes sold at fixed prices.”
13          251. The Defendants identified above that attended the Glass Meetings, monitored the
14   prices of televisions and computer monitors sold in the U.S. and elsewhere on a regular basis.
15   The purpose and effect of investigating such retail market data was at least three fold. First, it
16   permitted Defendants, such as Chunghwa, which did not manufacture CRT televisions or
17   computer monitors the way that Samsung, LG, Daewoo, Panasonic, Toshiba, Philips, Hitachi,
18   Thomson and Mitsubishi did, to police the price fixing agreement to make sure that intra-
19   defendant CRT sales were kept at supra-competitive levels. Secondly, it permitted all Defendants
20   to police their price fixing agreement to independent OEMs who would reduce prices for
21   finished goods if there was a corresponding reduction in CRT prices from a Defendant. Finally,
22   as discussed above, Defendants used the prices of finished products to analyze whether they
23   could increase prices or should agree to a “bottom” price instead. The Defendants concluded that
24   in order to make their CRT price increases stick, they needed to make the increase high enough
25   that their direct customers (CRT TV and monitor makers) would be able to justify a
26   corresponding price increase to their customers (for e.g., retailers and computer OEMs). In this
27   way, Defendants assured that 100% of the supracompetitive overcharges for CRT Products were
28   passed on to indirect purchaser consumers.
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1            252. The indirect purchaser consumer buys CRT Products from either a computer or TV

2    OEM such as Dell or Sharp, or a reseller such as Best Buy.

3            253. Because of the breadth of the price-fixing conspiracy here, the direct purchaser

4    CRT TV and monitor manufacturers were not constrained by their competitors from passing on

5    the overcharge. Because each of the direct purchaser’s competitors were also buying CRTs at

6    supracompetitive prices from conspiracy members, no direct purchaser faced end-product price

7    competition from a competitor that was not paying supracompetitive prices for CRTs.

8            254. The price of CRT Products is directly correlated to the price of CRTs. The margins

9    for CRT TV and monitor makers are sufficiently thin that price increases of CRTs force them to

10   increase the prices of their CRT Products. This means that increases in the price of CRTs lead to

11   quick corresponding price increases at the OEM level for CRT Products.

12           255. Computer and TV OEMs and retailers of CRT Products are all subject to vigorous

13   price competition, whether selling CRT TVs or computer monitors. The demand for CRTs is

14   ultimately determined by purchasers of products containing such products. The market for CRTs

15   and the market for CRT Products are therefore inextricably linked and cannot be considered

16   separately. Defendants are well aware of this intimate relationship, and use forecasts of CRT

17   TVs and computer monitors to predict sales of and determine production levels and pricing for

18   CRTs.

19           256. Computers and televisions are commodities with little or no brand loyalty such that

20   aggressive pricing causes consumers to switch preferences to different brands. Prices are closely

21   based on production costs, which are in turn directly determined by component costs, as

22   assembly costs are minimal. OEMs accordingly use component costs, like the cost of CRTs, as

23   the starting point for all price calculations. On information and belief, computer and TV OEMs

24   price their end-products on a “cost-plus” basis. Thus, computer and television prices closely

25   track increases and decreases in component costs.

26           257. The CRT is the most expensive component in the products into which they are

27   incorporated. On information and belief, the cost of the CRT in a computer monitor is

28   approximately 60% of the total cost to manufacture the computer monitor. On information and
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1    belief, the cost of the CRT in a television is a slightly smaller percentage of the total

2    manufacturing cost because a television has more components than a computer monitor, such as

3    the tuner and speakers.

4              258. Economic and legal literature recognizes that the more pricing decisions are based

5    on cost, the easier it is to determine the pass-through rate. The directness of affected costs refers

6    to whether an overcharge affects a direct (i.e., variable) cost or an indirect (i.e., overhead) cost.

7    Overcharges will be passed through sooner and at a higher rate if the overcharges affect direct

8    costs. Here, CRTs are a direct and substantial cost of CRT Products. Therefore, Plaintiffs will be

9    able to show that the overcharge on the CRTs was passed through to indirect purchasers.

10             259. Once a CRT leaves its place of manufacture, it remains essentially unchanged as it

11   moves through the distribution system. CRTs are identifiable, discreet, physical objects that do

12   not change form or become an indistinguishable part of the TV or computer monitor in which

13   they are contained. Thus, CRTs follow a traceable physical chain from the Defendants to the

14   OEMs to the purchasers of finished products incorporating CRTs.

15             260. Moreover, just as CRTs can be physically traced through the supply chain, so can

16   their price by traced to show that changes in the prices paid by direct purchasers of CRTs affect

17   prices paid by indirect purchasers of CRT Products. On information and belief, computer and TV

18   OEMs price their end-products on a “cost-plus” basis.

19             261. In retailing, it is common to use a “mark-up rule.” The retail price is set as the

20   wholesale cost plus a percentage markup designed to recover non-product costs and to provide a

21   profit. This system guarantees that increases in costs to the retailer will be passed on to end

22   buyers. For example, CDW, a large seller of CRT monitors, uses such a system. A declaration in

23   the DRAM case from CDW’s director of pricing details exactly how they calculated selling

24   prices:

25                    In general, CDW employs a “building block” approach to setting
                      its advertised prices. The first building block is the Cost of Goods
26                    Sold (COGS), which represents the price CDW paid to acquire the
                      product…CDW…adds a series of positive markups to the cost to
27
                      CDW to acquire a given product. These markups are in addition to
28
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1                   the pass through effect of changes in the costs charged to CDW for
                    that product by a given vendor.
2
            262. Economic and legal literature has recognized that unlawful overcharges in a
3
     component normally result in higher prices for products containing that price-fixed component.
4
     As Professor Herbert Hovenkamp, a noted antitrust scholar, has stated in his treatise, FEDERAL
5
     ANTITRUST POLICY, THE LAW OF COMPETITION AND ITS PRACTICE (1994) at 624:
6
                    A monopoly charge at the top of the distribution chain generally
7                   results in higher prices at every level below. For example, if
8                   production of aluminum is monopolized or cartelized, fabricators
                    of aluminum cookware will pay higher prices for aluminum. In
9                   most cases they will absorb part of these increased costs
                    themselves and will pass part along to cookware wholesalers. The
10                  wholesalers will charge higher prices to the retail stores, and the
                    stores will do it once again to retail consumers. Every person at
11                  every stage in the chain will be poorer as a result of the monopoly
12                  price at the top.

13                  Theoretically, one can calculate the percentage of any overcharge
                    that a firm at one distributional level will pass on to those at the
14                  next level.
15          263. Similarly, two other antitrust scholars—Professors Robert G. Harris (Professor
16   Emeritus and former Chair of the Business and Public Policy Group at the Hass School of
17   Business at the University of California at Berkeley) and the late Lawrence A. Sullivan
18   (Professor of Law Emeritus at Southwestern School of Law and author of the Handbook of the
19   Law of Antitrust)—have observed that “in a multiple-level chain of distribution, passing on
20   monopoly overcharges is not the exception; it is the rule.”
21          264. As Professor Jeffrey McKie-Mason (Arthur W. Burks Professor for Information
22   and Computer Science, Professor of Economics and Public Policy, and Associate Dean for
23   Academic Affairs in the School of Information at the University of Michigan), an expert who
24   presented evidence in a number of the indirect purchaser cases involving Microsoft Corporation,
25   said (in a passage quoted in a judicial decision in that case granting class certification):
26                  As is well known in economic theory and practice, at least some of
                    the overcharge will be passed on by distributors to end consumers.
27
                    When the distribution markets are highly competitive, as they are
28                  here, all or nearly the entire overcharge will be passed on through

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1                   to ultimate consumers…. Both of Microsoft’s experts also agree
                    upon the economic phenomenon of cost pass through and how it
2                   works in competitive markets. This general phenomenon of cost
                    pass through is well established in antitrust laws and economics as
3
                    well.
4
             265. The purpose of Defendants’ conspiratorial conduct was to fix, raise, maintain and
5
     stabilize the price of CRTs and, as a direct and foreseeable result, CRT Products. The market for
6
     CRTs and the market for CRT Products are inextricably linked. One exists to serve the other.
7
     Defendants not only knew, but expressly contemplated that prices of CRT Products would
8
     increase as a direct result of their increasing the prices of CRTs.
9
             266. Finally, many of the Defendants and/or co-conspirators themselves have been and
10
     are currently manufacturers of CRT TVs and computer monitors. Such manufacturers include,
11
     for example, Samsung, LG, Hitachi, Toshiba, Philips, and Panasonic. Having agreed to fix prices
12
     for CRTs, the major component of the end products they were manufacturing, these Defendants
13
     intended to pass on the full cost of this component in their finished products, and in fact did so.
14
             267. As a direct and proximate result of Defendants’ illegal conduct, Plaintiffs and other
15
     indirect purchasers have been forced to pay supra-competitive prices for CRT Products. These
16
     inflated prices have been passed on to them by direct purchaser manufacturers, distributors and
17
     retailers.
18
                                  X. CLASS ACTION ALLEGATIONS
19
             268. Plaintiffs bring this action individually and as a class action pursuant to the
20
     provisions of Rule 23 of the Federal Rules of Civil Procedure on behalf of all members of the
21
     following class (the “Nationwide Class”):
22
                    All persons and or entities who or which indirectly purchased in
23                  the United States for their own use and not for resale, CRT
                    Products manufactured and/or sold by the Defendants, or any
24                  subsidiary, affiliate, or co-conspirator thereof, at any time during
                    the period from at least March 1, 1995 through at least November
25
                    25, 2007. Specifically excluded from this Class are the Defendants;
26                  the officers, directors or employees of any Defendant; any entity in
                    which any Defendant has a controlling interest; and, any affiliate,
27                  legal representative, heir or assign of any Defendant. Also
                    excluded are named co-conspirators, any federal, state or local
28                  government entities, any judicial officer presiding over this action
                                                       61
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1                   and the members of his/her immediate family and judicial staff,
                    and any juror assigned to this action.
2
     This class is comprised of multiple subclasses, including an equitable relief subclass consisting
3
     of persons and/or entities which purchased CRT Products in the states of Alabama, Alaska,
4
     Colorado, Connecticut, Delaware, Georgia, Idaho, Illinois, Indiana, Kentucky, Louisiana,
5
     Maryland, New Jersey, Ohio, Oklahoma, Pennsylvania, Texas, Virginia, Washington, and
6
     Wyoming.
7
            269. Plaintiffs also bring this action on behalf of themselves and as a class action
8
     pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure and/or respective
9
     state statute(s), on behalf of all members of the following State classes or subclasses (collectively
10
     “Indirect Purchaser State Classes”): Arkansas, Arizona, California, District of Columbia, Florida,
11
     Hawaii, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,
12
     Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North
13
     Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West
14
     Virginia, and Wisconsin.
15
            270. Each of the Indirect Purchaser State Classes is defined as follows:
16
                    All persons and/or entities in Arkansas, Arizona, California,
17
                    District of Columbia, Florida, Iowa, Kansas, Maine,
18                  Massachusetts, Michigan, Minnesota, Mississippi, Montana, New
                    Hampshire, New Mexico, New York, North Carolina, North
19                  Dakota, Oregon, South Carolina, South Dakota, Tennessee, Utah,
                    Vermont, West Virginia, and Wisconsin who or which indirectly
20                  purchased for their own use and not for resale CRT Products
                    manufactured and/or sold by the Defendants or any subsidiary,
21
                    affiliate, or co-conspirator thereof, at any time during the period
22                  from at least March 1, 1995 through at least November 25, 2007.

23                  All persons and entities in Hawaii who or which indirectly
                    purchased for their own use and not for resale CRT Products
24                  manufactured and/or sold by one or more of the Defendants or any
                    parents, affiliates, subsidiaries, predecessors or successors in
25
                    interest or co-conspirators thereof, at any time from June 25, 2002
26                  through at least November 25, 2007.

27                  All persons in Missouri who indirectly purchased for their own use
                    and not for resale, and primarily for personal, family or household
28                  purposes, CRTs or CRT Products manufactured and/or sold by the
                                                     62
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1                   Defendants and any subsidiary, affiliate, or co-conspirator thereof
                    at any time during the period from at least March 1, 1995 through
2                   at least November 25, 2007.All persons and entities in Nebraska
                    who or which indirectly purchased for their own use and not for
3
                    resale CRT Products manufactured and/or sold by one or more of
4                   the Defendants or any parents, affiliates, subsidiaries, predecessors
                    or successors in interest or co-conspirators thereof, at any time
5                   from July 20, 2002 through at least November 25, 2007.
6                   All persons and entities in Nevada who or which indirectly
                    purchased for their own use and not for resale CRT Products
7
                    manufactured and/or sold by one or more of the Defendants or any
8                   parents, affiliates, subsidiaries, predecessors or successors in
                    interest or co-conspirator thereof at any time from February 4,
9                   1999 through at least November 25, 2007.
10                  All natural persons in Rhode Island who indirectly purchased for
11                  their own use and not for resale, and primarily for personal, family
                    or household purposes, CRTs or CRT Products manufactured
12                  and/or sold by the Defendants and any subsidiary, affiliate, or co-
                    conspirator thereof at any time during the period from at least
13                  March 1, 1995 through at least November 25, 2007.
14                  Specifically excluded from these Classes are the Defendants; the
15                  officers, directors or employees of any Defendant; any entity in
                    which any Defendant has a controlling interest; and, any affiliate,
16                  legal representative, heir or assign of any Defendant. Also
                    excluded are named co-conspirators, any federal, state or local
17                  government entities, any judicial officer presiding over this action
                    and the members of his/her immediate family and judicial staff,
18                  and any juror assigned to this action.
19
            271. This action has been brought and may properly be maintained as a class action
20
     pursuant to Rule 23 of the Federal Rules of Civil Procedure for the following reasons:
21
                    a.      The Classes are ascertainable and there is a well-defined community of
22
     interest among members of the Classes;
23
                    b.      Based upon the nature of trade and commerce involved and the number of
24
     indirect purchasers of CRT Products, Plaintiffs believe that the number of Class members is very
25
     large, and therefore joinder of all Class members is not practicable;
26
                    c.      Plaintiffs’ claims are typical of Class members’ claims because Plaintiffs
27
     indirectly purchased CRT Products manufactured by Defendants or their co-conspirators, and
28
                                                     63
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1    therefore Plaintiffs’ claims arise from the same common course of conduct giving rise to the

2    claims of the members of the Classes and the relief sought is common to the Classes;

3                   d.      The following common questions of law or fact, among others, exist as to

4    the members of the Classes:

5                              i.   Whether Defendants formed and operated a combination or

6    conspiracy to fix, raise, maintain, or stabilize the prices of CRT Products;

7                             ii.   Whether the combination or conspiracy caused CRT Product prices

8    to be higher than they would have been in the absence of Defendants’ conduct;

9                            iii.   The operative time period of Defendants’ combination or

10   conspiracy;

11                           iv.    Whether Defendants’ conduct caused injury to the business or

12   property of Plaintiffs and the members of the Classes;

13                            v.    The appropriate measure of the amount of damages suffered by the

14   Classes;

15                           vi.    Whether Defendants’ conduct violates Section 1 of the Sherman

16   Act (15 U.S.C. § 1) as alleged in the First Claim for Relief;

17                           vii.   Whether Defendants’ conduct violates the Indirect Purchaser

18   States’ antitrust laws as alleged in the Second Claim for Relief;

19                          viii.   Whether Defendants’ conduct violates the unfair competition and

20   consumer protection laws of the Consumer Protection States as alleged in the Third Claim for

21   Relief;

22                           ix.    The appropriate nature of class-wide equitable relief.

23                  e.      These and other questions of law and fact common to the members of the

24   Classes predominate over any questions affecting only individual members, including legal and

25   factual issues relating to liability and damages;

26                  f.      After determination of the predominant common issues identified above, if

27   necessary or appropriate, the Classes can be divided into logical and manageable subclasses;

28                  g.      Plaintiffs will fairly and adequately protect the interests of the Classes in
                                                         64
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1    that Plaintiffs have no interests that are antagonistic to other members of the Classes and have

2    retained counsel competent and experienced in the prosecution of class actions and antitrust

3    litigation to represent them and the Classes;

4                   h.      A class action is superior to other available methods for the fair and

5    efficient adjudication of this litigation since individual joinder of all damaged Class members is

6    impractical. The damages suffered by the individual Class members are relatively small, given

7    the expense and burden of individual prosecution of the claims asserted in this litigation. Thus,

8    absent the availability of class action procedures it would not be feasible for Class members to

9    redress the wrongs done to them. Even if the Class members could afford individual litigation,

10   the court system could not. Further, individual litigation presents the potential for inconsistent or

11   contradictory judgments and would greatly magnify the delay and expense to all parties and the

12   court system. Therefore, the class action device presents far fewer case management difficulties

13   and will provide the benefits of unitary adjudication, economy of scale and comprehensive

14   supervision in a single court;

15                  i.      Defendants have acted, and/or refused to act, on grounds generally

16   applicable to the Classes, thereby making appropriate final injunctive relief with respect to the

17   Classes as a whole; and

18                  j.      In the absence of a class action, Defendants would be unjustly enriched

19   because they would be able to retain the benefits and fruits of its wrongful conduct.

20                                    XI. VIOLATIONS ALLEGED

21          A.      First Claim for Relief: Violation of Section 1 of the Sherman Act
22          272. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
23   allegation set forth in the preceding paragraphs of this Complaint.
24          273. Beginning at a time unknown to Plaintiffs, but at least as early as March 1, 1995,
25   through at least November 25, 2007, the exact dates being unknown to Plaintiffs and exclusively
26   within the knowledge of Defendants, Defendants and their co-conspirators, entered into a
27   continuing agreement, understanding, and conspiracy to unreasonably restrain trade and
28   commerce in the United States, in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.
                                                      65
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1           274. In particular, Defendants have combined and conspired to fix, raise, maintain or

2    stabilize the prices of CRT Products sold in the United States.

3           275. Defendants, by their unlawful conspiracy, artificially raised, inflated and

4    maintained the market prices of CRT Products as herein alleged.

5           276. The contract, combination or conspiracy consisted of a continuing agreement,

6    understanding and concert of action among Defendants and their co-conspirators, the substantial

7    terms of which were to fix, raise, maintain and stabilize the prices of CRT Products they sold in

8    the United States and elsewhere.

9           277. In formulating and carrying out the alleged agreement, understanding, and

10   conspiracy, the Defendants and their co-conspirators did those things that they combined and

11   conspired to do, including, but not limited to the acts, practices, and course of conduct set forth

12   above, and the following, among others:

13                   a. Participated in meetings and conversations to discuss the prices and supply of

14                      CRT Products in the United States and elsewhere;

15                   b. Agreed to manipulate prices and limit supply of CRT Products sold in the

16                      United States and elsewhere in a manner that deprived direct and indirect

17                      purchasers of CRT Products of free and open competition;

18                   c. Issued price announcements and price quotations in accordance with the

19                      agreements reached;

20                   d. Sold CRT Products to customers in the United States at non-competitive

21                      prices; and

22                   e. Invoiced customers in the United States at the agreed-upon, fixed prices for

23                      CRT Products and transmitting such invoices via U.S. mail and other

24                      interstate means of delivery.

25          278. The combination and conspiracy alleged herein has had the following effects,

26   among others:

27                   a. Price competition in the sale of CRT Products has been restrained, suppressed

28                      and/or eliminated in the United States;
                                                        66
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1                   b. Prices for CRT Products sold by Defendants and their co-conspirators have

2                       been fixed, raised, maintained and stabilized at artificially high, non-

3                       competitive levels throughout the United States; and

4                   c. Those who purchased CRT Products directly or indirectly from Defendants

5                       have been deprived the benefits of free and open competition.

6           279. As a direct result of the unlawful conduct of Defendants and their co-conspirators

7    in furtherance of their continuing contract, combination or conspiracy, Plaintiffs and the

8    members of the Nationwide Class have been injured and will continue to be injured in their

9    business and property by paying more for CRT Products purchased indirectly from the

10   Defendants and their co-conspirators than they would have paid and will pay in the absence of

11   the combination and conspiracy.

12          280. These violations are continuing and will continue unless enjoined by this Court.

13          281. Pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26, Plaintiffs and the

14   Nationwide Class seek the issuance of an injunction against Defendants, preventing and

15   restraining the violations alleged herein.

16          B.      Second Claim for Relief: Violation of State Antitrust Statutes

17          282. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
18   allegation set forth in the preceding paragraphs of this Complaint.
19          283. Plaintiff Brian Luscher (“Arizona Plaintiff”) incorporates and realleges each and
20   every allegation set forth in the preceding paragraphs of this Complaint and further alleges as
21   follows:
22                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by
23                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-
24                      competitive levels, the prices at which CRT Products were sold, distributed or
25                      obtained in Arizona.
26                  b. Defendants’ combinations or conspiracies had the following effects: (1)CRT
27                      Product price competition was restrained, suppressed, and eliminated
28                      throughout Arizona; (2) CRT Product prices were raised, fixed, maintained,
                                                      67
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1                       and stabilized at artificially high levels throughout Arizona; (3) the Arizona

2                       Plaintiff and members of the Arizona Indirect Purchaser Class paid

3                       supracompetitive, artificially inflated prices for CRT Products.

4                   c. During the Class Period, Defendants’ illegal conduct substantially affected

5                       Arizona commerce.

6                   d. As a direct and proximate result of Defendants’ unlawful conduct, the Arizona

7                       Plaintiff and members of the Arizona Indirect Purchaser Class have been

8                       injured in their business and property and are threatened with further injury.

9                   e. By reason of the foregoing, Defendants have entered into agreements in

10                      restraint of trade in violation of Ariz. Rev. Stat. §§44-1401, et seq. 1

11                  f. Accordingly, the Arizona Plaintiff and the members of the Arizona Indirect

12                      Purchaser Class seek all forms of relief available under Ariz. Rev. Stat. §§ 44-

13                      1401, et seq.

14           284. Plaintiffs Jeffrey Figone, Carmen Gonzalez, Dana Ross, and Steven Ganz

15   (“California Plaintiffs”) incorporate and reallege each and every allegation set forth in the

16   preceding paragraphs of this Complaint and further alleges as follows:

17                  a. Beginning at a time presently unknown to Plaintiffs, but at least as early as

18                      March 1, 1995, and continuing thereafter at least up to and including

19                      November 25, 2007, Defendants and their co-conspirators entered into and

20                      engaged in a continuing unlawful trust in restraint of the trade and commerce

21                      described above in violation of Section 16720, California Business and

22                      Professional Code. Defendants, and each of them, have acted in violation of

23                      Section 16720 to fix, raise, stabilize and maintain prices of CRT Products at

24                      supra-competitive levels.

25                  b. The aforesaid violations of Section 16720, California Business and

26

27   1
      In compliance with Arizona’s Antitrust Act, Ariz. Rev. Stat. § 44-1415, Plaintiffs mailed a
     copy of the Second Consolidated Amended Complaint to the Arizona Attorney General on May
28   10, 2010.
                                                   68
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1                       Professions Code, consisted, without limitation, of a continuing unlawful trust

2                       and concert of action among the Defendants and their co-conspirators, the

3                       substantial terms of which were to fix, raise, maintain and stabilize the prices

4                       of, and to allocate markets for CRT Products.

5                   c. For the purpose of forming and effectuating the unlawful trust, the defendants

6                       and their co-conspirators have done those things which they combined and

7                       conspired to do, including but in no way limited to the acts, practices, and

8                       course of conduct set forth above and the following: (1) fixing, raising,

9                       stabilizing and/or maintaining the price of CRT Products; and (2) allocating

10                      among themselves the production of CRT Products.

11                  d. The combination and conspiracy alleged herein has had, inter alia, the

12                      following effects: (1) price competition in the sale of CRT Products has been

13                      restrained, suppressed and/or eliminated in the State of California; (2) prices

14                      for CRT Products sold by Defendants and their co-conspirators have been

15                      fixed, raised, maintained and stabilized at artificially high, non-competitive

16                      levels in the State of California; and (3) those who purchased CRT Products

17                      directly or indirectly from Defendants and their co-conspirators have been

18                      deprived of the benefit of free and open competition.

19                  e. As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs

20                      and the members of the California Class have been injured in their business

21                      and property in that they paid more for CRT Products than they otherwise

22                      would have paid in the absence of Defendants’ unlawful conduct. As a result

23                      of Defendants' violation of Section 16720 et seq. of the California Business

24                      and Professions Code, Plaintiffs seek treble damages and the costs of suit,

25                      including reasonable attorneys' fees, pursuant to Section 16750(a) of the

26                      California Business and Professions Code.

27          285. Plaintiff Law Suites. (“DC Plaintiff”) incorporates and realleges each and every

28   allegation set forth in the preceding paragraphs of this Complaint and further alleges as follows:
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1                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

2                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

3                       competitive levels, the prices at which CRT Products were sold, distributed or

4                       obtained in the District of Columbia.

5                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

6                       Product price competition was restrained, suppressed, and eliminated

7                       throughout the District of Columbia; (2) CRT Product prices were raised,

8                       fixed, maintained, and stabilized at artificially high levels throughout the

9                       District of Columbia; (3) the DC Plaintiff and members of the District of

10                      Columbia Indirect Purchaser Class paid supracompetitive, artificially inflated

11                      prices for CRT Products.

12                  c. During the Class Period, Defendants’ illegal conduct substantially affected

13                      District of Columbia commerce.

14                  d. As a direct and proximate result of Defendants’ unlawful conduct, the DC

15                      Plaintiff and members of the District of Columbia Indirect Purchaser Class

16                      have been injured in their business and property and are threatened with

17                      further injury.

18                  e. By reason of the foregoing, Defendants have entered into agreements in

19                      restraint of trade in violation of District of Columbia Code Ann. §§ 28-4501,

20                      et seq. Accordingly, the DC Plaintiff and the members of the District of

21                      Columbia Indirect Purchaser Class seek all forms of relief available under

22                      District of Columbia Code Ann. §§ 28-4501, et seq.

23          286. Plaintiff Daniel Riebow (“Hawaii Plaintiff”) incorporates and realleges each and

24   every allegation set forth in the preceding paragraphs of this Complaint and further alleges as

25   follows:

26                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

27                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

28                      competitive levels, the prices at which CRT Products were sold, distributed or
                                                      70
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1                       obtained in Hawaii.

2                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

3                       Product price competition was restrained, suppressed, and eliminated

4                       throughout Hawaii; (2) CRT Product prices were raised, fixed, maintained,

5                       and stabilized at artificially high levels throughout Hawaii; (3) the Hawaii

6                       Plaintiff and members of the Hawaii Indirect Purchaser Class paid

7                       supracompetitive, artificially inflated prices for CRT Products.

8                   c. During the Class Period, Defendants’ illegal conduct substantially affected

9                       Hawaii commerce.

10                  d. As a direct and proximate result of Defendants’ unlawful conduct, the Hawaii

11                      Plaintiff and members of the Hawaii Indirect Purchaser Class have been

12                      injured in their business and property and are threatened with further injury.

13                  e. By reason of the foregoing, Defendants have entered into agreements in

14                      restraint of trade in violation of Hawaii Code, H.R.S. § 480-4. 2 Accordingly,

15                      the Hawaii Plaintiff and the members of the Hawaii Indirect Purchaser Class

16                      seek all forms of relief available under Hawaii Code, H.R.S. § 480-1 et seq.

17           287. Plaintiff Travis Burau (“Iowa Plaintiff”) incorporates and realleges each and every

18   allegation set forth in the preceding paragraphs of this Complaint and further alleges as follows:

19                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

20                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

21                      competitive levels, the prices at which CRT Products were sold, distributed or

22                      obtained in Iowa.

23                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

24                      Product price competition was restrained, suppressed, and eliminated

25                      throughout Iowa; (2) CRT Product prices were raised, fixed, maintained, and

26

27
     2
       On May 10, 2010, in compliance with Hawaii Rev. Stat. § 480-13.3, Plaintiffs served a copy of
28   the Second Consolidated Amended Complaint on the Hawaii Attorney General.
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1                       stabilized at artificially high levels throughout Iowa; (3) the Iowa Plaintiff and

2                       members of the Iowa Indirect Purchaser Class paid supracompetitive,

3                       artificially inflated prices for CRT Products.

4                   c. During the Class Period, Defendants’ illegal conduct substantially affected

5                       Iowa commerce.

6                   d. As a direct and proximate result of Defendants’ unlawful conduct, the Iowa

7                       Plaintiff and members of the Iowa Indirect Purchaser Class have been injured

8                       in their business and property and are threatened with further injury.

9                   e. By reason of the foregoing, Defendants have entered into agreements in

10                      restraint of trade in violation of Iowa Code §§ 553.1 et seq. Accordingly, the

11                      Iowa Plaintiff and the members of the Iowa Indirect Purchaser Class seek all

12                      forms of relief available under Iowa Code §§ 553.1.

13          288. Plaintiff Southern Office Supply, Inc. (“Kansas Plaintiff”) incorporates and

14   realleges each and every allegation set forth in the preceding paragraphs of this Complaint and

15   further alleges as follows:

16                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

17                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

18                      competitive levels, the prices at which CRT Products were sold, distributed or

19                      obtained in Kansas.

20                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

21                      Product price competition was restrained, suppressed, and eliminated

22                      throughout Kansas; (2) CRT Product prices were raised, fixed, maintained,

23                      and stabilized at artificially high levels throughout Kansas; (3) the Kansas

24                      Plaintiff and members of the Kansas Indirect Purchaser Class paid

25                      supracompetitive, artificially inflated prices for CRT Products.

26                  c. During the Class Period, Defendants’ illegal conduct substantially affected

27                      Kansas commerce.

28                  d. As a direct and proximate result of Defendants’ unlawful conduct, the Kansas
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1                       Plaintiff and members of the Kansas Indirect Purchaser Class have been

2                       injured in their business and property and are threatened with further injury.

3                   e. By reason of the foregoing, Defendants have entered into agreements in

4                       restraint of trade in violation of Kansas Stat. Ann. §§50-101 et seq.

5                       Accordingly, the Kansas Plaintiff and the members of the Kansas Indirect

6                       Purchaser Class seek all forms of relief available under Kansas Stat. Ann.

7                       §§50-101 et seq.

8           289. Plaintiff Kerry Lee Hall (“Maine Plaintiff”) incorporates and realleges each and

9    every allegation set forth in the preceding paragraphs of this Complaint and further alleges as

10   follows:

11                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

12                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

13                      competitive levels, the prices at which CRT Products were sold, distributed or

14                      obtained in Maine.

15                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

16                      Product price competition was restrained, suppressed, and eliminated

17                      throughout Maine; (2) CRT Product prices were raised, fixed, maintained, and

18                      stabilized at artificially high levels throughout Maine; (3) the Maine Plaintiff

19                      and members of the Maine Indirect Purchaser Class paid supracompetitive,

20                      artificially inflated prices for CRT Products.

21                  c. During the Class Period, Defendants’ illegal conduct substantially affected

22                      Maine commerce.

23                  d. As a direct and proximate result of Defendants’ unlawful conduct, the Maine

24                      Plaintiff and members of the Maine Indirect Purchaser Class have been

25                      injured in their business and property and are threatened with further injury.

26                  e. By reason of the foregoing, Defendants have entered into agreements in

27                      restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§1101 et seq.

28                      Accordingly, Plaintiffs and the members of the Maine Indirect Purchaser
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1                       Class seek all forms of relief available under Maine Rev. Stat. Ann. 10,

2                       §§1101 et seq.

3           290. Plaintiff Lisa Reynolds (“Michigan Plaintiff”) incorporates and realleges each and

4    every allegation set forth in the preceding paragraphs of this Complaint and further alleges as

5    follows:

6                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

7                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

8                       competitive levels, the prices at which CRT Products were sold, distributed or

9                       obtained in Michigan.

10                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

11                      Product price competition was restrained, suppressed, and eliminated

12                      throughout Michigan; (2) CRT Product prices were raised, fixed, maintained,

13                      and stabilized at artificially high levels throughout Michigan; (3) the Michigan

14                      Plaintiff and members of the Michigan Indirect Purchaser Class paid

15                      supracompetitive, artificially inflated prices for CRT Products.

16                  c. During the Class Period, Defendants’ illegal conduct substantially affected

17                      Michigan commerce.

18                  d. As a direct and proximate result of Defendants’ unlawful conduct, the

19                      Michigan Plaintiff and members of the Michigan Indirect Purchaser Class

20                      have been injured in their business and property and are threatened with

21                      further injury.

22                  e. By reason of the foregoing, Defendants have entered into agreements in

23                      restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.771 et

24                      seq. Accordingly, the Michigan Plaintiff and the members of the Michigan

25                      Indirect Purchaser Class seek all forms of relief available under Michigan

26                      Comp. Laws Ann. §§ 445.771 et seq.

27          291. Plaintiffs David Norby, Barry Kushner and Ryan Rizzo (“Minnesota Plaintiffs”)

28   incorporate and reallege each and every allegation set forth in the preceding paragraphs of this
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1    Complaint and further allege as follows:

2                   a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

3                        affecting, fixing, controlling and/or maintaining, at artificial and/or non-

4                        competitive levels, the prices at which CRT Products were sold, distributed or

5                        obtained in Minnesota.

6                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

7                        Product price competition was restrained, suppressed, and eliminated

8                        throughout Minnesota; (2) CRT Product prices were raised, fixed, maintained,

9                        and stabilized at artificially high levels throughout Minnesota; (3) the

10                       Minnesota Plaintiffs and members of the Minnesota Indirect Purchaser Class

11                       paid supracompetitive, artificially inflated prices for CRT Products.

12                  c. During the Class Period, Defendants’ illegal conduct substantially affected

13                       Minnesota commerce.

14                  d. As a direct and proximate result of Defendants’ unlawful conduct, the

15                       Minnesota Plaintiffs and members of the Minnesota Indirect Purchaser Class

16                       have been injured in their business and property and are threatened with

17                       further injury.

18                  e. By reason of the foregoing, Defendants have entered into agreements in

19                       restraint of trade in violation of Minnesota Stat. §§ 325D.50 et seq.

20                       Accordingly, the Minnesota Plaintiffs and the members of the Minnesota

21                       Indirect Purchaser Class seek all forms of relief available under Minnesota

22                       Stat. §§ 325D.50 et seq.

23          292. Plaintiff Charles Jenkins (“Mississippi Plaintiff”) incorporates and realleges each

24   and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

25   as follows:

26                  a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

27                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

28                       competitive levels, the prices at which CRT Products were sold, distributed or
                                                       75
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1                        obtained in Mississippi.

2                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

3                        Product price competition was restrained, suppressed, and eliminated

4                        throughout Mississippi; (2) CRT Product prices were raised, fixed,

5                        maintained, and stabilized at artificially high levels throughout Mississippi;

6                        (3) the Mississippi Plaintiff and members of the Mississippi Indirect Purchaser

7                        Class paid supracompetitive, artificially inflated prices for CRT Products.

8                   c. During the Class Period, Defendants’ illegal conduct substantially affected

9                        Mississippi commerce.

10                  d. As a direct and proximate result of Defendants’ unlawful conduct, the

11                       Mississippi Plaintiff and members of the Mississippi Indirect Purchaser Class

12                       have been injured in their business and property and are threatened with

13                       further injury.

14                  e. By reason of the foregoing, Defendants have entered into agreements in

15                       restraint of trade in violation of Mississippi Code Ann. § 75-21-1 et seq.

16                       Accordingly, the Minnesota Plaintiff and members of the Mississippi Indirect

17                       Purchase Class seek all forms of relief available under Mississippi Code Ann.

18                       § 75-21-1 et seq.

19          293. Plaintiffs Misti Walker and Steven Fink (“Nebraska Plaintiffs”) incorporate and

20   reallege each and every allegation set forth in the preceding paragraphs of this Complaint and

21   further allege as follows:

22                  a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

23                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

24                       competitive levels, the prices at which CRT Products were sold, distributed or

25                       obtained in Nebraska.

26                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

27                       Product price competition was restrained, suppressed, and eliminated

28                       throughout Nebraska; (2) CRT Product prices were raised, fixed, maintained,
                                                       76
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1                        and stabilized at artificially high levels throughout Nebraska; (3) the Nebraska

2                        Plaintiffs and members of the Nebraska Indirect Purchaser Class paid

3                        supracompetitive, artificially inflated prices for CRT Products.

4                   c. During the Class Period, Defendants’ illegal conduct substantially affected

5                        Nebraska commerce.

6                   d. As a direct and proximate result of Defendants’ unlawful conduct, the

7                        Nebraska Plaintiffs and members of the Nebraska Indirect Purchaser Class

8                        have been injured in their business and property and are threatened with

9                        further injury.

10                  e. By reason of the foregoing, Defendants have entered into agreements in

11                       restraint of trade in violation of Nebraska Rev. Stat. § 59-801 et seq.

12                       Accordingly, the Nebraska Plaintiffs and the members of the Nebraska

13                       Indirect Purchaser Class seek all forms of relief available under Nebraska

14                       Rev. Stat. § 59-801 et seq.

15          294. Plaintiff Gloria Comeaux (“Nevada Plaintiff”) incorporates and realleges each

16   and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

17   as follows:

18                  a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

19                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

20                       competitive levels, the prices at which CRT Products were sold, distributed or

21                       obtained in Nevada.

22                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

23                       Product price competition was restrained, suppressed, and eliminated

24                       throughout Nevada; (2) CRT Product prices were raised, fixed, maintained,

25                       and stabilized at artificially high levels throughout Nevada; (3) the Nevada

26                       Plaintiff and members of the Nevada Indirect Purchaser Class paid

27                       supracompetitive, artificially inflated prices for CRT Products.

28                  c. During the Class Period, Defendants’ illegal conduct substantially affected
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1                          Nevada commerce.

2                   d. As a direct and proximate result of Defendants’ unlawful conduct, the Nevada

3                          Plaintiff and members of the Nevada Indirect Purchaser Class have been

4                          injured in their business and property and are threatened with further injury.

5                   e. By reason of the foregoing, Defendants have entered into agreements in

6                          restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A et seq. 3

7                          Accordingly, the Nevada Plaintiff and the members of the Nevada Indirect

8                          Purchaser Class seek all forms of relief available under Nevada Rev. Stat.

9                          Ann. §§ 598A et seq.

10           295. Plaintiff Craig Stephenson (“New Mexico Plaintiff”) incorporates and realleges

11   each and every allegation set forth in the preceding paragraphs of this Complaint and further

12   alleges as follows:

13                  a.     Defendants agreed to, and did in fact, act in restraint of trade or commerce by

14                         affecting, fixing, controlling and/or maintaining, at artificial and/or non-

15                         competitive levels, the prices at which CRT Products were sold, distributed or

16                         obtained in New Mexico.

17                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

18                         Product price competition was restrained, suppressed, and eliminated

19                         throughout New Mexico; (2) CRT Product prices were raised, fixed,

20                         maintained, and stabilized at artificially high levels throughout New Mexico;

21                         (3) the New Mexico Plaintiff and members of the New Mexico Indirect

22                         Purchaser Class paid supracompetitive, artificially inflated prices for CRT

23                         Products.

24                  c. During the Class Period, Defendants’ illegal conduct substantially affected

25                         New Mexico commerce.

26

27   3
      In compliance with the Nevada Unfair Trade Practices Act, Nev. Rev. Stat. Ann. §
     598A.210(3), Plaintiffs served a copy of the Second Consolidated Amended Complaint on the
28   Nevada Attorney General on May 10, 2010.
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1                   d. As a direct and proximate result of Defendants’ unlawful conduct, the New

2                        Mexico Plaintiff and members of the New Mexico Indirect Purchaser Class

3                        have been injured in their business and property and are threatened with

4                        further injury.

5                   e. By reason of the foregoing, Defendants have entered into agreements in

6                        restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1 et seq.

7                        Accordingly, the New Mexico Plaintiff and the members of the New Mexico

8                        Indirect Purchaser Class seek all forms of relief available under New Mexico

9                        Stat. Ann. §§ 57-1-1 et seq.

10          296. Plaintiffs Conrad Carty, Janet Ackerman and Louise Wood (“New York

11   Plaintiffs”) incorporate and reallege each and every allegation set forth in the preceding

12   paragraphs of this Complaint and further allege as follows:

13                  a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

14                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

15                       competitive levels, the prices at which CRT Products were sold, distributed or

16                       obtained in New York.

17                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

18                       Product price competition was restrained, suppressed, and eliminated

19                       throughout New York; (2) CRT Product prices were raised, fixed, maintained,

20                       and stabilized at artificially high levels throughout New York; (3) the New

21                       York Plaintiffs and members of the New York Indirect Purchaser Class paid

22                       supracompetitive, artificially inflated prices for CRT Products.

23                  c. During the Class Period, Defendants’ illegal conduct substantially affected

24                       New York commerce.

25                  d. As a direct and proximate result of Defendants’ unlawful conduct, the New

26                       York Plaintiffs and members of the New York Indirect Purchaser Class have

27                       been injured in their business and property and are threatened with further

28                       injury.
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1                   e. By reason of the foregoing, Defendants have entered into agreements in

2                          restraint of trade in violation of New York General Business Law § 340 et

3                          seq. Accordingly, the New York Plaintiffs and the members of the New York

4                          Indirect Purchaser Class seek all forms of relief available under New York

5                          G.B.L. § 340 et seq. In accordance with New York G.B.L. § 340.5, the New

6                          York Plaintiffs served a copy of this Third Consolidated Amended Complaint

7                          on the New York Attorney General on December 10, 2010.

8           297. Plaintiff Patricia Andrews (“North Carolina Plaintiff”) incorporates and realleges

9    each and every allegation set forth in the preceding paragraphs of this Complaint and further

10   alleges as follows:

11                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

12                         affecting, fixing, controlling and/or maintaining, at artificial and/or non-

13                         competitive levels, the prices at which CRT Products were sold, distributed or

14                         obtained in North Carolina.

15                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

16                         Product price competition was restrained, suppressed, and eliminated

17                         throughout North Carolina; (2) CRT Product prices were raised, fixed,

18                         maintained, and stabilized at artificially high levels throughout North

19                         Carolina; (3) the North Carolina Plaintiff and members of the North Carolina

20                         Indirect Purchaser Class paid supracompetitive, artificially inflated prices for

21                         CRT Products.

22                  c. During the Class Period, Defendants’ illegal conduct substantially affected

23                         North Carolina commerce.

24                  d. As a direct and proximate result of Defendants’ unlawful conduct, the North

25                         Carolina Plaintiff and members of the North Carolina Indirect Purchaser Class

26                         have been injured in their business and property and are threatened with

27                         further injury.

28                  e. By reason of the foregoing, Defendants have entered into agreements in
                                                         80
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1                      restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1 et seq.

2                      Accordingly, the North Carolina Plaintiff and the members of the North

3                      Carolina Indirect Purchaser Class seek all forms of relief available under

4                      North Carolina Gen. Stat. §§ 75-1 et seq.

5           298. Plaintiff Gary Hanson (“North Dakota Plaintiff”) incorporates and realleges each

6    and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

7    as follows:

8                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

9                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

10                     competitive levels, the prices at which CRT Products were sold, distributed or

11                     obtained in North Dakota.

12                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

13                     Product price competition was restrained, suppressed, and eliminated

14                     throughout North Dakota; (2) CRT Product prices were raised, fixed,

15                     maintained, and stabilized at artificially high levels throughout North Dakota;

16                     (3) the North Dakota Plaintiff and members of the North Dakota Indirect

17                     Purchaser Class paid supracompetitive, artificially inflated prices for CRT

18                     Products.

19                  c. During the Class Period, Defendants’ illegal conduct substantially affected

20                     North Dakota commerce.

21                  d. As a direct and proximate result of Defendants’ unlawful conduct, the North

22                     Dakota Plaintiff and members of the North Dakota Indirect Purchaser Class

23                     have been injured in their business and property and are threatened with

24                     further injury.

25                  e. By reason of the foregoing, Defendants have entered into agreements in

26                     restraint of trade in violation of North Dakota Cent. Code §§ 51-08.1-01 et

27                     seq. Accordingly, the North Dakota Plaintiff and the members of the North

28                     Dakota Indirect Purchaser Class seek all forms of relief available under North
                                                     81
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1                       Dakota Cent. Code §§ 51-08.1-01 et seq.

2           299. Plaintiff Jeff Spaeact (“South Dakota Plaintiff”) incorporates and realleges each

3    and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

4    as follows:

5                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

6                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

7                       competitive levels, the prices at which CRT Products were sold, distributed or

8                       obtained in South Dakota.

9                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

10                      Product price competition was restrained, suppressed, and eliminated

11                      throughout South Dakota; (2) CRT Product prices were raised, fixed,

12                      maintained, and stabilized at artificially high levels throughout South Dakota;

13                      (3) the South Dakota Plaintiff and members of the South Dakota Indirect

14                      Purchaser Class paid supracompetitive, artificially inflated prices for CRT

15                      Products.

16                  c. During the Class Period, Defendants’ illegal conduct substantially affected

17                      South Dakota commerce.

18                  d. As a direct and proximate result of Defendants’ unlawful conduct, the South

19                      Dakota Plaintiff and members of the South Dakota Indirect Purchaser Class

20                      have been injured in their business and property and are threatened with

21                      further injury.

22                  e. By reason of the foregoing, Defendants have entered into agreements in

23                      restraint of trade in violation of South Dakota Codified Laws Ann. §§ 37-1 et

24                      seq. Accordingly, the South Dakota Plaintiff and the members of the South

25                      Dakota Indirect Purchaser Class seek all forms of relief available under South

26                      Dakota Codified Laws Ann. §§ 37-1 et seq.

27          300. Plaintiffs Frank Warner and Albert Sidney Crigler (“Tennessee Plaintiffs”)

28   incorporate and reallege each and every allegation set forth in the preceding paragraphs of this
                                                      82
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1    Complaint and further allege as follows:

2                   a.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by

3                        affecting, fixing, controlling and/or maintaining, at artificial and/or non-

4                        competitive levels, the prices at which CRT Products were sold, distributed or

5                        obtained in Tennessee.

6                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

7                        Product price competition was restrained, suppressed, and eliminated

8                        throughout Tennessee; (2) CRT Product prices were raised, fixed, maintained,

9                        and stabilized at artificially high levels throughout Tennessee; (3) the

10                       Tennessee Plaintiffs and members of the Tennessee Indirect Purchaser Class

11                       paid supracompetitive, artificially inflated prices for CRT Products.

12                  c. During the Class Period, Defendants’ illegal conduct substantially affected

13                       Tennessee commerce.

14                  d. As a direct and proximate result of Defendants’ unlawful conduct, the

15                       Tennessee Plaintiffs and members of the Tennessee Indirect Purchaser Class

16                       have been injured in their business and property and are threatened with

17                       further injury.

18                  e. By reason of the foregoing, Defendants have entered into agreements in

19                       restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101 et seq.

20                       Accordingly, the Tennessee Plaintiffs and the members of the Tennessee

21                       Indirect Purchaser Class seek all forms of relief available under Tennessee

22                       Code Ann. §§ 47-25-101 et seq.

23          301. Plaintiff Margaret Slagle (“Vermont Plaintiff”) incorporates and realleges each

24   and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

25   as follows:

26                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

27                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

28                       competitive levels, the prices at which CRT Products were sold, distributed or
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1                      obtained in Vermont.

2                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

3                      Product price competition was restrained, suppressed, and eliminated

4                      throughout Vermont; (2) CRT Product prices were raised, fixed, maintained,

5                      and stabilized at artificially high levels throughout Vermont; (3) the Vermont

6                      Plaintiff and members of the Vermont Indirect Purchaser Class paid

7                      supracompetitive, artificially inflated prices for CRT Products.

8                   c. During the Class Period, Defendants’ illegal conduct substantially affected

9                      Vermont commerce.

10                  d. As a direct and proximate result of Defendants’ unlawful conduct, the

11                     Vermont Plaintiff and members of the Vermont Indirect Purchaser Class have

12                     been injured in their business and property and are threatened with further

13                     injury.

14                  e. By reason of the foregoing, Defendants have entered into agreements in

15                     restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453 et seq.

16                     Accordingly, the Vermont Plaintiff and the members of the Vermont Indirect

17                     Purchaser Class seek all forms of relief available under Vermont Stat. Ann. 9

18                     §§ 2453 et seq.

19          302. Plaintiff John Larch (“West Virginia Plaintiff”) incorporates and realleges each

20   and every allegation set forth in the preceding paragraphs of this Complaint and further alleges

21   as follows:

22                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

23                     affecting, fixing, controlling and/or maintaining, at artificial and/or non-

24                     competitive levels, the prices at which CRT Products were sold, distributed or

25                     obtained in West Virginia.

26                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

27                     Product price competition was restrained, suppressed, and eliminated

28                     throughout West Virginia; (2) CRT Product prices were raised, fixed,
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1                       maintained, and stabilized at artificially high levels throughout West Virginia;

2                       (3) the West Virginia Plaintiff and members of the West Virginia Indirect

3                       Purchaser Class paid supracompetitive, artificially inflated prices for CRT

4                       Products.

5                   c. During the Class Period, Defendants’ illegal conduct substantially affected

6                       West Virginia commerce.

7                   d. As a direct and proximate result of Defendants’ unlawful conduct, the West

8                       Virginia Plaintiff and members of the West Virginia Indirect Purchaser Class

9                       have been injured in their business and property and are threatened with

10                      further injury.

11                  e. By reason of the foregoing, Defendants have entered into agreements in

12                      restraint of trade in violation of West Virginia Code §§ 47-18-1 et seq.

13                      Accordingly, the West Virginia Plaintiff and the members of the West

14                      Virginia Indirect Purchaser Class seek all forms of relief available under West

15                      Virginia Code §§ 47-18-1 et seq.

16          303. Plaintiff Brigid Terry (“Wisconsin Plaintiff”) incorporates and realleges each and

17   every allegation set forth in the preceding paragraphs of this Complaint and further alleges as

18   follows:

19                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

20                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

21                      competitive levels, the prices at which CRT Products were sold, distributed or

22                      obtained in Wisconsin.

23                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

24                      Product price competition was restrained, suppressed, and eliminated

25                      throughout Wisconsin; (2) CRT Product prices were raised, fixed, maintained,

26                      and stabilized at artificially high levels throughout Wisconsin; (3) the

27                      Wisconsin Plaintiff and members of the Wisconsin Indirect Purchaser Class

28                      paid supracompetitive, artificially inflated prices for CRT Products.
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1                   c. During the Class Period, Defendants’ illegal conduct substantially affected

2                      Wisconsin commerce.

3                   d. As a direct and proximate result of Defendants’ unlawful conduct, the

4                      Wisconsin Plaintiff and members of the Wisconsin Indirect Purchaser Class

5                      have been injured in their business and property and are threatened with

6                      further injury.

7                   e. By reason of the foregoing, Defendants have entered into agreements in

8                      restraint of trade in violation of Wisconsin Stat. §§133.01 et seq. Accordingly,

9                      the Wisconsin Plaintiff and the members of the Wisconsin Indirect Purchaser

10                     Class seek all forms of relief available under Wisconsin Stat. §§133.01 et seq.

11          304. Plaintiffs Jay Erickson, John Heenan, Donald Oelze, and Mark Wissinger

12   (“Montana Plaintiffs”) incorporate and reallege each and every allegation set forth in the

13   preceding paragraphs of this Complaint and further alleges as follow:

14                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

15                     affecting, fixing, controlling and/or maintaining, at artificial and/or non-

16                     competitive levels, the prices at which CRTs were sold, distributed or

17                     obtained in Montana.

18                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

19                     price competition was restrained, suppressed, and eliminated throughout

20                     Montana; (2) CRT prices were raised, fixed, maintained, and stabilized at

21                     artificially high levels throughout Montana; and (3) the Montana Plaintiffs and

22                     members of the Montana Indirect Purchaser Class paid supracompetitive,

23                     artificially inflated prices for CRT Products.

24                  c. During the Class Period, Defendants’ illegal conduct substantially affected

25                     Montana commerce.

26                  d. The foregoing conduct constitutes an unlawful restraint of trade within the

27                     meaning of Montana Code § 30-14-205.

28                  e. As a direct and proximate result of Defendants’ unlawful conduct, the
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1                       Montana Plaintiffs and the members of the Montana Indirect Purchaser Class

2                       have been injured in their business and property and are threatened with

3                       further injury, and accordingly, the Montana Plaintiffs and the members of the

4                       Montana Indirect Purchaser Class seek all forms of relief available under

5                       Montana Code § 30-14-201, et seq.

6           305. Plaintiffs Felecia Blackwood and Jeff Johnson (“South Carolina Plaintiffs”)

7    incorporate and reallege each and every allegation set forth in the preceding paragraphs of this

8    Complaint and further allege as follows:

9                   a. Defendants agreed to, and did in fact, enter into a continuing agreement,

10                      understanding, contract, combination in the form of trust or otherwise, or

11                      conspiracy in restraint of trade or commerce to artificially fix, raise, stabilize,

12                      control, and peg prices for CRT Products in the State of South Carolina.

13                  b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

14                      Product price competition was restrained, suppressed, and eliminated

15                      throughout South Carolina; (2) CRT Product prices were raised, fixed,

16                      maintained, and stabilized at artificially high levels throughout South

17                      Carolina; and (3) the South Carolina Plaintiffs and members of the South

18                      Carolina Indirect Purchaser Class paid supracompetitive, artificially inflated

19                      prices for CRT Products.

20                  c. During the Class Period, Defendants’ illegal conduct substantially affected

21                      South Carolina commerce.

22                  d. By reason of the foregoing, Defendants have entered into an arrangement,

23                      agreement, trust or combination adversely affecting competition or price

24                      within the meaning of S.C. Code Ann. § 39-3-10.

25                  e. As a direct and proximate result of Defendants’ unlawful conduct, the South

26                      Carolina Plaintiffs and the members of the South Carolina Indirect Purchase

27                      Class have been injured in their business and property and are threatened with

28                      further injury. Accordingly, the South Carolina Plaintiffs and members of the
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1                       South Carolina Indirect Purchaser Class seek all forms of relief available

2                       under S.C. Code Ann. § 39-3-10, et seq.

3            306. Plaintiff Tyler Ayres (“Utah Plaintiff”) incorporates and realleges each and every

4    allegation set forth in the preceding paragraphs of this Complaint and further alleges as follows:

5                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

6                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

7                       competitive levels, the prices at which CRTs were sold, distributed or

8                       obtained in Utah.

9                   b. Defendants’ combinations or conspiracies had the following effects: (1) CRT

10                      Product price competition was restrained, suppressed, and eliminated

11                      throughout Utah; (2) CRT Product prices were raised, fixed, maintained, and

12                      stabilized at artificially high levels throughout Utah; and (3) the Utah Plaintiff

13                      and members of the Utah Indirect Purchaser Class paid supracompetitive,

14                      artificially inflated prices for CRT Products.

15                  c. During the Class Period, Defendants’ illegal conduct substantially affected

16                      Utah commerce.

17                  d. By reason of the foregoing, Defendants have entered into agreements in

18                      restraint of trade within the meaning of Utah Code Ann. § 76-10-3104.4

19                  e. As a direct and proximate result of Defendants’ unlawful conduct, the Utah

20                      Plaintiff and the members of the Utah Indirect Purchaser Class have been

21                      injured in their business and property and are threatened with further injury.

22                      Accordingly, the Utah Plaintiff and the members of the Utah Indirect

23                      Purchaser Class seek all forms of relief available under Utah Code Ann. § 76-

24                      10-3101, et seq.

25           C.     Third Claim for Relief: Violation of State Consumer Protection and Unfair
                    Competition Statutes
26

27
     4
       In compliance with Utah Code Ann. § 76-10-3109, a copy of this complaint is being mailed to
28   the Utah Attorney General in conjunction with its filing.
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1           307. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

2    allegation set forth in the preceding paragraphs of this Complaint.

3           308. Defendants engaged in unfair competition or unfair, unconscionable, deceptive, or

4    fraudulent acts or practices in violation of the state consumer protection and unfair competition

5    statutes listed below.

6           309. The California Plaintiffs incorporate and reallege, as though fully set forth herein,

7    each and every allegation set forth in the preceding paragraphs of this Complaint, and further

8    allege as follows:

9                   a. Beginning on a date unknown to Plaintiffs, but at least as early as March 1,

10                        1995, and continuing thereafter at least up through and including November

11                        25, 2007, Defendants committed and continue to commit acts of unfair

12                        competition, as defined by Sections 17200, et seq. of the California Business

13                        and Professions Code, by engaging in the acts and practices specified above.

14                  b. This claim is instituted pursuant to Sections 17203 and 17204 of the

15                        California Business and Professions Code, to obtain restitution from these

16                        Defendants for acts, as alleged herein, that violated Section 17200 of the

17                        California Business and Professions Code, commonly known as the Unfair

18                        Competition Law.

19                  c. The Defendants’ conduct as alleged herein violated Section 17200. The acts,

20                        omissions, misrepresentations, practices and non-disclosures of Defendants, as

21                        alleged herein, constituted a common continuous and continuing course of

22                        conduct of unfair competition by means of unfair, unlawful and/or fraudulent

23                        business acts or practices within the meaning of California Business and

24                        Professions Code, Section 17200, et seq., including, but not limited to, the

25                        following: (1) the violations of Section 1 of the Sherman Act, as set forth

26                        above; (2) the violations of Section 16720, et seq., of the California Business

27                        and Professions Code, set forth above;

28                  d. Defendants’ acts, omissions, misrepresentations, practices and non-
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1                   disclosures, as described above, whether or not in violation of Section16720,

2                   et seq. of the California Business and Professions Code, and whether or not

3                   concerted or independent acts, are otherwise unfair, unconscionable, unlawful

4                   or fraudulent; Defendants’ act and practices are unfair to consumers of CRT

5                   Products in the State of California and throughout the United States, within

6                   the meaning of Section 17200, California Business and Professions Code; and

7              e. Defendants’ acts and practices are fraudulent or deceptive within the meaning

8                   of Section 17200 of the California Business and Professions Code.

9              f. California Plaintiffs and each of the California Indirect Purchaser Class

10                  members are entitled to full restitution and/or disgorgement of all revenues,

11                  earnings, profits, compensation, and benefits that may have been obtained by

12                  Defendants as a result of such business acts or practices.

13             g. The illegal conduct alleged herein is continuing and there is no indication that

14                  Defendants will not continue such activity into the future.

15             h. The unlawful and unfair business practices of Defendants, and each of them,

16                  as described above, have caused and continue to cause the California Plaintiffs

17                  and the members of the California Indirect Purchaser Class to pay supra-

18                  competitive and artificially-inflated prices for CRT Products. The California

19                  Plaintiffs and the members of the Class suffered injury in fact and lost money

20                  or property as a result of such unfair competition.

21             i.   The conduct of Defendants as alleged in this Complaint violates Section

22                  17200 of the California Business and Professions Code.

23             j.   As alleged in this Complaint, Defendants and their co-conspirators have been

24                  unjustly enriched as a result of their wrongful conduct and by Defendants’

25                  unfair competition. The California Plaintiffs and the members of the

26                  California Indirect Purchaser Class are accordingly entitled to equitable relief

27                  including restitution and/or disgorgement of all revenues, earnings, profits,

28                  compensation and benefits which may have been obtained by Defendants as a
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1                       result of such business practices, pursuant to California Business &

2                       Professions Code §17200 et seq.

3           310. Plaintiff David Rooks (“Florida Plaintiff”) incorporate and reallege each and

4    every allegation set forth in the preceding paragraphs of this Complaint and further allege as

5    follows:

6                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

7                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

8                       competitive levels, the prices at which CRT Products were sold, distributed or

9                       obtained in Florida.

10                  b. The foregoing conduct constitutes “unfair methods of competition,” and

11                      “unfair or deceptive acts or practices in the conduct of any trade or

12                      commerce” within the meaning of Florida Stat. § 501.204.

13                  c. During the Class Period, Defendants’ illegal conduct substantially affected

14                      Florida commerce and consumers.

15                  d. Defendants’ unlawful conduct had the following effects: (1) CRT Product

16                      price competition was restrained, suppressed, and eliminated throughout

17                      Florida; (2) CRT Product prices were raised, fixed, maintained and stabilized

18                      at artificially high levels throughout Florida; (3) the Florida Plaintiff and

19                      members of the Florida Indirect Purchaser Class were deprived of free and

20                      open competition; and (4) the Florida Plaintiffs and members of the Florida

21                      Indirect Purchaser Class paid supracompetitive, artificially inflated prices for

22                      CRT Products.

23                  e. As a direct and proximate result of Defendants’ conduct, the Florida Plaintiff

24                      and members of the Florida Indirect Purchaser Class have been injured and

25                      are threatened with further injury.

26                  f. Defendants have engaged in unfair competition or unfair or deceptive acts or

27                      practices in violation of Florida Stat. § 501.201 et seq., and accordingly, the

28                      Florida Plaintiffs and members of the Florida Indirect Purchaser Class seek all
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1                      relief available under that statute.

2           311. The Hawaii Plaintiff incorporates and realleges each and every allegation set forth

3    in the preceding paragraphs of this Complaint and further alleges as follows:

4                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

5                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

6                      competitive levels, the prices at which CRT Products were sold, distributed or

7                      obtained in Hawaii.

8                   b. b. The foregoing conduct constitutes “unfair methods of competition and

9                      unfair or deceptive acts or practices in the conduct of any trade or commerce”

10                     within the meaning of Hawaii Rev. Stat. § 480-2.

11                  c. During the Class Period, Defendants’ illegal conduct substantially affected

12                     Hawaii commerce and consumers.

13                  d. Defendants’ unlawful conduct had the following effects: (1) CRT Product

14                     price competition was restrained, suppressed, and eliminated throughout

15                     Hawaii; (2) CRT Product prices were raised, fixed, maintained and stabilized

16                     at artificially high levels throughout Hawaii; (3) the Hawaii Plaintiff and

17                     members of the Hawaii Indirect Purchaser Class were deprived of free and

18                     open competition; and (4) the Hawaii Plaintiff and members of the Hawaii

19                     Indirect Purchaser Class paid supracompetitive, artificially inflated prices for

20                     CRT Products.

21                  e. As a direct and proximate result of Defendants’ conduct, the Hawaii Plaintiff

22                     and members of the Hawaii Indirect Purchaser Class have been injured and

23                     are threatened with further injury.

24                  f. Defendants have engaged in unfair competition or unfair or deceptive acts or

25                     practices in violation of Hawaii Rev. Stat. § 480-2. Accordingly, the Hawaii

26                     Plaintiff and members of the Hawaii Indirect Purchaser Class seek all relief

27                     available under Hawaii Rev Stat. § 480 et seq.

28          312. The Nebraska Plaintiffs incorporate and reallege each and every allegation set
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1    forth in the preceding paragraphs of this Complaint and further alleges as follows:

2                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

3                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

4                      competitive levels, the prices at which CRT Products were sold, distributed or

5                      obtained in Nebraska.

6                   b. The foregoing conduct constitutes “unfair methods of competition and unfair

7                      or deceptive acts or practices in the conduct of any trade or commerce” within

8                      the meaning of Neb. Rev. Stat. § 59-1602.

9                   c. During the Class Period, Defendants’ illegal conduct substantially affected

10                     Nebraska commerce and consumers.

11                  d. Defendants’ unlawful conduct had the following effects: (1) CRT Product

12                     price competition was restrained, suppressed, and eliminated throughout

13                     Nebraska; (2) CRT Product prices were raised, fixed, maintained and

14                     stabilized at artificially high levels throughout Nebraska; (3) the Nebraska

15                     Plaintiff and members of the Nebraska Indirect Purchaser Class were deprived

16                     of free and open competition; and (4) the Nebraska Plaintiff and members of

17                     the Nebraska Indirect Purchaser Class paid supracompetitive, artificially

18                     inflated prices for CRT Products.

19                  e. As a direct and proximate result of Defendants’ conduct, the Nebraska

20                     Plaintiff and members of the Nebraska Indirect Purchaser Class have been

21                     injured and are threatened with further injury.

22                  f. Defendants have engaged in unfair competition or unfair or deceptive acts or

23                     practices in violation of Neb. Rev. Stat. §§ 59-1601 et seq., and accordingly,

24                     the Nebraska Plaintiff and members of the Nebraska Indirect Purchaser Class

25                     seek all relief available under that statute.

26          313. The New Mexico Plaintiff incorporates and realleges each and every allegation set

27   forth in the preceding paragraphs of this Complaint and further alleges as follows:

28                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by
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1                 affecting, fixing, controlling and/or maintaining, at artificial and/or non-

2                 competitive levels, the prices at which CRT Products were sold, distributed or

3                 obtained in New Mexico.

4              b. Defendants also took efforts to conceal their agreements from the New

5                 Mexico Plaintiff and members of the New Mexico Indirect Purchaser Class.

6              c. The foregoing conduct constitutes “unfair or deceptive trade practices” and

7                 “unconscionable trade practices in the conduct of any trade or commerce”

8                 within the meaning of New Mexico Stat. § 57-12-3, in that such conduct

9                 resulted in a gross disparity between the value received by New Mexico

10                Plaintiffs and the members of the New Mexico Indirect Purchaser Class and

11                the prices paid by them for CRT Products as set forth in New Mexico Stat. §

12                57-12-2E.

13             d. During the Class Period, Defendants’ illegal conduct substantially affected

14                New Mexico commerce and consumers.

15             e. Defendants’ unlawful conduct had the following effects: (1) CRT Product

16                price competition was restrained, suppressed, and eliminated throughout New

17                Mexico; (2) CRT Product prices were raised, fixed, maintained and stabilized

18                at artificially high levels throughout New Mexico; (3) the New Mexico

19                Plaintiff and members of the New Mexico Indirect Purchaser Class were

20                deprived of free and open competition; and (4) the New Mexico Plaintiff and

21                members of the New Mexico Indirect Purchaser Class paid supracompetitive,

22                artificially inflated prices for CRT Products.

23             f. As a direct and proximate result of Defendants’ conduct, the New Mexico

24                Plaintiff and members of the New Mexico Indirect Purchaser Class have been

25                injured and are threatened with further injury.

26             g. Defendants have engaged in unfair competition or unfair or deceptive acts or

27                practices in violation of New Mexico Stat. § 57-12-1 et seq., and accordingly,

28                the New Mexico Plaintiff and members of the New Mexico Indirect Purchaser
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1                      Class seek all relief available under that statute.

2           314. The New York Plaintiffs incorporate and reallege each and every allegation set

3    forth in the preceding paragraphs of this Complaint and further allege as follows:

4                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

5                      affecting, fixing, controlling and/or maintaining, at artificial and/or non-

6                      competitive levels, the prices at which CRT Products were sold, distributed or

7                      obtained in New York.

8                   b. Defendants also took efforts to conceal their agreements from the New York

9                      Plaintiffs and members of the New York Indirect Purchaser Class.

10                  c. Defendants’ illegal conduct substantially affected New York commerce and

11                     consumers.

12                  d. The conduct of Defendants as described herein constitutes consumer-oriented

13                     deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349,

14                     which resulted in consumer injury and broad adverse impact on the public at

15                     large, and harmed the public interest of New York State in an honest

16                     marketplace in which economic activity is conducted in a competitive manner.

17                  e. As consumers, the New York Plaintiffs and the members of the New York

18                     Indirect Purchaser Class were targets of the conspiracy.

19                  f. Defendants’ secret agreements as described herein were not known to the

20                     New York Plaintiffs or the members New York Indirect Purchaser Class.

21                  g. Defendants made public statements about the price of CRT Products that

22                     Defendants knew would be seen by the New York Plaintiffs and the members

23                     of the New York Indirect Purchaser Class; such statements either omitted

24                     material information that rendered these statements that they made materially

25                     misleading or affirmatively misrepresented the real cause of price increases

26                     for CRT Products; and, Defendants alone possessed material information that

27                     was relevant to consumers, but failed to provide the information.

28                  h. Because of Defendants’ unlawful trade practices in the State of New York,
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1                   there was a broad impact on the New York Plaintiffs and the members of the

2                   New York Indirect Purchaser Class who indirectly purchased CRT Products;

3                   and the New York Plaintiffs and the members of the New York Indirect

4                   Purchaser Class have been injured because they have paid more for CRT

5                   Products than they would have paid in the absence of Defendants’ unlawful

6                   trade acts and practices, and are threatened with further injury.

7              i.   Because of Defendants’ unlawful trade practices in the State of New York, the

8                   New York Plaintiffs and the members of the New York Indirect Purchaser

9                   Class who indirectly purchased CRT Products were misled to believe that they

10                  were paying a fair price for CRT Products, or that the price increases for CRT

11                  Products were for valid business reasons.

12             j.   Defendants knew that their unlawful trade practices with respect to pricing of

13                  CRT Products would have an impact on the New York Plaintiffs and the

14                  members of the New York Indirect Purchaser Class and not just Defendants’

15                  direct customers;

16             k. Defendants knew that their unlawful trade practices with respect to pricing of

17                  CRT Products would have a broad impact, causing consumer class members

18                  who indirectly purchased CRT Products to be injured by paying more for CRT

19                  Products than they would have paid in the absence of Defendants’ unlawful

20                  trade acts and practices.

21             l.   During the Class Period, each of the Defendants named herein, directly or

22                  indirectly through affiliates they dominated and controlled, manufactured,

23                  sold and/or distributed CRT Products in New York.

24             m. The New York Plaintiffs and members of the New York Indirect Purchaser

25                  Class seek actual damages for their injuries caused by these violations in an

26                  amount to be determined at trial. Without prejudice to their contention that

27                  Defendants’ unlawful conduct was willful and knowing, the New York

28                  Plaintiffs and members of the New York Indirect Purchaser Class do not seek
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1                       in this action to have those damages trebled pursuant to N.Y. Gen. Bus. Law §

2                       349 (h).

3           315. The North Carolina Plaintiff incorporates and realleges each and every allegation

4    set forth in the preceding paragraphs of this Complaint and further alleges as follows:

5                   a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

6                       affecting, fixing, controlling and/or maintaining, at artificial and/or non-

7                       competitive levels, the prices at which CRT Products were sold, distributed or

8                       obtained in North Carolina.

9                   b. Defendants also took efforts to conceal their agreements from the North

10                      Carolina Plaintiff and members of the North Carolina Indirect Purchaser

11                      Class.

12                  c. The conduct of Defendants as described herein constitutes consumer-oriented

13                      deceptive acts or practices within the meaning of North Carolina Gen. Stat.

14                      §75-1.1 et seq., which resulted in consumer injury and broad adverse impact

15                      on the public at large, and harmed the public interest of North Carolina

16                      consumers in an honest marketplace in which economic activity is conducted

17                      in a competitive manner.

18                  d. During the Class Period, Defendants’ illegal conduct substantially affected

19                      North Carolina commerce and consumers.

20                  e. Defendants’ unlawful conduct had the following effects: (1) CRT Product

21                      price competition was restrained, suppressed, and eliminated throughout

22                      North Carolina; (2) CRT Product prices were raised, fixed, maintained and

23                      stabilized at artificially high levels throughout North Carolina; (3) the North

24                      Carolina Plaintiff and members of the North Carolina Indirect Purchaser Class

25                      were deprived of free and open competition; and (4) the North Carolina

26                      Plaintiff and members of the North Carolina Indirect Purchaser Class paid

27                      supracompetitive, artificially inflated prices for CRT Products.

28                  f. As a direct and proximate result of Defendants’ conduct, the North Carolina
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1                      Plaintiff and members of the North Carolina Indirect Purchaser Class have

2                      been injured and are threatened with further injury.

3                   g. During the Class Period, each of the Defendants named herein, directly or

4                      indirectly through affiliates they dominated and controlled, manufactured,

5                      sold and/or distributed CRT Products in North Carolina.

6                   h. Defendants have engaged in unfair competition or unfair or deceptive acts or

7                      practices in violation of North Carolina Gen. Stat. § 75-1.1 et seq., and

8                      accordingly, the North Carolina Plaintiff and members of the North Carolina

9                      Indirect Purchaser Class seek all relief available under that statute.

10          316. The Vermont Plaintiff incorporates and realleges each and every allegation set

11   forth in the preceding paragraphs of this Complaint and further alleges as follows:

12                  a. Defendants agreed to, and did in fact, act in restraint of trade or commerce by

13                     affecting, fixing, controlling and/or maintaining, at artificial and/or non-

14                     competitive levels, the prices at which CRT Products were sold, distributed or

15                     obtained in Vermont.

16                  b. Defendants deliberately failed to disclose material facts to the Vermont

17                     Plaintiff and members of the Vermont Indirect Purchaser Class concerning

18                     Defendants’ unlawful activities and artificially inflated prices for CRT

19                     Products. Defendants owed a duty to disclose such facts, and considering the

20                     relative lack of sophistication of the average, non-business consumer,

21                     Defendants breached that duty by their silence. Defendants misrepresented to

22                     all consumers during the Class Period that Defendants CRT Product prices

23                     were competitive and fair.

24                  c. Because of Defendants’ unlawful and unscrupulous trade practices in

25                     Vermont, the Vermont Plaintiff and members of the Vermont Indirect

26                     Purchaser Class who indirectly purchased CRT Products were misled or

27                     deceived to believe that they were paying a fair price for CRT Products or that

28                     the price increases for CRT Products were for valid business reasons.
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1                   d. Defendants’ unlawful conduct had the following effects: (1) CRT Product

2                      price competition was restrained, suppressed, and eliminated throughout

3                      Vermont; (2) CRT Product prices were raised, fixed, maintained and

4                      stabilized at artificially high levels throughout Vermont; (3) the Vermont

5                      Plaintiff and members of the Vermont Indirect Purchaser Class were deprived

6                      of free and open competition; and (4) the Vermont Plaintiff and members of

7                      the Vermont Indirect Purchaser Class paid supracompetitive, artificially

8                      inflated prices for CRT Products.

9                   e. As a direct and proximate result of Defendants’ illegal conduct, the Vermont

10                     Plaintiff and the members of the Vermont Indirect Purchaser Class suffered an

11                     ascertainable loss of money or property as a result of Defendants’ use or

12                     employment of unconscionable and deceptive commercial practices as set

13                     forth above. That loss was caused by Defendants’ willful and deceptive

14                     conduct, as described herein.

15                  f. Defendants’ misleading conduct and unconscionable activities constitutes

16                     unfair competition or unfair or deceptive acts or practices in violation of

17                     Vermont Stat. Ann. Title 9, § 2451 et seq., and accordingly, Vermont Plaintiff

18                     and members of the Vermont Indirect Purchaser Class seek all relief available

19                     under that statute.

20          317. Plaintiffs Nikki Crawley, Steven Harrelson and William J. Trentham (the

21   “Arkansas Plaintiffs”) incorporate and reallege each and every allegation set forth in the

22   preceding paragraphs of this Complaint and further allege as follows:

23                  a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

24                     of trade or commerce in a market which includes Arkansas by affecting,

25                     fixing, controlling and/or maintaining, at artificial and/or non-competitive

26                     levels, the prices at which CRTs were sold, distributed or obtained in

27                     Arkansas.

28                  b. The foregoing conduct was unfair, unconscionable, or deceptive within the
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1                 conduct of trade or commerce within Arkansas.

2              c. Defendants’ conduct misled consumers, withheld material facts, and resulted

3                 in material misrepresentations concerning Defendants’ and their co-

4                 conspirators’ unlawful activities and artificially inflated prices for CRTs to the

5                 Arkansas Plaintiffs and members of the Arkansas Indirect Purchaser Class.

6                 Defendants misrepresented to all consumers during the Class Period that

7                 Defendants’ and their co-conspirators’ CRT prices were competitive and fair.

8              d. Defendants and their co-conspirators made public statements that Defendants

9                 knew would be seen by the Arkansas Plaintiffs and members of the Arkansas

10                Indirect Purchaser Class; such statements created a likelihood of confusion or

11                misunderstanding with respect to the real reasons that the prices of CRTs were

12                rising; and, such statements either omitted material information that rendered

13                the statements materially misleading and confusing, or affirmatively deceived

14                such consumers about the real cause of price increases for CRTs.

15             e. Defendants’ and their co-conspirators’ deception, including their affirmative

16                misrepresentations and/or omissions concerning the price of CRTs, constitutes

17                information necessary to Plaintiff and members of the Arkansas Indirect

18                Purchaser Class relating to the cost of CRT Products purchased.

19             f. Defendants’ and their co-conspirators’ conduct was knowing and willful.

20             g. Defendants’ violations adversely affected public policy in Arkansas.

21             h. Defendants’ unlawful conduct had the following effects: (1) CRT Product

22                price competition was restrained, suppressed, and eliminated throughout

23                Arkansas; (2) CRT Product prices were raised, fixed, maintained and

24                stabilized at artificially high levels throughout Arkansas; (3) the Arkansas

25                Plaintiff and members of the Arkansas Indirect Purchaser Class were deprived

26                of free and open competition; and (4) the Arkansas Plaintiff and the members

27                of the Arkansas Indirect Purchaser Class paid supracompetitive, artificially

28                inflated prices for CRT Products.
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1                   i.   As a direct and proximate result of Defendants’ conduct, and as a result of

2                        their reliance on Defendants’ conduct, the Arkansas Plaintiff and the members

3                        of the Arkansas Indirect Purchaser Class have been injured in their business

4                        and property, suffered an actual financial loss, and are threatened with further

5                        injury.

6                   j.   By reason of the foregoing, Defendants have engaged in deceptive and

7                        unconscionable trade practices in violation of Arkansas Code Ann. § 4-88-

8                        107, and accordingly, the Arkansas Plaintiff and members of the Arkansas

9                        Indirect Purchaser Class seek all forms of relief available under that statute.

10          318. Plaintiffs Warren Cutlip, Harry Garavanian, Anthony Gianasca, Hope Hitchcock

11   and Gary Talewsky (the “Massachusetts Plaintiffs”) incorporate and reallege each and every

12   allegation set forth in the preceding paragraphs of this Complaint and further allege as follows:

13                  a. Defendants and their co-conspirators were engaged in trade or commerce

14                       within the meaning of Massachusetts Gen. Laws Ann. ch. 93A.

15                  b. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

16                       of trade or commerce by affecting, fixing, controlling, and/or maintaining, at

17                       artificial and/or non-competitive levels, the prices at which CRTs were sold,

18                       distributed or obtained in Massachusetts.

19                  c. Defendants and their co-conspirators took efforts to conceal their agreements

20                       from the Massachusetts Plaintiffs and members of the Massachusetts Indirect

21                       Purchaser Class in Massachusetts.

22                  d. Defendants’ and their co-conspirators’ conduct was knowing and willful.

23                  e. The foregoing conduct constitutes unfair competition or unfair or deceptive

24                       acts or practices within the meaning of Massachusetts Gen. Laws ch. 93A, § 2

25                       et seq.

26                  f. During the Class Period, Defendants’ and their co-conspirators’ illegal

27                       conduct substantially affected Massachusetts commerce and consumers.

28                  g. Defendants’ unlawful conduct had the following effects: (1) CRT price
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1                   competition was restrained, suppressed, and eliminated throughout

2                   Massachusetts; (2) CRT prices were raised, fixed, maintained and stabilized at

3                   artificially high levels throughout Massachusetts; (3) the Massachusetts

4                   Plaintiffs and members of the Massachusetts Indirect Purchaser Class were

5                   deprived of free and open competition in Massachusetts; and (4) the

6                   Massachusetts Plaintiff and members of the Massachusetts Indirect Purchaser

7                   Class paid supracompetitive, artificially inflated prices for CRT Products in

8                   Massachusetts.

9              h. As a direct and proximate result of Defendants’ conduct, the Massachusetts

10                  Plaintiffs and members of the Massachusetts Indirect Purchaser Class have

11                  been injured and have suffered an ascertainable loss of money or property in

12                  Massachusetts.

13             i.   On or before July 15, 2019, in compliance with Massachusetts Gen. Laws ch.

14                  93A § 9, Plaintiffs sent by certified mail a written demand for relief to each of

15                  the Defendants named herein, which (1) identified the Massachusetts

16                  Plaintiffs; (2) reasonably described the unfair or deceptive acts and practices

17                  and the injury suffered; and (3) requested that Defendants make a reasonable,

18                  class-wide tender of settlement.

19             j.   Under Massachusetts law a demand letter that identifies the particularized

20                  injuries of one class representative claimant and gives notice to the defendant

21                  of the pendency of the class action is sufficient.

22             k. Each Defendant received multiple pre-suit demands issued pursuant to Mass.

23                  Gen. Laws ch. 93A that gave adequate notice of the claims of the putative

24                  Massachusetts class, identifying the issuers of the demand as end-use

25                  purchasers of CRTs during the putative class period and reasonably describing

26                  how they suffered damages and providing them with notice that the harm

27                  occurred within the Commonwealth of Massachusetts within the class period.

28                  The notices also clearly referenced MDL No. 1917 and the procedural history
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1                        of their claims.

2                   l.   Plaintiffs also encouraged each Defendant to make a reasonable settlement

3                        offer. Therefore, each of the Plaintiffs’ demand letters sufficiently described

4                        the claimants, the unfair or deceptive practice, and the injury suffered with

5                        enough detail for each Defendant to ascertain its exposure and to initiate

6                        negotiations.

7                   m. By reason of the foregoing, Defendants knowingly or willingly have engaged

8                        in unfair competition or unfair or deceptive acts or practices in violation of

9                        Massachusetts Gen. Laws ch. 93A § 2, et seq. Accordingly, the Massachusetts

10                       Plaintiffs and members of the Massachusetts Indirect Purchaser Class seek all

11                       forms of relief available under that statute, including under § 11 for those

12                       members who engage in the conduct of a trade or commerce and under § 9 for

13                       all other members.

14          319. Plaintiffs Mina Ashkannejhad, Mike Bratcher and Robert Stephenson (the

15   “Missouri Plaintiffs”) incorporate and reallege each and every allegation set forth in the

16   preceding paragraphs of this Complaint and further allege as follows:

17                  a. The Missouri Plaintiffs and members of the Missouri Indirect Purchaser Class

18                       purchased CRTs primarily for personal, family or household purposes.

19                  b. Defendants and their co-conspirators were engaged in the sale and

20                       advertisement of merchandise in trade or commerce within the meaning of

21                       Mo. Rev. Stat. § 407.010, et seq.

22                  c. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

23                       of trade or commerce by affecting, fixing, controlling and/or maintaining at

24                       artificial and/or non-competitive levels, the prices at which CRTs were sold,

25                       distributed or obtained in a market that includes Missouri, which conduct

26                       constituted unfair and deceptive trade practices in that it was unlawful under

27                       federal and state law, violated public policy, was unethical, oppressive and

28                       unscrupulous, and caused substantial injury to the Missouri Plaintiff and the
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1                 members of the Missouri Indirect Purchaser Class.

2              d. Defendants and their co-conspirators concealed, suppressed and omitted to

3                 disclose material facts to the Missouri Plaintiffs and the members of the

4                 Missouri Indirect Purchaser Class concerning their unlawful activities and

5                 artificially inflated prices for CRTs. The concealed, suppressed and omitted

6                 facts would have been important to the Missouri Plaintiffs and the members of

7                 the Missouri Indirect Purchaser Class as they relate to the cost of CRTs they

8                 purchased.

9              e. Defendants and their co-conspirators misrepresented the real cause of price

10                increases and/or the absence of price reductions in CRTs by making public

11                statements that were not in accord with the facts.

12             f. Defendants’ and their co-conspirators’ statements and conduct concerning the

13                price of CRTs were deceptive as they had the tendency or capacity to mislead

14                the Missouri Plaintiffs and the members of the Missouri Indirect Purchaser

15                Class to believe they were purchasing CRTs at prices established by a free and

16                fair market.

17             g. Defendants’ and their co-conspirators’ unlawful conduct had the following

18                effects: (1) CRT price competition was restrained, suppressed and eliminated

19                throughout Missouri; (2) CRT prices were raised, fixed, maintained and

20                stabilized at artificially high levels throughout Missouri; (3) the Missouri

21                Plaintiffs and members of the Missouri Indirect Purchaser Class were

22                deprived of free and open competition; and (4) the Missouri Plaintiffs and

23                members of the Missouri Indirect Purchaser Class paid supracompetitive,

24                artificially inflated prices for CRT Products.

25             h. The foregoing conduct constitutes unlawful practices within the meaning of

26                Missouri Rev. Stat. § 407.010, et seq., specifically § 407.020. As a direct and

27                proximate result of Defendants’ unlawful conduct, the Missouri Plaintiffs and

28                members of the Missouri Indirect Purchaser Class have been injured and have
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1                      suffered an ascertainable loss of money or property. Accordingly, the

2                      Missouri Plaintiffs and members of the Missouri Indirect Purchaser Class seek

3                      all relief available under Missouri Rev. Stat. § 407.010, et seq., including

4                      under § 407.025, and as further interpreted by the Missouri Code of State

5                      Regulations, 15 CSR 60-7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR

6                      60-9.010, et seq.

7           320. The Montana Plaintiffs incorporate and reallege each and every allegation set

8    forth in the preceding paragraphs of this Complaint and further allege as follows:

9                   a. The Montana Plaintiffs and members of the Montana Indirect Purchaser Class

10                     purchased CRT Products primarily for personal, family, or household

11                     purposes.

12                  b. Defendants and their co-conspirators were engaged in trade or commerce

13                     within the meaning of Montana Code Ann. § 30-14-101, et seq.

14                  c. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

15                     of trade or commerce by affecting, fixing, controlling and/or maintaining, at

16                     artificial and/or non-competitive levels, the prices at which CRTs were sold,

17                     distributed or obtained in Montana.

18                  d. Defendants and their co-conspirators took efforts to conceal their agreements

19                     from the Montana Plaintiffs and members of the Montana Indirect Purchaser

20                     Class.

21                  e. Defendants’ and their co-conspirators’ combinations or conspiracies had the

22                     following effects: (1) CRT price competition was restrained, suppressed, and

23                     eliminated throughout Montana; (2) CRT prices were raised, fixed,

24                     maintained, and stabilized at artificially high levels throughout Montana; (3)

25                     the Montana Plaintiffs and members of the Montana Indirect Purchaser Class

26                     were deprived of free and open competition; and (4) the Montana Plaintiffs

27                     and members of the Montana Indirect Purchaser Class paid supracompetitive,

28                     artificially inflated prices for CRT Products.
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1                  f. The foregoing conduct constitutes unfair methods of competition or unfair

2                      deceptive acts or practices within the meaning of Mont. Code Ann. § 30-14-

3                      103.

4                  g. As a direct and proximate result of Defendants’ unlawful conduct, the

5                      Montana Plaintiffs and members of the Montana Indirect Purchaser Class

6                      have been injured and have suffered an ascertainable loss of money or

7                      property. Accordingly, the Montana Plaintiffs and the members of the

8                      Montana Indirect Purchaser Class seek all forms of relief available under

9                      Mont. Code Ann. § 30-14-101, et seq.

10          321. Plaintiffs Jeff Craig, George Maglaras, Jeff Schapira and Chris Seufert (the “New

11   Hampshire Plaintiffs”) incorporate and reallege each and every allegation set forth in the

12   preceding paragraphs of this Complaint and further allege as follows:

13                 a. Defendants and their co-conspirators were engaged in trade or commerce

14                     within the meaning of New Hampshire Rev. Stat. Ann. § 358-A.

15                 b. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

16                     of trade or commerce by affecting, fixing, controlling and/or maintaining, at

17                     artificial and/or non-competitive levels, the prices at which CRTs were sold,

18                     distributed, or obtained in New Hampshire.

19                 c. Defendants’ and their co-conspirators’ conduct was intended to deceive New

20                     Hampshire consumers regarding the nature of Defendants’ actions within the

21                     stream of New Hampshire commerce. Defendants’ conduct misled consumers,

22                     withheld material facts, and had a direct or indirect impact upon the ability of

23                     New Hampshire Plaintiffs and members of the New Hampshire Indirect

24                     Purchaser Class to protect themselves.

25                 d. Defendants’ and their co-conspirators’ conduct was willful and knowing.

26                 e. The foregoing conduct harmed competition and constitutes unfair methods of

27                     competition or unfair or deceptive acts or practices within the meaning of

28                     New Hampshire Rev. Stat. Ann. § 358-A.
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1                   f. During the Class Period, Defendants’ illegal conduct substantially affected

2                        New Hampshire commerce and consumers.

3                   g. Defendants’ and their co-conspirators’ unlawful conduct had the following

4                        effects: (1) CRT price competition was restrained, suppressed, and eliminated

5                        throughout New Hampshire; (2) CRT prices were raised, fixed, maintained

6                        and stabilized at artificially high levels throughout New Hampshire; (3) the

7                        New Hampshire Plaintiffs and members of the New Hampshire Indirect

8                        Purchaser Class were deprived of free and open competition; and (4) the New

9                        Hampshire Plaintiffs and members of the New Hampshire Indirect Purchaser

10                       Class paid supracompetitive, artificially inflated prices for CRT Products.

11                  h. As a direct and proximate result of Defendants’ conduct, the New Hampshire

12                       Plaintiffs and members of the New Hampshire Indirect Purchaser Class have

13                       been injured and have suffered an ascertainable loss of money or property.

14                  i.   By reason of the foregoing, Defendants have engaged in unfair competition or

15                       unfair or deceptive acts or practices in violation of New Hampshire Rev. Stat.

16                       Ann. § 358-A:2. Accordingly, the New Hampshire Plaintiffs and the members

17                       of the New Hampshire Indirect Purchaser Class seek all forms of relief

18                       available under New Hampshire Rev. Stat. Ann. § 358-A:10 and 358-A:10-a.

19          322. Plaintiffs D. Bruce Johnson and Walker, Warren and Watkins, LLC (the “Oregon

20   Plaintiffs”) incorporate and reallege each and every allegation set forth in the preceding

21   paragraphs of this Complaint and further allege as follows:

22                  a. With respect to natural persons, Defendants Chunghwa, Tatung America,

23                       IRICO, Thai CRT, Daewoo, Samsung, Thomson, Videocon, and all other

24                       defendants who are not a party to the final settlement of claims brought under

25                       Or. Rev. Stat § 646.725, et seq. by the Oregon Attorney General and approved

26                       by the court in Case No. 1208 10246 (Or. Cir. Ct.) (“Oregon Natural Person

27                       Defendants”), and with respect to non-natural persons, Defendants, and their

28                       co-conspirators, agreed to, and did in fact, act in restraint of trade or
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1                      commerce by affecting, fixing, controlling and/or maintaining, at artificial

2                      and/or non-competitive levels, the prices at which CRT Products were sold,

3                      distributed, or obtained in Oregon.

4                  b. By reason of the conduct alleged herein, Oregon Natural Person Defendants

5                      and Defendants have violated Or. Rev. Stat. § 646.608, et seq.5

6                  c. Oregon Natural Person Defendants’, Defendants’ and their co-conspirators’

7                      conduct was conducted with intent to deceive Oregon consumers regarding

8                      the nature of Oregon Natural Person Defendants’, Defendants’ and their co-

9                      conspirators’ actions within the stream of Oregon commerce.

10                 d. Oregon Natural Person Defendants, Defendants and their co-conspirators

11                     made public statements they knew would be seen by the Oregon Plaintiffs and

12                     members of the Oregon Indirect Purchaser Class. Such statements created a

13                     likelihood of confusion or misunderstanding with respect to the real reasons

14                     the prices of CRTs and CRT Products were rising, and such statements either

15                     omitted material information that rendered the statements materially

16                     misleading and confusing, or affirmative deceived such consumers about the

17                     real cause of price increases for CRTs and CRT Products.

18                 e. Because of Oregon Natural Person Defendants’, Defendants’ and their co-

19                     conspirators’ unlawful and unconscionable trade practices in Oregon, the

20                     Oregon Plaintiffs and members of the Oregon Indirect Purchaser Class were

21                     misled or deceived to believe they were paying a fair price for CRT Products

22                     or that the price increases for CRTs and CRT Products were for valid business

23                     reasons.

24                 f. Oregon Natural Person Defendants, Defendants and their co-conspirators

25                     knew that their violations with respect to the pricing of CRTs would have a

26

27
     5
      In compliance with ORS § 646.638(2), a copy of this complaint is being mailed to the Oregon
28   Attorney General in conjunction with its filing.
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1                   broad impact, causing persons who indirectly purchased CRTs and CRT

2                   Products to be injured by paying more for CRT Products than they would

3                   have paid in the absence of Oregon Natural Person Defendants’ and

4                   Defendants’ unlawful and unconscionable trade acts and practices.

5              g. Oregon Natural Person Defendants’ and Defendants’ conduct was unfair or

6                   deceptive within the conduct of commerce or business within the State of

7                   Oregon.

8              h. Oregon Natural Person Defendants’, Defendants’ and their co-conspirators’

9                   conduct misled Oregon consumers, withheld material facts, and had a direct or

10                  indirect impact upon the ability of Oregon Plaintiffs and members of the

11                  Oregon Indirect Purchaser Class to protect themselves.

12             i.   Oregon Natural Person Defendants’, Defendants’ and their co-conspirators’

13                  violations substantially affected Oregon’s trade and commerce.

14             j.   Oregon Natural Person Defendants’, Defendants’ and their co-conspirators’

15                  illegal conduct had a substantial effect on Oregon commerce and consumers,

16                  including the Oregon Plaintiffs and members of the Oregon Indirect Purchaser

17                  Class.

18             k. Oregon Natural Person Defendants’, Defendants’ and their co-conspirators’

19                  unlawful conduct had the following effects (1) CRT price competition was

20                  restrained, suppressed, and eliminated throughout Oregon; (2) CRT prices

21                  were raised, fixed, maintained and stabilized at artificially high levels

22                  throughout Oregon (3) the Oregon Plaintiffs and members of the Oregon

23                  Indirect Purchaser Class were deprived of free and open competition; and (4)

24                  the Oregon Plaintiffs and members of the Oregon Indirect Purchaser Class

25                  paid supracompetitive, artificially inflated prices for CRT Products.

26             l.   As a direct and proximate result of Oregon Natural Person Defendants’ and

27                  Defendants’ unlawful conduct, the Oregon Plaintiffs and members of the

28                  Oregon Indirect Purchaser Class have been injured and have suffered an
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1                       ascertainable loss of money or property. That loss was caused by Oregon

2                       Natural Person Defendants’ and Defendants’ willful and deceptive conduct, as

3                       described herein.

4                   m. By reason of the foregoing, Oregon Natural Person Defendants and

5                       Defendants have engaged in unfair or deceptive acts or practices in violation

6                       of Or. Rev. Stat. § 646.608, and accordingly, the Oregon Plaintiffs and

7                       members of the Oregon Indirect Purchaser Class seek all forms of relief

8                       available under Or. Rev. Stat. § 646.638.

9           323. Plaintiffs Susan LaPage, Donna Muccino and Kerry Murphy (“the Rhode Island

10   Plaintiffs”) incorporate and reallege each and every allegation set forth in the preceding

11   paragraphs of this Complaint and further allege as follows:

12                  a. The Rhode Island Plaintiffs and members of the Rhode Island Indirect

13                      Purchaser Class purchased CRT Products primarily for personal, family or

14                      household purposes.

15                  b. Defendants and their co-conspirators were engaged in trade or commerce

16                      within the meaning of Rhode Island Gen. Laws § 6-13.1, et seq.

17                  c. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

18                      of trade or commerce by affecting, fixing, controlling and/or maintaining, at

19                      artificial and/or non-competitive levels, the prices at which CRTs were sold,

20                      distributed, or obtained in Rhode Island.

21                  d. Defendants and their co-conspirators deliberately failed to disclose material

22                      facts to the Rhode Island Plaintiffs and members of the Rhode Island Indirect

23                      Purchaser Class concerning Defendants’ and their co-conspirators’ unlawful

24                      activities and artificially inflated prices for CRTs. Defendants and their co-

25                      conspirators owed a duty to disclose such facts, and considering the relative

26                      lack of sophistication of the average, non-business consumer, Defendants and

27                      their co-conspirators breached that duty by their silence. Defendants

28                      misrepresented to all consumers during the Class Period that Defendants’ and
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1                   their co-conspirators’ CRT prices were competitive and fair.

2              e. Defendants and their co-conspirators made public statements that Defendants

3                   knew would be seen by the Rhode Island Plaintiffs and members of the Rhode

4                   Island Indirect Purchaser Class who indirectly purchased CRT Products

5                   primarily for personal, family or household purposes; such statements created

6                   a likelihood of confusion or misunderstanding with respect to the real reasons

7                   that the prices of CRTs were rising; and, such statements either omitted

8                   material information that rendered the statements materially misleading and

9                   confusing, or affirmatively deceived such consumers about the real cause of

10                  price increases for CRTs.

11             f. Defendants’ and their co-conspirators’ deception, including its affirmative

12                  misrepresentations and/or omissions concerning the price of CRTs, constitutes

13                  information necessary to Plaintiff and members of the Rhode Island Indirect

14                  Purchaser Class relating to the cost of CRT Products purchased.

15             g. Because of Defendants’ and their co-conspirators’ unlawful and unscrupulous

16                  trade practices in Rhode Island, the Rhode Island Plaintiffs and members of

17                  the Rhode Island Indirect Purchaser Class were misled or deceived to believe

18                  they were paying a fair price for CRT Products or that the price increases for

19                  CRTs were for valid business reasons.

20             h. Defendants and their co-conspirators knew that their unscrupulous and

21                  unlawful trade practices with respect to pricing CRTs would have an impact

22                  on Rhode Island persons who indirectly purchased CRT Products primarily

23                  for personal, family or household purposes and not just Defendants’ direct

24                  customers.

25             i.   Defendants and their co-conspirators knew that its violations with respect to

26                  pricing of CRTs would have a broad impact, causing natural persons who

27                  indirectly purchased CRT Products primarily for personal, family or

28                  household purposes to be injured by paying more for CRT Products than they
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1                        would have paid in the absence of Defendants’ unlawful trade acts and

2                        practices.

3                   j.   Defendants’ and their co-conspirators’ violations adversely affected public

4                        policy in Rhode Island.

5                   k. The foregoing constitutes unfair methods of competition or unfair or deceptive

6                        acts or practices within the meaning of Rhode Island Gen. Laws § 6-13.1-2.

7                   l.   Defendants’ and their co-conspirators’ unlawful conduct had the following

8                        effects (1) CRT price competition was restrained, suppressed, and eliminated

9                        throughout Rhode Island; (2) CRT prices were raised, fixed, maintained and

10                       stabilized at artificially high levels throughout Rhode Island (3) the Rhode

11                       Island Plaintiffs and members of the Rhode Island Indirect Purchaser Class

12                       were deprived of free and open competition; and (4) the Rhode Island

13                       Plaintiffs and members of the Rhode Island Indirect Purchaser Class paid

14                       supracompetitive, artificially inflated prices for CRT Products.

15                  m. As a direct and proximate result of Defendants’ conduct, including

16                       Defendants’ use of employment of unconscionable and deceptive commercial

17                       practices set forth above, the Rhode Island Plaintiffs and members of the

18                       Rhode Island Indirect Purchaser Class have been injured and have suffered an

19                       ascertainable loss of money or property. That loss was caused by Defendants’

20                       willful and deceptive conduct as set forth herein.

21                  n. By reason of the foregoing, Defendants have engaged in unfair competition or

22                       unfair or deceptive acts or practices in violation of Rhode Island Gen. Laws §

23                       6-13.1-1, et seq., and accordingly, the Rhode Island Plaintiffs and members of

24                       the Rhode Island Indirect Purchaser Class seek all forms of relief available

25                       under that statute.

26          324. The South Carolina Plaintiffs incorporate and reallege each and every allegation

27   set forth in the preceding paragraphs of this Complaint and further allege as follows:

28                  a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint
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1                 of trade or commerce by affecting, fixing, controlling and/or maintaining, at

2                 artificial and/or non-competitive levels, the prices at which CRT Products

3                 were sold, distributed or obtained in South Carolina.

4              b. Defendants’ and their co-conspirators’ conduct was willful.

5              c. Defendants and their co-conspirators were engaged in trade or commerce

6                 within the meaning of South Carolina Code Ann. § 39-5-10, et seq.

7              d. Defendants and their co-conspirators deliberately failed to disclose material

8                 facts to the South Carolina Plaintiff and members of the South Carolina

9                 Indirect Purchaser Class concerning Defendants’ and their co-conspirators’

10                unlawful activities and artificially inflated prices for CRTs. Defendants and

11                their co-conspirators owed a duty to disclose such facts, and considering the

12                relative lack of sophistication of the average, non-business consumer,

13                Defendants and their co-conspirators breached that duty by their silence.

14                Defendants misrepresented to all consumers during the Class Period that

15                Defendants’ CRT prices were competitive and fair.

16             e. Defendants’ and their co-conspirators’ deception, including its affirmative

17                misrepresentations and/or omissions concerning the price of CRTs, constitutes

18                information necessary to the South Carolina Plaintiff and members of the

19                South Carolina Indirect Purchaser Class relating to the cost of CRT Products

20                purchased.

21             f. Because of Defendants’ and their co-conspirators’ unlawful and unscrupulous

22                trade practices in South Carolina, the South Carolina Plaintiff and members of

23                the South Carolina Indirect Purchaser Class who indirectly purchased CRTs

24                were misled or deceived to believe that they were paying a fair price for CRT

25                Products or that the price increases for CRTs were for valid business reasons.

26             g. Defendants’ and their co-conspirators’ unlawful conduct had the following

27                effects: (1) CRT price competition was restrained, suppressed, and eliminated

28                throughout South Carolina; (2) CRT prices were raised, fixed, maintained and
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1                        stabilized at artificially high levels throughout Utah; (3) the South Carolina

2                        Plaintiff and members of the South Carolina Indirect Purchaser Class were

3                        deprived of free and open competition; and (4) the South Carolina Plaintiff

4                        and members of the South Carolina Indirect Purchaser Class paid

5                        supracompetitive, artificially inflated prices for CRT Products.

6                   h. As a direct and proximate result of Defendants’ conduct, the South Carolina

7                        Plaintiff and members of the South Carolina Indirect Purchaser Class have

8                        been injured and have suffered an ascertainable loss of money or property as a

9                        result of Defendants’ use or employment of unconscionable and deceptive

10                       commercial practices as set forth above. That loss was caused by Defendants’

11                       willful and deceptive conduct, as described herein.

12                  i.   Defendants’ misleading conduct and unconscionable activities constitute

13                       unfair competition or unfair or deceptive acts or practices in violation of South

14                       Carolina Code Ann. 39-5-10, et seq., and accordingly, the South Carolina

15                       Plaintiff and the members of the South Carolina Indirect Purchaser Class seek

16                       all forms of relief available under that statute.

17          325. The Utah Plaintiff incorporates and realleges each and every allegation set forth in

18   the preceding paragraphs of this Complaint and further alleges as follows:

19                  a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

20                       of trade or commerce by affecting, fixing, controlling and/or maintaining, at

21                       artificial and/or non-competitive levels, the prices at which CRTs were sold,

22                       distributed or obtained in Utah.

23                  b. Defendants and their co-conspirators were engaged in trade or commerce as

24                       suppliers for consumer transactions within the meaning of Utah Code Ann. §

25                       13-11-3.

26                  c. Defendants’ and their co-conspirators’ conduct was unfair, unconscionable or

27                       deceptive within the conduct of commerce within the State of Utah.

28                  d. Defendants’ and their co-conspirators’ conduct and/or practices were
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1                   unconscionable and were undertaken in connection with consumer

2                   transactions.

3              e. Defendants and their co-conspirators knew or had reason to know that its

4                   conduct was unconscionable.

5              f. Defendants and their co-conspirators knew that their violations with respect to

6                   pricing of CRTs would have a broad impact, causing persons who indirectly

7                   purchased CRT Products primarily for personal, family or household purposes

8                   to be injured by paying more for CRT Products than they would have paid in

9                   the absence of Defendants’ unlawful trade acts and practices.

10             g. Defendants and their co-conspirators deliberately failed to disclose material

11                  facts to the Utah Plaintiffs and members of the Utah Indirect Purchaser Class

12                  concerning Defendants’ unlawful activities and artificially inflated prices for

13                  CRTs. Defendants and their co-conspirators owed a duty to disclose such

14                  facts, and considering the relative lack of sophistication of the average

15                  consumer, Defendants and their co-conspirators breached that duty by their

16                  silence. Defendants and their co-conspirators misrepresented to all consumers

17                  during the Class Period that Defendants’ CRT prices were competitive and

18                  fair.

19             h. Because of Defendants’ and their co-conspirators’ unlawful and

20                  unconscionable trade practices in Utah, the Utah Plaintiff and members of the

21                  Utah Indirect Purchaser Class who indirectly purchased CRTs were misled or

22                  deceived to believe that they were paying a fair price for CRT Products or that

23                  the price increases for CRTs were for valid business reasons.

24             i.   Defendants’ and their co-conspirators’ unlawful conduct had the following

25                  effects: (1) CRT price competition was restrained, suppressed, and eliminated

26                  throughout Utah; (2) CRT prices were raised, fixed, maintained and stabilized

27                  at artificially high levels throughout Utah; (3) the Utah Plaintiff and members

28                  of the Utah Indirect Purchaser Class were deprived of free and open
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1                        competition; and (4) the Utah Plaintiff and members of the Utah Indirect

2                        Purchaser Class paid supracompetitive, artificially inflated prices for CRT

3                        Products.

4                   j.   As a direct and proximate result of Defendants’ conduct, the Utah Plaintiff

5                        and members of the Utah Indirect Purchaser Class have been injured and have

6                        suffered an ascertainable loss of money or property as a result of Defendants’

7                        use or employment of unconscionable and deceptive commercial practices as

8                        set forth herein. That loss was caused by Defendants’ willful and deceptive

9                        conduct as set forth herein.

10                  k. Defendants’ misleading conduct and unconscionable activities constitute

11                       unfair competition or unfair or deceptive acts or practices in violation of Utah

12                       Code Ann. § 13-11-1, et seq., and accordingly, the Utah Plaintiff and the

13                       members of the Utah Indirect Purchaser Class seek all forms of relief

14                       available under that statute.

15          326. The Utah Plaintiff incorporates and realleges each and every allegation set forth in

16   the preceding paragraphs of this Complaint and further alleges as follows:

17                  a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

18                       of trade or commerce by affecting, fixing, controlling and/or maintaining, at

19                       artificial and/or non-competitive levels, the prices at which CRTs were sold,

20                       distributed or obtained in Utah.

21                  b. By reason of the conduct alleged here, Defendants have violated Utah Code

22                       Ann. § 13-5-1, et seq.

23                  c. Defendants and their co-conspirators established, maintained, or used a

24                       monopoly, or attempted to establish a monopoly of trade or commerce in the

25                       market for CRTs, a substantial part of which occurred within Utah, for the

26                       purpose of excluding competition or controlling, fixing or maintaining prices

27                       in the CRT market.

28                  d. Defendants’ and their co-conspirators’ conduct caused or was intended to
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1                       cause unfair methods of competition within the State of Utah.

2                   e. Defendants’ and their co-conspirators’ unlawful conduct substantially affected

3                       Utah’s trade and commerce.

4                   f. As a direct and proximate result of Defendants’ unlawful conduct, the Utah

5                       Plaintiff and members of the Utah Indirect Purchaser Class have been injured

6                       in their business or property in that they paid more for CRT Products than

7                       they would have paid in the absence of Defendants’ unfair methods of

8                       competition.

9                   g. By reason of the foregoing, the Utah Plaintiff and members of the Utah

10                      Indirect Purchaser Class have been injured in their business or property in that

11                      they paid more for CRT Products than they would have paid in the absence of

12                      Defendants’ unfair methods of competition.

13                  h. By reason of the foregoing, the Utah Plaintiff and members of the Utah

14                      Indirect Purchaser Class seek all forms of relief available under Utah Code

15                      Ann. §§ 13-5-14, et seq.

16          D.      Fourth Claim for Relief: Unjust Enrichment and Disgorgement of Profits

17          327. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
18   allegation set forth in the preceding paragraphs of this Complaint.
19          328. Defendants have been unjustly enriched through overpayments by Plaintiffs and
20   the Class members and the resulting profits.
21          329. Under common law principles of unjust enrichment, Defendants should not be
22   permitted to retain the benefits conferred via overpayments by Plaintiffs and class members in
23   the following states: Arkansas, Arizona, California, District of Columbia, Iowa, Maine,
24   Massachusetts, Michigan, Missouri, Montana, New Hampshire, New Mexico, Oregon, Rhode
25   Island, South Carolina, South Dakota, and Utah.
26          330. Plaintiffs and class members in each of the states listed above seek disgorgement
27   of all profits resulting for such overpayments and establishment of a constructive trust from
28   which Plaintiffs and the Class members may seek restitution.
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1                               XII.   FRAUDULENT CONCEALMENT

2           331. Throughout the relevant period, Defendants affirmatively and fraudulently
3    concealed their unlawful conduct against Plaintiffs and the Classes.
4           332. Plaintiffs and members of the Class did not discover,and could not discover
5    through the exercise of reasonable diligence, that Defendants were violating the law as alleged
6    herein until shortly before this litigation was commenced. Nor could Plaintiffs and the Class
7    members have discovered the violations earlier than that time because Defendants conducted
8    their conspiracy in secret, concealed the nature of their unlawful conduct and acts in furtherance
9    thereof, and fraudulently concealed their activities through various other means and methods
10   designed to avoid detection. In addition, the conspiracy was by its nature self-concealing.
11          333. Defendants engaged in a successful, illegal price-fixing conspiracy with respect to
12   CRT Products, which they affirmatively concealed, in at least the following respects:
13                  a.      By agreeing among themselves not to discuss publicly, or otherwise
14   reveal, the nature and substance of the acts and communications in furtherance of their illegal
15   scheme, and by agreeing to expel those who failed to do so;
16                  b.      By agreeing among themselves to limit the number of representatives from
17   each Defendant attending the meetings so as to avoid detection;
18                  c.      By agreeing among themselves to refrain from listing the individual
19   representatives of the Defendants in attendance at meetings in any meeting report;
20                  d.      By agreeing among themselves to refrain from taking meeting minutes or
21   taking any kind of written notes during the meetings;
22                  e.      By giving false and pretextual reasons for their CRT Product price
23   increases during the relevant period and by describing such pricing falsely as being the result of
24   external costs rather than collusion;
25                  f.      By agreeing among themselves on what to tell their customers about price
26   changes, and agreeing upon which attendee would communicate the price change to which
27   customer;
28                  g.      By agreeing among themselves to quote higher prices to certain customers
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1    than the fixed price in effect to give the appearance that the price was not fixed;

2                   h.       By agreeing among themselves upon the content of public statements

3    regarding capacity and supply;

4                   i.       By agreeing among themselves to eliminate references in expense reports

5    which might reveal the existence of their unlawful meetings; and

6                   j.       By agreeing on other means to avoid detection of their illegal conspiracy

7    to fix the prices of CRT Products; and

8                   k.       By consistently denying the existence of their illegal conspiracy to fix

9    prices of CRT Products.

10          334. As a result of Defendants’ fraudulent concealment of their conspiracy, Plaintiffs

11   and the Classes assert the tolling of any applicable statute of limitations affecting the rights of

12   action of Plaintiffs and the members of the Classes.

13                                     XIII. PRAYER FOR RELIEF

14          WHEREFORE, Plaintiffs pray as follows:
15          A.     That the Court determine that the claims alleged herein under the Sherman Act,
16   state antitrust laws, state consumer protection and/or unfair competition laws may be maintained
17   as a class action under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, as
18   informed by the respective state class action laws;
19          B.     That the Court adjudge and decree that the unlawful conduct, contract,
20   combination and conspiracy alleged herein constitutes:
21                  a. A violation of the Sherman Act, 15 U.S.C. § 1, as alleged in the First Claim
22                       for Relief;
23                  b. A violation of the state antitrust laws as alleged in the Second Claim for
24                       Relief;
25                  c. A violation of the state consumer protection and unfair competition laws as
26                       alleged in the Third Claim for Relief; and
27                  d. Acts of unjust enrichment as set forth in the Fourth Claim for Relief herein.
28          C.     That Plaintiffs and the Indirect Purchaser State Classes recover damages, as
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1    provided by the state antitrust, consumer protection, and unfair competition laws alleged herein,

2    and that a joint and several judgment in favor of Plaintiffs and the Classes be entered against the

3    Defendants in an amount to be trebled in accordance with such laws;

4           D.     That Defendants, their co-conspirators, successors, transferees, assigns, parents,

5    subsidiaries, affiliates, and the officers, directors, partners, agents and employees thereof, and all

6    other persons acting or claiming to act on behalf of Defendants, or in concert with them, be

7    permanently enjoined and restrained from, in any manner, directly or indirectly, continuing,

8    maintaining or renewing the combinations, conspiracy, agreement, understanding or concert of

9    action, or adopting or following any practice, plan, program or design having a similar purpose

10   or effect in restraining competition;

11          E.     That Plaintiffs and the Classes be awarded restitution, including disgorgement of

12   profits obtained by Defendants as a result of its acts of unfair competition and acts of unjust

13   enrichment;

14          F.     That the Court award Plaintiffs and the Classes they represent pre-judgment and

15   post-judgment interest as permitted by law;

16          G.     That Plaintiffs and the members of the Classes recover their costs of suit, including

17   reasonable attorneys’ fees as provided by law; and

18          H.     That the Court award Plaintiffs and the Classes they represent such other and

19   further relief as may be necessary and appropriate.

20                                           XIV. JURY DEMAND

21      Plaintiffs demand a trial by jury of all of the claims asserted in this Complaint so triable.
22   Dated: August __, 2019                              By:
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